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                     EXHIBIT D
 Case 2:19-cv-10027-GAD-APP ECF No. 169-5, PageID.3171 Filed 07/10/23 Page 2 of 66
Ask Chemicals, LP v. Computer Packages, Inc., 593 Fed.Appx. 506 (2014)
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      KeyCite Yellow Flag - Negative Treatment                             West Headnotes (2)
Distinguished by Horter Investment Management, LLC v. Cutter, S.D.Ohio,
June 16, 2017
                      593 Fed.Appx. 506                                    [1]    Evidence       Breach of contract
                This case was not selected for                                    Proffered expert's methods for calculating
            publication in West's Federal Reporter.                               amount of patent assignee's lost profits from
    See Fed. Rule of Appellate Procedure 32.1 generally                           breach of contract by patent management
  governing citation of judicial decisions issued on or after                     service provider's failure to pay annual fees
  Jan. 1, 2007. See also U.S.Ct. of App. 6th Cir. Rule 32.1.                      on behalf of assignee that resulted in lapse
        United States Court of Appeals, Sixth Circuit.                            of Japanese patent were not scientifically
                                                                                  reliable, thus precluding admission of expert's
   ASK CHEMICALS, LP, Plaintiff–Appellant,                                        testimony regarding assignee's lost profit
                                                                                  damages. Fed.Rules Evid.Rule 702, 28 U.S.C.A.
                    v.
         COMPUTER PACKAGES,                                                       19 Cases that cite this headnote
         INC., Defendant–Appellee.
                                                                           [2]    Patents      Rights and liabilities of assignees
                            No. 14–3041                                           and grantees
                                  |
                                                                                  Assignee's amount of lost profits from patent
                            Dec. 10, 2014.
                                                                                  management service provider's failure to pay
                                                                                  annual patent fees on behalf of assignee that
Synopsis
                                                                                  resulted in lapse of Japanese patent protecting
Background: Assignee of subsequently-expired Japanese
                                                                                  method of producing riser sleeves was not
patent protecting method of producing riser sleeves filed
                                                                                  established with reasonable certainty, as required
breach of contract suit claiming damages resulting from
                                                                                  for assignee's recovery of consequential damages
patent management service provider's failure to pay annual
                                                                                  from provider for breach of contract, under
fees on behalf of assignee that resulted in irretrievable
                                                                                  Ohio law, where assignee had no track record
lapse of patent. The United States District Court for
                                                                                  of sales of riser sleeves in Japan aside from
the Southern District of Ohio granted provider summary
                                                                                  decade-old effort abandoned after factory fire,
judgment. Assignee appealed.
                                                                                  assignee's profits in Japanese market could not be
                                                                                  established by comparisons to assignee's sales in
                                                                                  Europe and North America, and assignee failed
Holdings: The Court of Appeals, Boggs, Circuit Judge, held                        to provide basic data about Japanese market
that:                                                                             necessary to project potential future profits.

[1] report of assignee's sole expert witness was not admissible,                  57 Cases that cite this headnote
and

[2] assignee's lost profits were not established with reasonable
certainty.                                                                 *507 On Appeal from the United States District Court for
                                                                          the Southern District Of Ohio.

Affirmed.                                                                 BEFORE: BOGGS, CLAY, and GILMAN, Circuit Judges.

Clay, Circuit Judge, filed concurring opinion.
                                                                          OPINION




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BOGGS, Circuit Judge:                                                 The parties do not dispute the basic facts regarding the
                                                                      assignment of the patent, the lapse of the patent, or the cause
 **1 Plaintiff–Appellant ASK Chemicals (ASK), the
                                                                      of its lapse. The sole issue before the district court was the
assignee of a now-expired Japanese patent, appeals the
                                                                      question of what damages CPI might owe to ASK for the
district court's award of summary judgment to the defendant,
                                                                      breach.
Computer Packaging, Inc. (CPI), in a breach-of-contract suit
claiming damages resulting from CPI's failure to maintain
                                                                      Ashland, while still the holder of the ′168 patent, had hired
the patent on ASK's behalf. The district court granted CPI's
                                                                      CPI to pay the annual fees due on its patents in Japan. After
motions to exclude the report of ASK's sole expert witness
                                                                      the assignment of the ′168 patent to ASK, CPI continued in
and for summary judgment. ASK appeals both the exclusion
                                                                      its role maintaining the patent. Had the patent been properly
of the expert report and the grant of summary judgment. For
                                                                      maintained under Japanese law, it would have expired on
the reasons set forth below, we affirm.
                                                                      March 21, 2017. But the patent was not maintained. CPI failed
                                                                      to make the ninth necessary payment, due in January 2010.
                                                                      Six months later, at the end of Japan's statutory grace period,
I                                                                     the patent lapsed irretrievably.

This case concerns the possible damages owed by defendant              **2 On July 20, 2012, ASK filed a complaint against CPI
CPI to ASK for CPI's breach of contract when CPI failed
                                                                      in the United States District Court for the Southern District
to pay the amounts required under Japanese law to maintain            of Ohio, requesting compensatory, direct, expectancy, and
ASK's Japanese Patent No. 3,278,168 (the ′168 patent).                prospective damages under two counts: breach of contract and
                                                                      breach of implied-in-fact contract. CPI filed an answer on
In 1997, Ashland, a chemical company, applied for a Japanese          April 5, 2012, in which it admitted that it had failed to pay
patent to protect the method by which it produced a particular        the required fees and that, as a result of its failure, the patent
type of riser sleeve that was unique in its employment of             lapsed. Following the completion of discovery, CPI submitted
a “cold-box” manufacturing process. Riser sleeves are used            two contemporaneous motions: (1) to exclude the report of
throughout the foundry industry to improve the quality of             ASK's expert witness, Brian Russell, and (2) for summary
metal castings. As the liquid metal cools in the hollow of a          judgment.
casting, it solidifies and shrinks. The last part of the casting to
cool within the hollow will often form a void where remaining         Following briefing and oral argument, the district court
shrinkage occurs. The result is a defective metal casting. Riser      granted CPI's motion to exclude the report proffered by ASK's
sleeves, essentially metal reservoirs external to the casting,        sole expert witness. The district court subsequently granted
prevent this potential defect by providing additional liquid          CPI's motion for summary judgment. It held that, in the
metal during cooling so that voids form in the riser, not in the      absence of the report, there were no further issues of material
casting itself.                                                       fact for a jury, and ASK had failed to demonstrate with
                                                                      reasonable certainty the amount of lost profits resulting from
The ′168 patent issued on April 30, 2002 and was assigned by          the breach of contract. ASK timely appealed.
Ashland to ASK on November 30, 2010.

A version of the riser sleeve, ASK's “Exactcast” riser sleeve,
is covered by a number of European and American patents.              II
Although Exactcast riser sleeves have sold successfully in
                                                                      This court reviews the district court's exclusion of the
both the Americas and Europe, ASK's (and its predecessor's)
                                                                      testimony of an expert witness, as it reviews all evidentiary
efforts in Japan were less fruitful: a factory fire in 2003 put
                                                                      rulings, for abuse of discretion. See Gen. Elec. Co. v. Joiner,
an end to its initial penetration of the Japanese market and
                                                                      522 U.S. 136, 143, 118 S.Ct. 512, 139 L.Ed.2d 508 (1997);
 *508 ASK did not again focus on Japan until 2008, when
                                                                      Pride v. BIC Corp., 218 F.3d 566, 575 (6th Cir.2000). The
it began developing Japanese clients, a long and arduous
                                                                      district court abuses its discretion when it “relies on clearly
process requiring the commitment of significant time, effort,
                                                                      erroneous findings of fact, improperly applies the law, or
and money. At the time the ′168 patent lapsed, ASK had no
                                                                      employs an erroneous legal standard.” Barner v. Pilkington N.
sales of related technology in Japan.


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Am., Inc., 399 F.3d 745, 748 (6th Cir.2005) (internal quotation    that the expert's testimony is both relevant and reliable. See
marks and alterations omitted).                                    Daubert v. Merrell Dow Pharms., 509 U.S. 579, 589, 113
                                                                   S.Ct. 2786, 125 L.Ed.2d 469 (1993). The court plays this
We review the district court's grant of summary judgment de        same gatekeeping function even if the expert's opinion is
novo. See Plant v. Morton Int'l, Inc., 212 F.3d 929, 933 (6th      “technical,” rather than scientific, in nature. See Kumho Tire
Cir.2000). District courts may grant summary judgment “if          Co., Ltd. v. Carmichael, 526 U.S. 137, 141, 119 S.Ct. 1167,
the movant shows that there is no genuine dispute as to any        143 L.Ed.2d 238 (1999). This line of cases governing the
material fact and the movant is entitled to judgment as a matter   district court's screening of experts seeks to “strike a balance
of law.” Fed.R.Civ.P. 56(a). In assessing a movant's claim to      between a liberal admissibility standard for relevant evidence
summary judgment, the court draws all justifiable inferences       on the one hand and the need to exclude misleading ‘junk
in favor of the non-moving party. See Anderson v. Liberty          science’ on the other.” Best v. Lowe's Home Ctrs., Inc., 563
Lobby, Inc., 477 U.S. 242, 255, 106 S.Ct. 2505, 91 L.Ed.2d         F.3d 171, 176–77 (6th Cir.2009).
202 (1986). Though the moving party bears the initial burden
of showing that there is no genuine dispute of material fact,      Though the court found that Mr. Russell had sufficient
after the movant makes such a showing, the burden shifts to        specialized knowledge to offer evidence as an expert, it found
the non-moving party who must then point to evidence that          that the other requirements of Rule 702 were not satisfied.
demonstrates that there is a *509 genuine dispute of material      Rule 702(b) requires that an expert's opinion be “based on
fact for trial. Id. at 256, 106 S.Ct. 2505.                        sufficient facts or data.” Fed.R.Evid. 702(b). Rule 702(c)
                                                                   requires that the expert's testimony is the product of both
                                                                   “reliable principles and methods.” Fed.R.Evid. 702(c). As the
                                                                   Daubert Court articulated, the district court must concentrate
III
                                                                   “solely on principles and methodology, not on the conclusions
On appeal, ASK advances two issues. First, it argues that the      that they generate.” Daubert, 509 U.S. at 595, 113 S.Ct. 2786.
district court erred in granting CPI's motion to exclude the       However, “[a] district court is not required to admit expert
expert testimony of Brian Russell because his methods were         testimony ‘that is connected to existing data only by the ipse
unreliable. Second, ASK argues that the district court erred in    dixit of the expert. A court may conclude that there is simply
granting summary judgment to CPI because, even if Russell's        too great an analytical gap between the data and the opinion
report was properly excluded, ASK still presented sufficient       proffered.’ ” Nelson v. Tenn. Gas Pipeline Co., 243 F.3d 244,
evidence to withstand summary judgment.                            254 (6th Cir.2001) (citing Gen. Elec. Co. v. Joiner, 522 U.S.
                                                                   136, 146, 118 S.Ct. 512, 139 L.Ed.2d 508 (1997)).

                                                                   In Nelson, this court found such an analytical gap.
A
                                                                   The plaintiff proffered the testimony of a board-certified
The district court granted CPI's motion to exclude the expert      neurologist and psychologist regarding the neurological
report of Mr. Russell because, although the court decided that     effects that result from exposure to a particular chemical.
he was qualified as an expert, it also found his report to be      Although the magistrate judge found that the neurologist
insufficiently reliable.                                           was properly credentialed to serve as an expert witness,
                                                                   the magistrate judge correctly refused to admit the expert's
 **3 Testimony of expert witnesses is governed by Rule 702         opinion because “the methodology by which [the expert]
of the Federal Rules of Evidence. Rule 702 allows an expert        reached his opinion concerning causation *510 [was
witness to provide testimony in opinion form if: “(a) the          not] found reliable.” Nelson, 243 F.3d at 254. The court
expert's scientific, technical, or other specialized knowledge     determined that, although the tests used to assess exposure to
will help the trier of fact to understand the evidence or to       the chemicals were generally accepted, the expert “admitted
determine a fact in issue; (b) the testimony is based on           no knowledge concerning the actual exposure of the ...
sufficient facts or data; (c) the testimony is the product         plaintiffs ... or the temporal relationship between their
of reliable principles and methods; and (d) the expert has         exposure and symptoms.” Ibid. Because the leap between
reliably applied the principles and methods to the facts of        the limited data and the expansive conclusion in the doctor's
the case.” Fed.R.Evid. 702. Rule 702, in concert with other        testimony was too great for the evidence to be reliable, we
Rules of Evidence, empowers the district court to ensure


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determined that the judge did not abuse his discretion in           the district court was within its discretion to determine that
excluding the doctor's testimony.                                   the lack of independent verification or analysis of the revenue
                                                                    projections rendered Russell's opinion unreliable. Where an
 **4 [1] The situation in this case is similar to that              expert merely offers his client's opinion as his own, that
in Nelson. The district court found that the experience,            opinion may be excluded. See, e.g., CIT Grp./Bus. Credit, Inc.
education, and professional qualifications of ASK's witness,        v. Graco Fishing & Rental Tools, Inc., 815 F.Supp.2d 673,
Russell, properly qualified him as an expert. Like the              677 (S.D.N.Y.2011) (rejecting expert testimony based on “the
magistrate judge in Nelson, the district court here did not balk    conclusory statements of [the party's management] and not
at the witness's expert credentials, but only at his methods.       on his independent evaluation of the facts”); *511 King–
The district court in this case found that Russell based his        Indiana Forge, Inc. v. Millennium Forge, Inc., No. 1:07–
calculations on fundamentally flawed data and impermissible         cv–00341–SEB–SML, 2009 WL 3187685, at *2 (S.D.Ind.
methods. Russell determined the amount of lost profits, in          Sept. 29, 2009) (“When an expert's proffered opinion merely
part, from a marketing plan that ASK produced a decade-             parrots information provided to him by a party, that opinion
and-a-half ago, which only covered the years 1998 to 2003,          is generally excluded.”).
and from which he extrapolated future lost profits during
the years 2013 to 2022–all without explaining his method             **5 Given the unreasonableness of Russell's methods, the
or assumptions. Russell also relied on ASK's 2011 global-           faulty and incomplete data upon which they were based, and
market analysis, which estimated the riser-sleeve markets of        the general unreliability of the evidence, the district court did
various regions of the world, including Asia, but that did          not abuse its discretion in excluding Russell's testimony.
not provide data about Japan specifically. Thus, according to
the district court, it could not serve as a reasonable basis to
estimate profits in Japan. For Russell to have demonstrated
                                                                    B
lost profits to a reasonable certainty he would have required,
at a minimum, the following data: “(1) the size of the Japanese     The district court granted summary judgment to CPI, holding
riser sleeve market; (2) ASK's market penetration; (3) ASK's        that, in the absence of Russell's expert report, there was
sales; and (4) ASK's direct costs.” In the absence of these         insufficient evidence on the record to create a genuine dispute
basic, objective figures, any projection or calculation made        of material fact.
by Russell of future lost profits would, like the calculations of
the neurologist with no direct knowledge of patient exposure        Under Ohio law, consequential damages, including damages
in Nelson, involve “too great an analytical leap.” See Nelson,      for lost profits, are available in suits for breach of contract.
243 F.3d at 254.                                                    A plaintiff can recover lost profits if it can show that “(1)
                                                                    profits were within the contemplation of the parties at the
Of course, “an expert may rely on otherwise inadmissible            time the contract was made, (2) the loss of the profits is
hearsay evidence in forming his opinion if the facts and data       the probable result of the breach of contract, and (3) the
upon which he relies are of a type reasonably relied upon           profits are not remote and speculative and may be shown
by experts in his field.” Arkwright Mut. Ins. Co. v. Gwinner        with reasonable certainty.” City of Gahanna v. Eastgate
Oil, Inc., 125 F.3d 1176, 1182 (8th Cir.1997). But Russell's        Props., Inc., 36 Ohio St.3d 65, 521 N.E.2d 814, 817 (1988).
wholesale adoption of Plaintiff's estimates, without revealing      However, in order for a plaintiff to recover lost profits, “the
or apparently even evaluating the bases for those estimates,        amount of the lost profits, as well as their existence, must be
goes beyond relying on facts or data and instead cloaks             demonstrated with reasonable certainty.” Id. at 818 (emphasis
unexamined assumptions in the authority of expert analysis.         added). In other words, damages are not awarded merely on
“As ‘gatekeeper,’ the trial judge is imbued with discretion in      a plaintiff's assertion “that it would have made a particular
determining whether or not a proposed expert's testimony is         amount of profits, but [the plaintiff] must prove lost profits
admissible, based on whether it is both relevant and reliable.”     with calculations based on facts.” UZ Engineered Prods. Co.
Johnson v. Manitowoc Boom Trucks, Inc., 484 F.3d 426, 429           v. Midwest Motor Supply Co., Inc., 147 Ohio App.3d 382, 770
(6th Cir.2007) (quoting Kumho Tire Co., Ltd. v. Carmichael,         N.E.2d 1068, 1083 (2001).
526 U.S. 137, 147, 119 S.Ct. 1167, 143 L.Ed.2d 238 (1999)).
On the facts of this case, and particularly in light of the         We do not address the question of whether lost-profits
unreliability of the evidence underlying Plaintiff's estimates,     damages never may be proven by comparison to a plaintiff's



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performance in an existing market. But in the case of ASK's       Second, and in contrast, in Homes by Calkins, the
complaint, neither of the first two elements is in doubt.         plaintiff failed to demonstrate lost profits to a reasonable
Profits were certainly in the contemplation of the parties at     certainty because the claim was necessarily unprovable and
the time the contract was made-CPI was, after all, in the         speculative. In a suit for damages based on a vendor's failure
business of administering the patent-management programs          to have a deed restriction removed, the plaintiff, a real-estate
of intellectual-property owners. Similarly, there is no dispute   developer, was delayed in building a development by the
over the second element, causation. If ASK had suffered lost      11 months necessary to clear the property's title following
profits as the result of the lapse of the ′168 patent, it would   sale. Reviewing his evidence, the trial court found, and the
have been because of CPI's (admitted) failure to pay the          Court of Appeals of Ohio affirmed, that since neither the
required annual payment.                                          plaintiff nor the court “could reasonably estimate how many
                                                                  units [the plaintiff] could have sold, if it could have sold
The parties dispute only the final requirement, that the lost     any,” the plaintiff failed to demonstrate lost profits to a
profits be shown to a “reasonable certainty.” In demonstrating    reasonable certainty. Homes by Calkins, Inc. v. Fisher, 92
lost profits, Ohio law does not require plaintiffs to prove       Ohio App.3d 262, 634 N.E.2d 1039, 1045 (1993). Since
the amounts lost with absolute precision. The evidence            the demonstration of lost profits in a new business is
“need only be reasonable, not specific.” Charles R. Combs         necessarily more speculative, such demonstrations “receive
Trucking, Inc. v. Int'l Harvester Co., 12 Ohio St.3d 241, 466     greater scrutiny because there is no track record upon which
N.E.2d 883, 887 (1984). But demonstrating lost profits to         to base an estimate.” Andrew v. Power Mktg. Direct, Inc., –––
a reasonable certainty requires the use of detailed evidence,     Ohio App. ––––, 978 N.E.2d 974, 992 (2012).
for example, “expert testimony, economic and financial data,
market surveys and analyses, business records of similar          Third, in Ace Vending Co. v. Davidson, 8 Ohio App.3d 328,
enterprises, and the like.” AGF, Inc. v. Great Lakes Heat         457 N.E.2d 341 (1982), the plaintiff failed to demonstrate
Treating Co., 51 Ohio St.3d 177, 555 N.E.2d 634, 640 (1990)       its lost profits to a reasonable certainty because the evidence
(citing Restatement (Second) of Contracts § 352, cmt. b). The     it submitted was based on an inapposite comparison. Ace
evidence submitted must be sufficient to support calculations     Vending had several vending machines that were unlawfully
establishing the amount of lost profits: “Unless the figure       detained after the closing of the pizzeria in which they were
is supported by calculations based on facts available or in       installed. The evidence submitted consisted of little more
evidence, the courts will properly reject it as speculative or    than the testimony of Ace Vending's office manager as to the
uncertain.” Endersby v. Schneppe, 73 Ohio App.3d 212, 596         average amount of money per week made by the machines
N.E.2d 1081, 1084 (1991).                                         during the last two months the pizzeria was open. Since the
                                                                  pizzeria had gone out of business, however, the court rejected
 *512 **6 A review of four Ohio cases—one of which                this evidence because, following the pizzeria's closing, the
established lost profits and three of which did not—              lost profits would necessarily have been limited to the amount
demonstrates what constitutes non-speculative, reasonably         of money that the machines would have made at another
certain lost profits. First, lost profits were awarded under      location had they been timely returned. Ace Vending, 457
Ohio law in Michigan Millers Mut. Ins. Co. v. Christian,          N.E.2d at 343.
153 Ohio App.3d 299, 794 N.E.2d 68 (2003), a case in
which the evidence demonstrated the amount of lost profits        Finally, in Kosier v. DeRosa, 169 Ohio App.3d 150, 862
to a reasonable certainty. Among the types of evidence were       N.E.2d 159 (2006), the court found that the plaintiff failed
testimony regarding market conditions, records of company         to demonstrate lost profits where his calculations lacked
earnings during the time period in question, records of           necessary data. In a suit for breach of contract to install new
company earnings during identical periods in the preceding        flooring into a house, the plaintiff submitted evidence as to his
years, and compilations of customer receipts and business         labor costs, but provided no information as to how many hours
transaction records. Id. at 77. From this evidence, a simple      of work would have been required to complete the contract.
computation comparing the profits of one period with the          The Ohio Court of Appeals held that, in the absence of such
profits of another period at the same time of year in the same    evidence, it was not possible to establish the amount of profits
location in the same enterprise allowed the establishment of      lost to a reasonable certainty. See Kosier, 862 N.E.2d at 166.
lost profits to a reasonable certainty.




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 **7 [2] In this case, ASK's evidentiary submissions                profits to a reasonable certainty, there is no genuine dispute
suffer from each of the defects outlined in the three Ohio          of material fact for a jury. ASK's evidentiary submissions,
cases above. Like the plaintiff in Homes by Calkins, *513           even though voluminous, do little to establish a specific sum
ASK had no track record of riser-sleeve sales in Japan              necessary to meet the standard of a “reasonable certainty.” See
aside from the decade-old effort that had been abandoned            City of Gahanna, 521 N.E.2d at 817.
following the factory fire. The lack of any reliable track record
subjects ASK's lost-profits calculations to stricter inquiry and
increases the difficulty of determining a reasonably accurate
                                                                    IV
figure for lost profits. Though ASK had again taken the initial
steps necessary to reintroduce their riser sleeves into Japan        **8 For the reasons above, we AFFIRM the judgment of the
(they sought certification from several potential clients and       district court.
sold test products), they still had almost no sales history and
thus any attempt to demonstrate lost profits using riser-sleeve
sale projections alone would suffer from a lack of hard data.       CLAY, Circuit Judge, concurring.
                                                                    I agree with the majority that Plaintiff did not put
ASK's evidence was also like that in Ace Vending because            forward sufficient evidence to permit a reasonably certain
it sought to establish profits in the Japanese market based         determination of its damages. I write separately because I
on an inapposite comparison with sales in Europe and North          believe Ohio law requires a more precise consideration of the
America. Having provided sales figures only for North               proofs than the analysis offered by the majority.
America and Europe and providing virtually no relevant
market research on Japan, ASK sought to establish potential         In particular, I take exception to the suggestion in the
future sales and profits by analogizing sales in one region of      majority opinion that a company in Plaintiff's position, or any
the world with potential sales in another. Such extrapolation,      company prevented from entering a new market, would face
without more, is insufficient to establish lost profits to a        a “stricter inquiry” in proving its damages. Ohio law allows
reasonable certainty.                                               even entirely new businesses to proceed under the “general
                                                                    test ... for the recovery of *514 lost profits” and expressly
Lastly, ASK's evidentiary submissions appear to suffer from         recognizes that such businesses may prove their damages
the same basic fault as in Kosier because the submissions           through circumstantial evidence. AGF, Inc. v. Great Lakes
lacked necessary data. As the plaintiff in Kosier failed to         Heat Treating Co., 51 Ohio St.3d 177, 555 N.E.2d 634, 638
provide one of the basic elements necessary to its calculations     (1990).
(the number of hours of labor performed), ASK has failed
to give basic data about the Japanese market that would be          I also write separately in order to clarify the circumstances
necessary to make reasonably certain projections of potential       in which I believe a plaintiff may prove lost profits damages
future profits. As the district court pointed out, without data     by comparison to its performance in another market. Proof
on the size of the Japanese market or ASK's sales and direct        of lost profits poses an inescapably hypothetical question,
costs, it would be virtually impossible to settle on a figure for   as the Ohio Supreme Court recognized in AGF, and thus
ASK's lost profits.                                                 inevitably requires a degree of estimation. See id. A plaintiff's
                                                                    track record of successful performance in other markets is a
Were the demonstration of the existence of lost profits all that    source of reliable and pertinent data that I believe in many
was necessary to overcome a motion for summary judgment,            cases will strengthen the certainty of damages calculations.
ASK may have had success. Based on the evidence submitted,          Cf. MindGames, Inc. v. W. Pub. Co., 218 F.3d 652, 654–
a jury could very well find that ASK had lost profits because       55 (7th Cir.2000) (a track record of successful sales of past
of CPI's breach. On appeal, ASK provides a painstaking              games could allow the creator of a board game to establish
roster of all the evidence placed in the record, including          lost profits with sufficient certainty). Indeed, in a similar
marketing surveys, its 1998 marketing plan, its regional            case, the United States Supreme Court approved evidence
market-share calculations, European and American licenses,          of lost profits based on a market comparison similar to the
and projections of capital costs for the building of a new          approach urged by Plaintiff here. See Zenith Radio Corp. v.
factory. However, since there is no way that the evidence           Hazeltine Research, Inc., 395 U.S. 100, 116 and n. 11, 123–
submitted could lead a court to determine the amount of lost        25, 89 S.Ct. 1562, 23 L.Ed.2d 129 (1969) (accepting estimates



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that the plaintiff would have achieved a 16% market share in         Inc., 358 Fed.Appx. 643, 650–51 (6th Cir.2009) (relying
Canada absent the breach where the estimates were based on           on expert's testimony rejected projected lost profits and
a comparison of the plaintiff's sales in the US).                    indicating that the expert “had a reasoned, non-speculative
                                                                     basis” for his projections where his data “came from a reliable
Nonetheless, I believe that Plaintiff in this case has not           industry forecaster”).
introduced sufficient evidence to allow a factfinder to
determine damages with a reasonable degree of certainty and          For the same reason, I cannot agree with the majority's
therefore concur in the judgment. I would affirm the exclusion       suggestion that it would be improper for Russell to rely on the
of Russell's expert report solely because, as the majority           2011 global market survey setting out sales and market share
explains, it unquestioningly accepts Plaintiff's projections         for Plaintiff and its competitors in various regional markets.
about the sales and market share the company would                   The data in that document, while not sufficient standing alone
have achieved in Japan and dresses up those unsupported              to support a computation of lost profits, is circumstantial
estimates in the authority of an expert analysis. I find the         evidence relevant to estimating the sales and market share
remaining evidence put forward by Plaintiff inadequate to            Plaintiff may have achieved in Japan absent Defendant's
allow a factfinder to calculate damages with any reasonable          breach, and could justly be relied on by the expert.
degree of certainty for a single, narrow reason: Plaintiff has
inexplicably failed to support its estimates about the Japanese      The principal shortcoming in Russell's report, in fact, is
riser sleeve market with any data, analysis, or expert opinion.      that he did not rely on the 2011 global market survey or
Instead, it relies on a single-page, undated spreadsheet with        similar sources to generate a projection of Plaintiff's probable
“guesses” as to the market share and sales volume of its three       sales, market share, and royalties, but instead unquestioningly
competitors in Japan. Without more, a factfinder would be            adopted Plaintiff's own revenue estimates and used those
unable to translate Plaintiff's successful track record in North     estimates as the basis for his calculations.
America and Europe into any reasonable projection of sales
and profits that Plaintiff could have achieved in Japan.
                                                                     2. Summary Judgment

1. Exclusion of the Expert Report                                    Under AGF, supra, Plaintiff is entitled to rely on
                                                                     circumstantial data to support its lost profits damages. See
 **9 Although I agree with the majority that Russell's report        555 N.E.2d at 638 (holding that a new business venture may
should be excluded because it uncritically accepts and relies        establish lost profits damages “with reasonable certainty with
on Plaintiff's own revenue projections, I part ways with the         the aid of expert testimony, economic and financial data,
majority when it suggests that Russell was remiss for failing        market surveys and analyses, business records of similar
to include and rely on “basic, objective figures” like Plaintiff's   enterprises, and the like.”). The majority opinion, however,
“market penetration,” “sales,” and “direct costs” in Japan.          asserts that because “ASK had no track record of riser-
Maj. Op. at 510. The majority argues that without these              sleeve sales in Japan aside from the decade-old effort that
figures “any projection or calculation” of lost profits would        had been abandoned following the factory fire,” it lacks a
be too speculative to meet the standards for expert testimony.       “reliable track record” and therefore will face a “stricter
Id. (emphasis added). This reasoning sets up an impossible           inquiry” into its lost profits calculations. Maj. Op. at 513.
hurdle in a case like the present one, where by definition           The majority also writes that because Plaintiff “had almost
the measure of damages is a counterfactual: what profits             no sales history” in Japan, “any attempt to demonstrate lost
would Plaintiff have earned had Defendant not breached the           profits ... would necessarily suffer from a lack of hard data.”
contract? I perceive nothing in Federal Rule of Evidence             Id. This analysis proves little, however, because any new
702 that prevents an expert from offering such an estimate           business would lack a sales history, and yet under Ohio law,
or projection, so long as it is supported by sufficient, albeit      that business may recover lost profits. See 555 N.E.2d at 638–
circumstantial, facts and data. See, e.g., *515 Andler v.            39. Moreover, it strikes me as odd to suggest that Plaintiff
Clear Channel Broadcasting, Inc., 670 F.3d 717, 727–29 (6th          lacks a “reliable track record” or any relevant “sales history”
Cir.2012) (holding that the district court erred in excluding        when it successfully competes in at least two other regional
expert testimony that would have provided projections of the         markets selling the same product it would have sold in Japan.
plaintiff's lost earning capacity based on a statistical average
salary); Multimatic, Inc. v. Faurecia Interior Systems USA,


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 **10 I believe the majority too casually rejects the most          basis for estimates of probable sales lost due to a defendant's
reliable source of circumstantial data Plaintiff could rely on      breach).
—the company's performance in the riser sleeve markets of
other parts of the world. See Maj. Op. at 513 (suggesting that      Zenith Corp., supra, is illustrative. In that case, the Supreme
“analogizing sales in one region of the world with potential        Court considered a damages award based on a patent
sales in another.... without more, is insufficient to establish     pool's anti-competitive conduct in denying Zenith licensing
lost profits to a reasonable certainty.”). I believe such cursory   agreements that would have facilitated its sales of radios and
treatment of the comparative evidence to be unwarranted.            television sets in Canada. 395 U.S. at 114–18, 89 S.Ct. 1562.
Because I am concerned that the majority opinion treats this        The evidence included a computation of damages, prepared
issue without adequate precision, I will briefly set out my own     by Zenith's experts, that “reflect[ed] a comparison between
analysis here.                                                      Zenith's percentage share of the United States television
                                                                    market ... and Zenith's actual share of the Canadian market
Courts have rightly recognized that “some degree of                 during the same period.” Id. at 116 n. 11, 89 S.Ct. 1562. The
speculation is permissible in computing damages, because            Supreme Court soundly advised that
reasonable doubts as to remedy ought to be resolved against
the wrongdoer.” *516 MindGames, Inc. v. W. Publ'g Co.                   **11 [t]rial and appellate courts alike must ... observe
Inc., 218 F.3d 652, 658 (7th Cir.2000) (internal citation and          the practical limits of the burden of proof which [may] be
quotation omitted) quoted in Telxon Corp. v. Smart Media of            demanded of a ... plaintiff who seeks recovery for injuries
Del., Inc., 2005–Ohio–4931, 2005 WL 2292800 at *44 (Ohio               from a partial or total exclusion from a market; damage
Ct.App.2005). See also Restatement (Second) of Contracts               issues in these cases are rarely susceptible of the kind of
§ 352, cmt. a (“Doubts are generally resolved against the              concrete, detailed proof of injury which is available in other
party in breach.”). Nonetheless, Ohio law prudently limits             contexts.
speculation by requiring that “[a] plaintiff may not merely         Id. at 123, 89 S.Ct. 1562. The Court held Zenith's evidence
assert that it would have made a particular amount of profits,      —including testimony that the breach “prevented its securing
but must prove lost profits with calculations based on facts.”      a share of the market comparable to that which it enjoyed
UZ Engineered Prods. Co. v. Midwest Motor Supply Co., Inc.,         in the United States, and which its business proficiency,
147 Ohio App.3d 382, 770 N.E.2d 1068, 1083 (2001). See              demonstrated in the United States, dictated it should have
also Endersby v. Schneppe, 73 Ohio App.3d 212, 596 N.E.2d           obtained in Canada”—supported an award of damages. Id. at
1081, 1084 (1991) (“Unless the figure is substantiated by           124–25, 89 S.Ct. 1562.
calculations based on facts available or in evidence, the courts
will properly reject it as speculative and uncertain.”).            Of course, “[a] comparison of two different markets will
                                                                    always be open to the argument that the markets are
For this reason, to the extent that the majority opinion            fundamentally incomparable, like apples and oranges.” Rose
suggests that proof of lost profits by reference to Plaintiff's     Confections, Inc. v. Ambrosia Chocolate Co., 816 F.2d 381,
successful record in other markets, as a method, is unlikely        394 n. 7 (8th Cir.1987). However, where there is a reasonable
to meet the standards of “reasonable certainty,” I respectfully     basis for comparing the markets, in the interest of allowing
disagree. To the contrary, comparative evidence—whether             the factfinder *517 to consider relevant evidence that might
drawn from the plaintiff's performance in another market,           limit undue speculation in the calculation of lost profits, I
the experience of another company in the same market, or            believe that the differences should be reserved “for the jury
from a past business venture of the plaintiff—can improve           to weigh.” See id.
the certainty of a computation of lost profits by anchoring
the projected profits to a body of empirical fact. See Zenith       I believe Plaintiff's track record of successful sales, market
Corp., 395 U.S. at 116, 124–25, 89 S.Ct. 1562 (accepting            share, and royalties in North America and Europe may be
evidence from plaintiff's performance in other markets); AGF,       validly used to estimate the revenues it could have achieved
555 N.E.2d at 638 n. 1 (suggesting that records from similar        in Japan. The fact that the respective markets are for the same
businesses in the same locality can be used to prove a              product, riser sleeves, used for the same industrial purposes, is
company's lost profits); MindGames, 218 F.3d at 658 (stating        a sufficient basis for comparing them. The comparable nature
that a successful track record in prior endeavors may furnish a     of the three markets is further demonstrated by the presence
                                                                    of one of Plaintiff's principal competitors in each. In order to
                                                                    translate Plaintiff's success in other regions into projections


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of lost profits in Japan, however, a factfinder would need a
                                                                     **12 Although I am sympathetic to the challenges Plaintiff
minimum quantum of basic information about the Japanese
                                                                    faces in marshalling evidence about the riser sleeve market
riser sleeve market, such as its size. Plaintiff's evidence about
                                                                    in Japan, an undated document revealing acknowledged
the Japanese market is inadequate to allow such a projection
                                                                    guesses with no justification for those guesses is simply not
to be calculated with reasonable certainty.
                                                                    enough to support a “reasonably certain” computation of
                                                                    the profits Plaintiff could have achieved in Japan. Instead
Plaintiff heavily relies on a document that it describes as a
                                                                    of confronting the challenge head-on and putting before the
“market survey” of the Japanese riser sleeve market. Plaintiff
                                                                    court the bases for its estimates of the Japanese market,
relies on the numbers in that document to describe the total
                                                                    including any testimony or data relevant to or corroborative
size of the Japanese riser sleeve market, to estimate the share
                                                                    of its calculations, Plaintiff instead asks us to rely, essentially,
of that market it could achieve, and ultimately to calculate
                                                                    on its say-so. These proofs fail to meet the requirement that a
the revenues it would have received. This purported “survey,”
                                                                    plaintiff “prove lost profits with calculations based on facts.”
however, is nothing more than a single page document setting
out supposed sales and market share for Plaintiff's three           See UZ Engineered Prods., 770 N.E.2d at 1083.
competitors in Japan from 2008 to 2010. The document is
undated, leaving it unclear if the numbers are intended as
forecasts or estimates of past sales. The sales numbers are         Conclusion
prominently described by the column heading, “Guess.” (R.
46–12, “Japanese Survey,” filed under seal.) The market share       In sum, while I disagree with the reasoning in the majority
numbers also appear to be rough estimates. According to             opinion, I believe that it reaches the correct result. Therefore,
Plaintiff's 30(b)(6) deposition testimony, because there are        I concur in the judgment.
no industry groups that collect and provide data on the riser
sleeve market in Japan, the numbers in this purported survey
                                                                    All Citations
are “educated guesses” based on “market intelligence.” (R.
35–4, ASK Deposition, p. 187, under seal). Finally, nothing         593 Fed.Appx. 506, 2014 WL 6911574
in the document speaks to the market for a license to produce
the Exactcast technology by any of Plaintiff's competitors.

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      KeyCite Yellow Flag - Negative Treatment
                                                                         BACKGROUND
Distinguished by Deere & Company v. FIMCO Inc., W.D.Ky., March 8, 2017
                    2013 WL 1344763                                      This case arises out of a “side underride”1 collision
       Only the Westlaw citation is currently available.                 between Mr. Robbie Beane's vehicle and a UTM 18–
                United States District Court,                            wheeler tractor-trailer, causing Beane's death.2 The plaintiff
                      W.D. Louisiana,                                    alleges that Beane's injuries could have been limited if the
                  Lake Charles Division.                                 trailer, designed by UTM, had had sufficient side underride
                                                                         protection.3 The nine experts at issue in this motion, who
     Monique L. BEANE, Individually and as                               are all professionals in the trailer manufacturing industry,
     Natural Tutrix of the Minor Child, J.B.                             would allegedly testify about side underride accidents,
                        v.                                               design and engineering issues related to side underrides,
                                                                         technological and economic feasibility of including side
    UTILITY TRAILER MANUFACTURING                                        underride protections on a trailer, causation and effect
         COMPANY and Truck Trailer                                       of side underride accidents, and their work in the trailer
          Manufacturers Association.                                     manufacturing industry.4

                          No. 2:10 CV 781.
                                  |
                                                                         LAW & ANALYSIS
                           Feb. 25, 2013.
                                                                         In UTM's motion, they move to exclude the testimony of
Named Expert: LaVann Watts, Rob Maharrey, Tom Rosby,
Mark Roush, George Schmidt, Leonard William Baker,                       nine witnesses5 disclosed by the plaintiff as “individuals who
Rodney P. Ehrlich, Richard J. Gironomi, Francis S. Smidler.              may give testimony as expert witnesses [but] are not retained
                                                                         by Plaintiff regarding this matter and, in some instances,
Attorneys and Law Firms                                                  are actually hostile/adverse to Plaintiff.”6 UTM argues that
                                                                         these experts should be excluded because the plaintiff has
Chad E. Mudd, David P. Bruchhaus, Michael Keith
                                                                         failed to provide a written expert report for each of these nine
Prudhomme, Mudd & Bruchhaus, Lake Charles, LA, John
                                                                         witnesses, as per the requirements of Fed.R.Civ.P. 26(a)(2)
M. Lane, Paul F. Ferguson, Jr., Ryan M. Schaper, Provost
Umphrey, Beaumont, TX, for Plaintiff.                                    (B).7 They further argue that Rule 26(a)(2)(C), which carves
                                                                         out a subset of experts which are exempt from Rule 26(a)
Edward E. Rundell, Lottie L. Bash, Raymond L. Brown, Jr.,                (2)(B)'s expert report requirement, does not apply because
Gold Weems et al, Alexandria, LA, Glen M. Darbyshire,                    the nine listed experts do not have “firsthand knowledge”
Inglesby Falligant Law Firm, Savannah, GA, for Defendant.                of the events concerning Beane's accident, and because the
                                                                         plaintiff has not proven that the nine experts have such
                                                                         knowledge.8 UTM further avers that even if Rule 26(a)(2)(C)
MEMORANDUM ORDER                                                         applies, the plaintiff has not provided a sufficient description
                                                                         of the experts and what they will testify about, as per the
PATRICIA MINALDI, District Judge.
                                                                         requirements of that section.9 Finally, they submit that the
 *1 Before the court is a Motion in Limine to Exclude                    proposed expert testimony should be excluded, because: (1)
Expert Testimony [Doc. 209] filed by the defendant, Utility              the plaintiff has not provided a proper explanation for why
Manufacturing Company (“UTM”). The plaintiff, Monique                    she did not include expert reports; (2) the experts' inclusion
L. Beane, filed a response [Doc. 213] and the defendant filed            would unduly prejudice UTM; (3) the prejudice would not be
a reply [Doc. 225]. The plaintiff's response included a request          cured by granting a continuance; (4) the experts' testimony
for a hearing, but as the undersigned can decide this issue on           is duplicative of other expert testimony and therefore not
the briefs, her request is DENIED. For the foregoing reasons,            important enough to justify inclusion.10
the defendant's motion is GRANTED.



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The plaintiff counters that she does not need to file written         in the case or one whose duties as the party's employee
expert reports for these experts, pursuant to Rule 26(a)              regularly involve giving expert testimony.
(2)(B), because: (1) she has not specifically retained or          Fed.R.Civ.P. 26(a)(2)(B). The report must include (1) a
specially employed them to testify at trial; (2) some of           statement of all opinions the witness will express; (2) facts
the witnesses may be “hostile” to her position (because            and data considered by them; (3) exhibits; (4) the witness's
they work in the same industry as UTM); and, (3) she               qualifications; (5) a list of cases in which the witness testified
has “no control over any of these witnesses other than the         as an expert in the past four years; (6) a statement of the
power of subpoena.”11 As such, 26(a)(2)(B)'s requirements,         compensation to be paid. Id.
which apply to witnesses who are “retained or specially
employed to provide expert testimony in the case or one            Rule 26(a)(2) was amended in 2010 to include subsection
whose duties as the party's employee regularly involve             26(a)(2)(C), which requires “summary disclosures of the
giving expert testimony,” allegedly do not apply to these          opinions to be offered by expert witnesses who are not
                                                                   required to provide reports under Rule 26(a)(2)(B) and of the
nine witnesses.12 She argues that, under Rule 26(a)(2)(C)'s
                                                                   facts supporting those opinions.” Fed.R.Civ.P. 26(A)(2)(C).
disclosure requirements, she has “more than adequately”
                                                                   The advisory notes on subsection (a)(2)(C) note that if an
disclosed these witnesses.13 Additionally, she alleges that the    expert is not required to provide a written report, they must
nine experts' testimony is relevant because, even though they      still disclose the subject matter on which they are expected to
do not work for UTM, they can provide knowledge on general         present evidence under Federal Rule of Evidence 702, 703,
trailer design practices in the industry.14 Finally, she notes     or 705, and a summary of facts and opinions to which they
that information from these experts would not be duplicative       will testify.
and that the witnesses were properly disclosed such that UTM
could depose them to glean information, two factors which          As a preliminary matter, the undersigned notes that the
cut in favor of not excluding them. 15                             plaintiff's descriptions of the nine witnesses UTM seeks to
                                                                   exclude clearly do not satisfy the written report requirements
 *2 In UTM's reply, it argues that the plaintiff fundamentally     under 26(a)(2)(B): the descriptions in the plaintiff's disclosure
misconstrues Rule 26(a)(2)(B)'s terms to come to the               are very short and do not include exhibits, facts and data
conclusion that any and all experts not specifically retained      to be considered by them, any opinions they will express,
by her are exempt from the expert report requirement, and          etc. See Fed.R.Civ.P. 26(a)(2)(B). Thus, the main contention
that instead an expert will only be exempt if the proponent        between the parties centers around whether Rule 26(a)(2)(B)
of the expert can demonstrate that the expert has “firsthand       even applies in this case, or the more lax 26(a)(2)(C) applies
                                                                   instead.
knowledge” of the incidents involving the litigation.16 UTM
further avers that the plaintiff's argument that the nine
                                                                   As Rule 26's amendment occurred only two years ago, there
experts' testimony is relevant does nothing to address the
                                                                   is little case law discussing how a court distinguishes an
actual argument made in its motion: that these experts
                                                                   expert who falls under 26(a)(2)(B) from an expert who falls
must submit expert reports.17 Further, they note that the          under 26(a)(2)(C). One of the few circuit court cases on
plaintiff's argument that her disclosures fulfill Rule 26(a)(2)    point, cited by UTM, is the First Circuit's Downey v. Bob's
(C)'s more lax disclosure requirement also fail, as they have      Discount Furniture Holdings, Inc., 633 F.3d 1 (1st Cir.2011).
not submitted sufficient information.18                            In Downey, after the plaintiffs discovered an infestation of
                                                                   bedbugs at their home, they called an exterminator, who
Subsection (a)(2) of Rule 26 dictates that a party must disclose   treated the bedbug problem and composed an incident report.
to other parties “the identity of all expert witnesses who may     Id. at 3. In litigation resulting from the bedbug infestation, the
be used at trial to present evidence under Federal Rules of        exterminator was listed as an expert, but the plaintiffs did not
Evidence 702, 703, or 705. Subsection 26(a)(2)(B) says:            provide an expert report for him. Id. at 4.

  Witnesses Who Must Provide a Written Report. Unless               *3 The First Circuit went-through an analysis of 26(a)(2)
  otherwise stipulated or ordered by the court, [the witness]      (B) and 26(a)(2)(C) to determine under which group the
  disclosure must be accompanied by a written report-              exterminator would fall. The court held that 26(a)(2)(B)'s
  prepared and signed by the witness-if the witness is one         designation of an expert who was “retained or specially
  retained or specially employed to provide expert testimony


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employed” turned on “the difference between a percipient
witness who happens to be an expert and an expert who                *4 The plaintiff's argument that expert reports are not
without prior knowledge of the facts giving rise to litigation      required because she has not actually hired or retained these
is recruited to provide expert opinion testimony.” Id. at 6.        experts therefore misreads the intent of the 2010 addition
Continuing, the court noted that in instances where “the expert     of subsection (a)(2)(C). Allowing the plaintiff to subpoena
is part of an ongoing sequence of events and arrives at his         these experts, who necessarily must study the facts and issues
causation opinion during treatment, his opinion testimony           in this litigation in order to testify with any context, would
is not that of a retained or specially employed expert,” and        grant the plaintiff the double benefit of retaining expert
thus 26(a)(2)(C), and not 26(a)(2)(B), would apply. Id. at 7.       witnesses without having to pay them for their preparation,
Several district courts have followed the lead of Downey and        and without having to expend the extra effort in presenting
held that the distinction between a 26(a)(2)(B) expert and          expert reports or proving their expertise on the issue of
a 26(a)(2)(C) expert is that 26(a)(2)(C) experts' conclusions       trailer design. Further, while this issue was not briefed by
and opinions arise from firsthand knowledge of activities they      the parties, the undersigned expresses serious doubts as to
were personally involved in before the commencement of              whether the plaintiff even has the jurisdictional authority to
the lawsuit, and not conclusions they formed because they           compel “hostile” non-party experts to testify in a court which
were recruited to testify as an expert after-the-fact. See, e.g.,   is, for some experts, hundreds of miles away, simply via the
American Property Constr. Co. v. Sprenger Lang Found.,              power of a subpoena. See Fed.R.Civ.P. 45(c)(3) (a court may,
274 F.R.D. 1, 4–5 (D.D.C.2011); Chesney v. Tennessee                on motion, quash a subpoena if it requires a non-party to
Valley Auth., Nos. 09–09, 09–48, 09–54, 09–64, 2011 WL              travel more than 100 miles from where that person resides, is
2550721, at *2 (E.D. Tenn. June 21, 2011); Saline River             employed, or transacts business).
Properties, LLC v. Johnson Controls, Inc., no. 10–10507,
2011 WL 6031943, at *9 (E.D.Mich., Dec. 5, 2011). While             As the undersigned has found that these nine experts more
not explicitly adopting the Downey standard, at least one           appropriately fall under subsection 26(a)(2)(B), the next
district court in the Fifth Circuit has likewise noted that the     inquiry is whether these experts should be excluded, or
delineation between a 26(a)(2)(B) and a 26(a)(2)(C) expert          whether the plaintiff should be granted leave to supplement
is whether the expert has “first-hand factual knowledge of          with the expert reports of these nine witnesses. For this
[the] case so as to escape the requirement that he submit a full    inquiry, the undersigned must turn to Rule 37(c)(1), under
expert report.” Skyward Bound Ranch v. City of San Antonio,         which a trial court may punish a party for discovery violations
no. SA–10–CV–0316–XR, 2011 WL 2162719 at *2 (W.D.                   in connection with Rule 26 unless the violation was harmless
Tex., June 1, 2011).                                                or substantially justified. Fed.R.Civ.P. 37(c)(1). To determine
                                                                    whether exclusion of these experts is proper, the Fifth Circuit
Here, the nine witnesses which UTM seeks to exclude are             assesses four factors: “(1) the explanation, if any, for the
clearly not “percipient witness[es] who happen[ ] to be             party's failure to comply with the discovery order; (2) the
experts,” but rather are “expert[s] without prior knowledge         prejudice to the opposing party of allowing the witnesses to
of the facts giving rise to the litigation [who are] recruited to   testify; (3) the possibility of curing such prejudice by granting
provide expert testimony.” Downey, 633 F.3d at 6. Looking           a continuance; and (4) the importance of the witnesses'
to the plaintiff's descriptions of these individuals, they are      testimony.” Barrett v. Atlantic Richfield Co., 95 F .3d 375, 380
all professionals from trailer manufacturing companies other        (5th Cir.1996).
than UTM. The plaintiff is bringing them in specifically
to testify about such things as economic and technological          On the first prong, it appears that the plaintiff's explanation
feasibility, the dangers of side underride accidents, alternative   for not providing expert reports revolves around her central
designs for trailers, defects, and causation.19 There is no         argument in this motion: that these experts do not require
evidence that these experts have any firsthand knowledge            expert reports because they are not retained by her.20 In
on UTM's trailer design or Beane's specific side underride          most cases where the Fifth Circuit upheld a district court's
accident, and thus any comparisons the experts might make           exclusion of experts, the courts found that failure to produce
between their companies' trailer and UTM's trailer must             information on the experts “was designed to prejudice the
arise by examining the relevant information from this case,         opposing party and violate the scheduling order.” Tolliver v.
indicating that they were specifically recruited after-the-fact     U–Haul Co. of Texas, no. 2:09–CV–313, 2011 WL 3626328
just to provide expert testimony.                                   at *4 (W.D.La., Aug. 17, 2011) (referencing Barrett, 95 F.3d at



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380–81). Here, there is no evidence that the plaintiff intended     may move for extra time to obtain expert reports, which
to stymie UTM's trial preparation by presenting insufficient        necessarily may trigger a request for extra time from UTM
expert reports: instead, the plaintiff is simply arguing that       in order to conduct depositions. Because both parties wish to
a new (and arguably not entirely clear) amendment to Rule           adhere to the March 18th trial date, the undersigned finds that
26 applies to these experts. As the undersigned does not            a continuance would necessarily disrupt this plan, and thus
find clear intent to violate the scheduling order and prejudice     this factor weighs in favor of exclusion.
UTM, this factor does not weigh in favor of exclusion.
                                                                    On the fourth prong, the undersigned finds that the nine
 *5 On the second prong, the undersigned agrees with UTM            experts' testimony may not be sufficiently important, and
that not providing expert reports for these nine experts may        thus this factor weighs in favor of exclusion. As noted by
lead to undue prejudice. According to the Fifth Circuit,            UTM, in deciding this prong, courts may consider whether
an expert report must be “detailed and complete” in order           the plaintiff's “case will ... fail solely as a result of the
to “avoid the disclosure of ‘sketchy and vague’ expert              exclusion of [the] expert testimony” because the testimony
information.” Sierra Club v. Cedar Point Oil Co., 73 F.3d           may be elicited by other properly designated experts. Smith
546, 572 (5th Cir.1996). Here, absent an expert report, UTM         v. Johnson & Johnson, no. 3:08CV245, 2011 WL 3876997
is essentially in the dark on what these “experts” might rely       (S.D.Miss., Aug. 31, 2011) (referencing CQ Inc. v. TXU
on in their testimony. While UTM could depose these nine            Mining Co. LP, 565 F.3d 268, 280 n. 7 (5th Cir.2009). UTM
experts in order to assess their credibility/expertise, the scant   argues that because the nine experts' testimony is duplicative
information provided by the plaintiff on these nine individuals     of other testimony from other properly designated experts,
does not give UTM much of a lead on what to examine                 their testimony will not ultimately affect the outcome of the
the experts on during depositions. Further, without additional      plaintiff's case.23 The plaintiff acknowledges this, agreeing
information, UTM cannot determine whether it needs to edit          that the nine experts will “address the same issues” but that
its own expert reports in order to rebut any information            their testimony will be fundamentally different because it will
provided by these nine experts. The plaintiff counters
                                                                    come from “inside the walls of the trailer industry.”24
that UTM has not even attempted to depose these nine
experts, and that she “properly disclosed” their identities.21       *6 Reviewing the list of experts the plaintiff has disclosed
Because, based on a review of the plaintiffs descriptions           which includes expert reports, the undersigned is uncertain
of these nine experts, UTM would almost certainly require           whether testimony from “inside the walls of the trailer
depositions order to flesh out their qualifications, and these      industry” is absolutely necessary, in light of the fact that
depositions would have to happen almost instantly (an               two experts with expert reports (Perry Ponder and Bruce
unlikely possibility, since these are “hostile” witnesses not       Enz) have already been offered to testify about industry
retained by either party and scattered throughout the United        knowledge, testing, engineering options for underride safety,
States) in order for UTM to file sufficient Daubert motions         reasonable alternative designs, and the history and available
(which were due January 11, 2013), this factor weighs in favor
                                                                    knowledge on underride protection.25 There is no reason cited
of exclusion.
                                                                    by the plaintiff why these two experts could not conduct their
                                                                    own inquiry and discover information from “inside the walls
On the third prong, the possibility of curing the prejudice
                                                                    of the trailer industry” in order to come to their conclusions,
by granting a continuance, the undersigned notes that this
                                                                    and in fact it seems apparent that they would need to conduct
case's deadlines have been set and reset numerous times in
                                                                    such an inquiry, based on the broad spectrum of topics they
response to the parties' various discovery disputes.22 Indeed,      will allegedly cover. Thus, this factor weighs in favor of
this case, originally filed in 2010, has been subject to several    exclusion.
scheduling conferences. Discovery deadlines, dispositive
motion deadlines, and the trial date have been pushed back on       Assessing all of the factors in total, the undersigned finds
several occasions. While the parties have expressed a desire to     that these nine experts should be excluded from testifying,
proceed to trial on March 18, 2013, and the Magistrate Judge        primarily because their testimony would be unnecessarily
has diligently ruled on a flurry of pending discovery motions       duplicative. Accordingly, it is
in order to maintain this trial date, the undersigned expresses
serious doubts that this deadline could be maintained in light      ORDERED that the motion is GRANTED and the nine
of the fact that, if the experts are included, the plaintiff        experts, LaVann Watts, Rob Maharrey, Tom Rosby, Mark


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Roush, George Schmidt, Lenoard William Baker, Rodney P.             All Citations
Ehrlich, Richard J. Gironomi, and Francis S. Smidler are
excluded from testifying at trial.                                  Not Reported in F.Supp.2d, 2013 WL 1344763



Footnotes
1      A side underride collision occurs when a vehicle rams into the side of a tractor-trailer. These collisions can allegedly
       be particularly dangerous because many of a vehicle's safety features will not protect the driver and passengers from
       such a collision.

2      Pl.'s Resp. in Opp. to Def.'s Mot. to Dismiss, [Doc. 213], at pg. 2.

3      Id.

4      Pl.'s Seventh Supplement to Disclosure & Designation of Experts, Ex. A to Def.'s Mot. in Limine, [Doc. 209–2], at pgs.
       8–11.

5      In its original motion, UTM does not move to exclude the former testimony of the deceased Mr. John Tomassoni or the live
       testimony of Mr. Allan Kam, who are also listed as experts without expert reports. Confusingly, its reply, however, UTM
       notes that the plaintiff has failed to prove that “any and all non-retained experts are excluded from the report requirement
       of Rule 26(a)(2)(B) .” Def.'s Reply, [Doc. 225], at pg. 4. As UTM does not explicitly move to exclude these two witnesses,
       however, the court will not decide on whether their exclusion is proper in this order.

       The nine witnesses designated in UTM's motion and their descriptions from the plaintiff's disclosure and designation of
       experts submission are as follows:

         1. LaVann Watts: a current or former Lufkin Trailer employee who is designated as both a fact and expert witness. He
            is, as to plaintiffs, an adverse witness. Plaintiffs may elicit testimony from Mr. Watts regarding his work at Lufkin and
            through TTMA, NTHSA, knowledge of risks and dangers pertaining to underride accidents, design and engineering
            issues, alternative designs, technological and economic feasibility, defect and causation. Plaintiffs have attached a
            copy of a CV of Mr. Watts; however, Plaintiff cannot verify whether it is current or accurate. Plaintiff does not have
            a complete list of prior testimony from this witness; however, he has testified in at least two cases of which Plaintiff
            is aware: (1) Maravilla v. Lufkin (Webb County, Texas) and (2) Baker v. Lufkin (Panola County, Texas).

         2. Rob Maharrey: a current Lufkin Trailer employee who is designated as both a fact and expert witness. He is, as
           to plaintiffs, an adverse witness. Plaintiffs may elicit testimony from Mr. Maharrey regarding his work at Lufkin and
           through TTMA, NHTSA, knowledge of risks and dangers pertaining to underride accidents, design and engineering
           issues, alternative designs, technological and economic feasibility, defect and causation. Plaintiffs do not have a CV
           available regarding Mr. Maharrey, nor a list of cases in which he testified; however, Mr. Maharrey has testified in
           Baker v. Lufkin (Panola County, Texas).

         3. Tom Rosby: the former CEO/President of Monon Trailer Company who is designated as both a fact and expert
           witness. He is, as to plaintiffs, an adverse witness. Plaintiffs may elicit testimony from Mr. Rosby regarding his work
           at Monon and through TTMA, NHTSA, knowledge of risks and dangers pertaining to underride accidents, design
           and engineering issues, alternative designs, technological and economic feasibility, defect and causation. Mr. Rosby
           is also the former President of TTMA and is expected to be question regarding TTMA, its interworkings, and its
           role and influence in regulatory activities affecting the trailer industry. In 2007, Mr. Rosby was sentenced to 7 years
           imprisonment for fraud. To best of Plaintiffs' knowledge, Mr. Rosby is still serving his sentence.

         4. Mark Rousch: a current or former employee/officer of Vanguard Trailers (formerly Monon Trailers) and a subsidiary of
            China International (CIMC). Plaintiffs may elicit testimony from Mr. Roush regarding his work in the trailer industry and
            through TTMA, NHTSA, knowledge of risks and dangers pertaining to underride accidents, design and engineering
            issues, alternative designs, technological and economic feasibility, defect and causation.




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         5. George Schmidt: a current or former employee/officer of Strick Trailers who is designated as both a fact and expert
            witness. He is, as to plaintiffs, an adverse witness. Plaintiffs may elicit testimony from Mr. Schmidt regarding his work
            at Strick and through TTMA, NHTSA, knowledge of risks and dangers pertaining to underride accidents, design and
            engineering issues, alternative designs, technological and economic feasibility, defect and causation.

         6–9. Leonard William Baker, Rodney P. Ehrlich, Richard J. Gironomi: are current/former employees/officers of Wabash
           National. Plaintiffs may elicit testimony from these gentlemen regarding their work in the trailer industry and through
           TTMA, NHTSA, knowledge of risks and dangers pertaining to underride accidents, design and engineering issues,
           alternative designs, technological and economic feasibility, defect and causation.

       [Doc. 209–2] at pgs. 8–11.

6      Id. at pg. 8

7      Def.'s Mot. in Limine, [Doc. 209–1], at pg. 6.

8      Id. at pg. 9.

9      Id. at pg. 6.

10     Id at pgs. 11–13.

11     [Doc. 213] at pg. 3.

12     Id.

13     Id at fn.5, pg. 5.

14     Id. at pgs. 5–8.

15     Id. at pg. 8.

16     Def.'s Reply to Pl.'s Resp., [Doc. 225], at pgs. 4–9.

17     Id. at pg. 7.

18     Id.

19     [Doc. 209–2] at pgs. 8–11.

20     [Doc. 213] at pg. 3.

21     Id at pg. 8.

22     See generally Docket Sheet.

23     [Doc. 209–1] at pgs. 12–13.

24     [Doc. 213] at pg.8.

25     [Doc. 209–2] at pgs. 6–7.



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                                                                  Motion for Expenses.” (Doc. 42.) Defendant seeks dismissal
                   2017 WL 4042342                                of the action pursuant to Fed. R. Civ. P. 37 and the exclusion
      Only the Westlaw citation is currently available.           of the opinions of Plaintiff's legal malpractice expert, Thomas
        United States District Court, D. Vermont.                 O'Toole, Esq. pursuant to Fed. R. Evid. 702. Defendant
                                                                  further contends that judgment as a matter of law is warranted
                                                                  because Plaintiff will be unable to establish the essential
         ESTATE OF Eva C. PUPPOLO,
                                                                  elements of her legal malpractice claim. Plaintiff opposes
        Celeste Puppolo, Executor, Plaintiff,                     Defendant's motions.
                         v.
              John J. WELCH, Jr., J.                              On April 4, 2017, Attorney O'Toole testified at an
                                                                  evidentiary hearing held pursuant to Daubert v. Merrell
             Welch, Jr., Ltd., Defendants.                        Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) and its
                                                                  progeny (the “Daubert hearing”), whereupon the court took
                     Case No. 5:14–cv–95
                                                                  the pending motions under advisement. Thereafter, Plaintiff
                               |
                                                                  moved to admit certain audio recordings of telephone
                      Signed 09/12/2017
                                                                  communications, which she contends are relevant to the issue
                                                                  raised by Defendant's motions (Doc. 76) (the “motion to admit
Attorneys and Law Firms
                                                                  audio recordings”). Defendant opposes admission, arguing
R. Peter Decato, Esq., Decato Law Office, Lebanon, NH, for        that the recordings are irrelevant, are not authenticated, and
Plaintiff.                                                        may have been produced in violation of applicable law.
                                                                  The court took the motion to admit audio recordings under
David L. Cleary, Cleary Shahi & Aicher, P.C., Rutland, VT,        advisement on May 15, 2017.
for Defendants.
                                                                  Plaintiff is represented by R. Peter Decato, Esq. Defendant is
                                                                  represented by David L. Cleary, Esq.
OPINION AND ORDER DENYING PLAINTIFF'S
MOTION TO ADMIT AUDIO RECORDINGS,
DENYING DEFENDANT'S MOTION TO DISMISS,                            I. The Undisputed Facts.
GRANTING IN PART AND DENYING IN                                   In this case, isolating the undisputed facts is no easy task.
PART DEFENDANT'S MOTION FOR EXPENSES,                             Defendant's Statement of Undisputed Facts is confined to
GRANTING DEFENDANT'S MOTION TO EXCLUDE                            Attorney O'Toole’s opinions and does not address the factual
THE   OPINIONS  OF   THOMAS    O'TOOLE,                           allegations underlying Plaintiff's legal malpractice claim.
AND GRANTING DEFENDANT'S MOTION FOR                               Plaintiff's Statement of Disputed Facts, in turn, fails to
SUMMARY JUDGMENT REGARDING PLAINTIFF'S                            respond directly to Defendant's Statement of Undisputed
LEGAL MALPRACTICE CLAIM                                           Facts. Both statements contain impermissible legal argument.
                                                                  As a result, the court has confined its recitation of the facts
                                                                  to only those which are supported by admissible evidence as
(Docs. 42 & 76)                                                   required by Fed. R. Civ. P. 56(c).

Christina Reiss, Chief Judge United States District Court
                                                                  Plaintiff is the niece of Eva Puppolo, who passed away
 *1 The Estate of Eva C. Puppolo, Celeste Puppolo, Executor       in 2003 while residing at Crescent Manor Care Centers
(“Plaintiff”) brings this action against Defendants John J.       (“Crescent Manor”), a nursing facility and healthcare
Welch, Jr. and J. Welch, Jr., Ltd. (collectively, “Defendant”),   provider located in Bennington, Vermont. Plaintiff alleges
alleging four state-law causes of action: legal malpractice       that the administration of a lethal amount of fentanyl caused
(Count I), negligent misrepresentation (Count II), and two        her aunt's death and maintains that this and other treatment
counts of breach of contract (Counts III and IV). Pending         were, “at a minimum, grossly negligent and reckless, and
before the court is Defendant's “Motion to Dismiss, or            consequently brought about what prudent health practitioners
in the Alternative, Motion for Summary Judgment, or in            would have known to be certain death.” (Doc. 1 at 8, ¶
the Alternative, Motion to Preclude Further Opinions, and         55.)1 At the time of her death, Eva Puppolo was eighty-



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two years old (Doc. 56–1) and weighed sixty-eight pounds          Attorney O'Toole has known Plaintiff for approximately
(Doc. 75 at 58:14–15). Plaintiff retained Christopher S.          the past five years. Over four years ago, they discussed
Dodig, Esq. to prosecute survival and wrongful death claims       the possibility of his representation of Plaintiff in this
against Crescent Manor. Attorney Dodig allegedly failed to        action. In early 2014, Plaintiff engaged Attorney O'Toole
commence a timely action and his noncompliance with the           to represent her in multiple medical malpractice actions
applicable statute of limitations is the fulcrum of Plaintiff's   brought in Maryland and Washington, D.C. arising out of the
claims against him.                                               deaths of her parents. In May of 2014, Plaintiff discharged
                                                                  Attorney O'Toole in three of those actions, accusing him of
 *2 Plaintiff thereafter retained Defendant to bring a legal      “running the legal clock in these cases without representing
malpractice action against Attorney Dodig and his law firm        the Plaintiff's best interests[,]” withholding critical procedural
in the Vermont Superior Court (the “Dodig malpractice             information from her, and failing to communicate with her
action”). The Dodig malpractice action resulted in a defense      regularly. (Doc. 74 at 2, Ex. M.) Attorney O'Toole still
verdict in January 2010. The Vermont Supreme Court upheld         represents Plaintiff in two of those actions. In his testimony,
the verdict the following year. See Puppolo v. Donovan &          Attorney O'Toole conceded that this arrangement creates the
O'Connor, LLC, 2011 VT 119, 191 Vt. 535, 35 A.3d 166.             appearance of a conflict of interest that might impact his
On May 7, 2014, Plaintiff filed the instant action, alleging      credibility, presumably because he has an incentive to offer
that Defendant's legal representation breached the applicable     favorable opinions in exchange for Plaintiff foregoing a legal
standard of care and that he breached several promises to         malpractice action against him.
her regarding how the Dodig malpractice action would be
prosecuted.                                                       In January 2015, Plaintiff disclosed Attorney O'Toole as her
                                                                  legal malpractice expert in this case. Attorney O'Toole and
At the court's Daubert hearing, nineteen exhibits were            Plaintiff have not entered into a written agreement governing
introduced into evidence, including Attorney O'Toole’s expert     his expert witness services. He is not being compensated on
witness opinions, his deposition transcript, and Defendant's      a contingency basis, but rather plans to charge Plaintiff a
deposition transcript. Attorney O'Toole’s opinions are            fee of $300 per hour. Prior to his deposition in this action,
reflected in three documents: an undated opinion served on        Attorney O'Toole maintained no records regarding the hours
June 10, 2015 (the “Undated Opinion”), a second opinion           he spent on this case. Since his deposition, he has recorded
dated and served September 10, 2015 (the “September 10,           his time but has not billed for it. Although Plaintiff gave
2015 Opinion”), and a third opinion dated and served August       him several checks for small amounts in partial payment for
15, 2016 (the “August 15, 2016 Opinion”).                         his services, Attorney O'Toole destroyed them because he
                                                                  believed Plaintiff could not afford to pay him.
Attorney O'Toole is currently a named partner in the firm
Baroody & O'Toole located in Baltimore, Maryland, and is           *3 Defendant has not directly challenged Attorney O'Toole’s
admitted to practice law in New York, Maryland, and the           qualifications as an expert witness or asked the court to
District of Columbia. Prior to his engagement in this case,       strike his opinions on that basis. For the purposes of the
Attorney O'Toole has not served as an expert witness. He          pending motions, the court assumes without deciding that
has practiced law since 1986 and began handling litigation        Attorney O'Toole is qualified to serve as an expert witness
matters in approximately 1995 or 1996, concentrating              on legal and medical malpractice under Vermont law. See In
mainly on personal injury cases and other civil disputes.         re Exec. Telecard, Ltd. Sec. Litig., 979 F. Supp. 1021, 1024
In approximately the last ten years, Attorney O'Toole has         (S.D.N.Y. 1997) (observing that an expert witness must “at
litigated several medical malpractice cases, trying three cases   least have a reliable basis in the knowledge and experience of
unsuccessfully to verdict. He has handled between five and        the particular discipline involved”) (internal quotation marks
ten legal malpractice cases over the past five years, although    omitted).
none to verdict. Attorney O'Toole acknowledged that in 2003
the Bar of Maryland suspended him for thirty days for failing
to file state and federal income tax returns over a three-year      A. The Undated Opinion.
period.                                                           On June 10, 2015, Plaintiff served Attorney O'Toole’s
                                                                  Undated Opinion which states as follows:




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   I have been asked to review certain documents relating
   to the legal representation rendered by John J. Welch, Jr.          B. The September 10, 2015 Opinion.
   (“Mr. Welch”) to the Estate of Eva C. Puppolo in its action      The September 10, 2015 Opinion includes the information set
   against Christopher S. Dodig and Donovan & O'Connor,             forth in the Undated Opinion, except that Attorney O'Toole
   LLC. I have reviewed certain trial transcripts, pleadings,       opines that “to a reasonable degree of legal probability ...
   motions, discovery materials, and medical records. Based         but for such breaches in the standard of care, the Estate
   upon my review and based upon my education, training,            would have prevailed at trial on its claims.” (Id., Ex. 12 at 2.)
   experience, and knowledge of the facts of this case, it is my    The September 10, 2015 Opinion adds four footnotes which
   opinion to a reasonable degree of legal probability, that Mr.    address Defendant's alleged breaches of the standard of care.
   Welch breached the standard of care in his representation
   of the Estate in the following ways: failed to call as            *4 First, Attorney O'Toole opines that Defendant should
   an expert witness Philip Totonelli, M.D., especially as it       not have called Benjamin Glick, M.D. to testify as to Eva
   pertains to the standard of care relating to the dosing of       Puppolo's cause of death, and should instead have called
   fentanyl in treating Ms. Puppolo; failed to call witnesses       Plaintiff's preferred expert witness, Philip Totonelly, M.D.,
   with material information, such as Brianne Dimaggio;             who is acting as an expert witness in at least one other case
   failed to present evidence demonstrating that the increase       brought by Plaintiff.2 Attorney O'Toole opines this was a
   in the size of the wound was due to a tear; failed to            breach of the standard of care for the following reasons:
   challenge the medical testimony of defendants’ expert with
   available scientific information, e.g., Disposition of Toxic        Mr. Welsh represented to the Court during a pretrial hearing
   Drugs and Chemicals in Man, which was known by and                  that he could not get in touch with Dr. Totonelli. As a result,
   discussed with Mr. Welch; failed to present evidence of             he used Dr. Glick. However, Dr. Totonelli has informed the
   the alteration by the medical providers of certain medical          undersigned that Mr. Welsh never attempted to contact him
   records; and elicited testimony from defendant Christopher          in connection with this matter. Dr. Totonelli is a clinician,
   Dodig regarding defendant Christopher Dodig's opinions              with years of experience treating patients, including those
   about the merits of the underlying medical mal practice             suffering from pain. Dr. Glick, on the other hand, is a
   case. It is also my opinion to a reasonable degree of legal         medical examiner with no experience treating patients.
   probability that but for such breaches in the standard of           Choosing a medical examiner with no personal experience
   care, the outcome achieved by the Estate would have been            treating patients is not reasonable under the circumstances,
   different. I reserve the right to amend and/or supplement           especially when an experience clinician was available. Dr.
   this report should additional information become available,         Totonelli is also a cardiology specialist who would have
   including, e.g., reviewing the discovery deposition of              explained how the manner in which Ms. Puppolo passed
   defendant Welch after it is taken.                                  was consistent with a fentanyl overdose. The decision to
(Id., Ex. 13) (spelling in original). A footnote recites Attorney      use Dr. Glick instead was not in good faith.
O'Toole’s educational background and employment history as          Id. at 1 n.1 (spelling in original).
follows:
                                                                    Second, Attorney O'Toole opines that Defendant should have
   I graduated from law school in 1986 from the Columbus            cross-examined Attorney Dodig's medical witnesses with the
   School of Law in Washington, DC. I worked for Mudge              textbook Disposition of Toxic Drugs and Chemicals in Man.
   Rose Guthrie Alexander & Ferdon in New York for                  See id. at 1–2 n.2 (stating “Plaintiff has evidence where Mr.
   approximately three years[.] ... Since that time, I have been    Welch promised to use the text in the case. In furtherance of
   in private practice, principally with Neal C. Baroody. A         the promise, [Plaintiff] acquired at great expense a copy of
   portion of my practice involves medical mal practice claims      the book for trial.”).
   and legal mal practice claims. I have no prior testimony in
   the last four years. I am to be compensated at $300.00 per       Third, Attorney O'Toole opines that Defendant failed to
   hour plus expenses.                                              present evidence that Crescent Manor employees had altered
Id. at 1 n.1 (spelling in original). After the Undated Opinion      Eva Puppolo's medical records. See id. at 2 n.3 (stating
was served, the parties amended the discovery schedule to           Defendant “encouraged [Plaintiff] to pursue evidence of
provide Plaintiff the opportunity to serve another expert           alteration and agreed to use such evidence if discovered.
opinion on or before September 10, 2015.                            [Plaintiff] retained a company to examine the records. It was


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determined that certain records had been altered. He breached         of this file was a condition precedent to him issuing an
that promise when he failed to present such evidence during           opinion, why did he issue opinions?
trial.”).
                                                                      MR. DECATO: I understand, your Honor.
Fourth, Attorney O'Toole criticizes Defendant's decision to         (Doc. 39 at 8:11–21.)
elicit Attorney Dodig's opinions regarding the merits of
Plaintiff's medical malpractice claim against Crescent Manor:       Attorney O'Toole’s deposition took place as scheduled. At his
                                                                    deposition, Attorney O'Toole identified six acts or omissions
 Mr. Dodig's reasons for not pursuing the claims were not           by Defendant that allegedly breached the applicable standard
 relevant to the case—only his failure to properly advise the       of care in his handling of the Dodig malpractice action: (1)
 client as to the appropriate statute of limitations. Allowing      failing to call Dr. Totonelly as an expert witness; (2) failing to
 Mr. Dodig to testify to the reasons, primarily medical, as to      call Brianne Dimaggio as a fact witness; (3) failing to present
 why he did not pursue the claims was extremely prejudicial         evidence that Eva Puppolo's ulcer had been caused by a tear;
 and only served to bolster the defendants’ case. Allowing          (4) failing to introduce evidence from the textbook and other
 such testimony was not reasonable and a breach of the              articles Plaintiff had obtained; (5) failing to present evidence
 standard of care.                                                  that Crescent Manor employees had altered Eva Puppolo's
*5 Id. at 2 n.4.                                                    medical records; and (6) eliciting damaging testimony from
                                                                    Attorney Dodig regarding the merits of the underlying
                                                                    medical malpractice case. Attorney O'Toole acknowledged
   C. Attorney O'Toole’s December 9, 2015 Deposition.               that he did not fully read the Notice and, as a result, he
Defendant noticed Attorney O'Toole’s deposition, which was          did not bring to the deposition the documents required to be
scheduled to take place on December 9, 2015 in Baltimore,           produced.
Maryland. The Notice of Deposition (the “Notice”) directed
Attorney O'Toole to bring to the deposition “[h]is complete
file” and any correspondence in connection with this action         D. Attorney O'Toole’s August 15, 2016 Opinion.
relating to his compensation, the “identification of facts or       On February 29, 2016, at the parties’ joint request, the court
data that the plaintiff's attorney provided and that the expert     ordered Plaintiff to file any amended expert report “within
considered in forming the opinions to be expressed[,]” and          forty-five (45) days of the receipt of the transcript of the
the “identification of assumptions that the plaintiff's attorney    completed deposition of Defendant, which is to occur by May
provided and that the expert relied on in forming the opinions      15, 2016[.]” (Doc. 41.) On July 14, 2016, Defendant moved
to be expressed.” (Ex. C at 1.) The Notice further instructed       for summary judgment, noting that Plaintiff had failed to
Attorney O'Toole to bring “[a]ll invoices, bills, or other          serve an amended expert report within the time period ordered
statements for services in connection with his work” in this        by the court and arguing that Attorney O'Toole’s two prior
action. Id. at 2.                                                   opinions failed to comply with Fed. R. Civ. P. 26. Defendant
                                                                    sought dismissal of the action and the preclusion of further
The day before Attorney O'Toole’s scheduled deposition,             opinions by Attorney O'Toole.
Defendant's counsel informed the court that Plaintiff sought
to reschedule Attorney O'Toole’s deposition so that he could         *6 One month later, Plaintiff opposed the motion to dismiss
review Defendant's file, which purportedly had not yet been         and served the August 15, 2016 Opinion. In that four-page
produced in full. At a telephone conference held on December        opinion, Attorney O'Toole opines as follows:
8, 2015, the court ordered the deposition to proceed and made
the following inquiry:                                                Having read Mr. Welch's deposition transcript and having
                                                                      read the transcript of telephonic conversations pertaining
  THE COURT: So how is he going about and writing reports             to this matter, I provide the following supplementation of
  and rendering legal opinions without seeing [Defendant's            my previous reports on the captioned matter.
  file]? So he filed these reports. It's time for the deposition.
  It is going to go forward. If you want to take a second             In a legal malpractice action, a plaintiff must prove that
  deposition and he changes his opinion based on the review           the attorney was in fact negligent and that this negligence
  of the files, you may ask to do so, but this is no surprise to      was the proximate cause of the plaintiff's injury. (See,
  him that he is going to be deposed, and if this possession          Fleming v. Nicholson, 168 Vt. 495, 497, 724 A.2d 1026,



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  1028 (1998)). In a legal malpractice action, the required       such as Brianne DiMaggio; failed to present evidence
  standard of conduct is the exercise of professional care and    demonstrating that the increase in the size of the ulcer was
  skill. Hamilton v. Sommers, 2014 S.D. 76, ¶ 1, 855 N.W.2d       due to a tear; failed to challenge the medical testimony
  855, 858. Vermont appears to recognize the doctrine of          of defendants’ expert with available scientific information,
  judgmental immunity. Roberts v. Chimileski, 2003 VT             e.g., Disposition of Toxic Drugs and Chemicals in Man,
  10, 175 Vt. 480, 820 A.2d 995. Under the doctrine of            which was known by and discussed with Mr. Welch;
  judgmental immunity, an attorney is not liable for acts and     failed to present evidence of the alteration by the medical
  omissions in the conduct of litigation which are based on       providers of certain medical records; and elicited testimony
  an honest exercise of professional judgment.                    from defendant Christopher Dodig regarding the merits of
                                                                  the underlying medical malpractice case.
  It is my opinion, held to a reasonable degree of legal
  probability, that Mr. Welch departed from the standard           *7 I am concerned by the fact that Mr. Welch represented
  of skill and care held out for the legal profession in          to the trial court that he chose not to use Dr. Totonelly
  the State of Vermont. In my opinion Mr. Welch has not           because he attempted to contact him on a plurality of
  exercised the professional care and skill expected of a         occasions and was unable to reach him. I called Dr.
  Vermont attorney litigating a case where the main goal is       Totonelly and had no trouble reaching him. When I did
  to obtain punitive damages. It is further my opinion that       reach Dr. Totonelly, he indicated that Mr. Welch had never
  Mr. Welch isn't or shouldn't be protected by the judgmental     tried to contact him. Mr. Welch testified that he could
  immunity doctrine as the evidence supports that Mr. Welch       understand why Celeste Puppolo believed he was going to
  didn't act in good faith and upon an informed judgment          call Dr. Totonelly as a witness and that he recalls promising
  after undertaking reasonable research of the relevant legal     to call Dr. Totonelly as a rebuttal witness.
  princip[le]s and facts of the given case. See, e.g., Smith v.
  Lewis, 13 Cal. 3d 349, 530 P.2d 589, 595, 118 Cal. Rptr.        In his deposition, Mr. Welch admitted to knowing of
  621 (Cal. 1975).                                                Dr. Totonelly and he knew that Dr. Totonelly had strong
                                                                  opinions. Mr. Welch knew that Dr. Totonelly had the
  Even though Mr. Welch intended to seek punitive damages,        opinion that the Crescent Manor health care providers had
  he testified that he wasn't familiar with Pion v. Bean,         negligently or intentionally overdosed Eva Puppolo with
  2003 VT 79, 176 Vt. 1, 833 A.2d 1248. However, he               fentanyl in extreme quantities which caused her death. This
  conceded that Pion accurately described the law in the          is very strong evidence establishing negligence, especially
  State of Vermont as it existed in 2010. Pion says that          considering that there was a claim for punitive damages.
  punitive damages are appropriate where there has been
  a showing of actual malice or a showing of conduct              Mr. Welch admitted in his deposition that he had initially
  manifesting personal ill will or conduct carried out under      planned on using Dr. Totonelly as a witness. Dr. Totonelly
  circumstances evidencing insult or oppression, or even by       was listed as an expert witness in the 26(b)(4) disclosures.
  conduct showing a reckless or wanton disregard of one's         I have reviewed Dr. Totonelly's written opinion, and
  rights will suffice.                                            there is nothing in Dr. Totonelly's written opinion that
                                                                  should give pause to any reasonable attorney trying to
  In his deposition, Mr. Welch indicated that the basis of        establish negligence and get punitive damages. During his
  the wrongful death action would have been related to            deposition, Mr. Welch suggested that Dr. Totonelly would
  administering too much fentanyl and that he intended to         have been impeached by his prior opinion(s) as to [Crescent
  get punitive damages by showing reckless and wanton             Manor's] role in causing Eva Puppolo's death. However,
  behavior. If getting punitive damages was Mr. Welch's goal,     this was not the reason he represented to the trial court as
  he failed to pursue and utilize the available evidence to       to why he was not using Dr. Totonelly. He represented to
  establish malice or reckless and wanton behavior.               the trial court that he tried to contact Dr. Totonelly, but was
                                                                  unsuccessful and left to rely on Dr. Glick.
  I mentioned the evidence Mr. Welch ignored in my earlier
  opinion(s): Mr. Welch failed to call as an expert Philip        Mr. Welch admitted in his deposition having a discussion
  Totonelly, M.D., especially as it pertains to the standard      with Celeste Puppolo about using Dr. Totonelly as a
  of care relating to the dosing of fentanyl in treating Ms.      rebuttal witness. This representation to Celeste Puppolo is
  Puppolo; failed to call witnesses with material information,    concerning because he represented to the trial court that



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  he was unable to contact Dr. Totonelly. In addition, Dr.
  Totonelly advised me that Mr. Welch had not contacted              An attorney is not infallible when he makes choices about
  him in connection with this case. However, even if Mr.             what experts to call and what exhibits to put in. However,
  Welch really intended to call Dr. Totonelly on rebuttal,           he still has to use professional care and skill and Mr. Welch
  during his deposition, he questioned the wisdom of using           failed to do so. Mr. Welch's judgments were not the honest
  Dr. Totonelly in this manner. In my opinion, Dr. Totonelly's       exercise of professional judgment.
  vastly superior clinical background mandated that he be
                                                                     In my opinion, Mr. Welch's failure to use available evidence
  utilized in the Estate's case in chief to establish negligence
                                                                     and his broken promises to his client constitutes a breach
  and get beyond a motion for a directed verdict on the issue
                                                                     of Mr. Welch's duties to use professional skill and care.
  of punitive damages. Ultimately, Judge Suntag set aside the
                                                                     It is also my opinion, based upon a reasonable degree of
  request for punitive damages. In my opinion, if Mr. Welch
                                                                     legal probability, that but for Mr. Welch's failures, a jury
  had called Dr. Totonelly to testify in the Estate's case in
                                                                     would more likely than not have returned a verdict for the
  chief, Judge Suntag would have decided otherwise.
                                                                     Estate and have awarded general and punitive damages. I
  In my opinion, Brianne DiMaggio and some of her fellow             believe Mr. Welch's breach of the standard of care was the
  nurses should have been called to testify. Mr. Welch was           proximate cause of the Estate's failure to succeed with ...
  aware that Brianne told the Bennington Police she thought          Judge Sontag and the jury.
  someone at Crescent Manor had intentionally given an
                                                                     A solemn relationship of trust and confidence exists
  overdose of fentanyl to bring about Eva Puppolo's death.
                                                                     between an attorney and his client. It was violated in this
  Ms. DiMaggio indicated she had provided care for Eva
                                                                     case. The failure of Mr. Welch to call Dr. Totonelly; to
  Puppolo and she was of the following belief: (1) Crescent
                                                                     deal credibly with Dr. Glick; to call Brianne DiMaggio
  Manor had killed Eva Puppolo; (2) Crescent Manor tore
                                                                     and many of the other nurses; and to use evidence of
  Eva's coccyx with a bedpan and failed to take care of
                                                                     altered medical records all caused the Estate to lose its
  the tear on Eva's backside; and (3) Crescent Manor had
                                                                     case and lose its claims of negligence and for punitive
  “redone” Eva's medical records immediately after Eva's
                                                                     damages. Mr. Welch failed to use the competent evidence,
  death. This evidence goes directly to punitive damages,
                                                                     all of which tended to support the Estates’ claims for
  and it was ignored. Ignoring this evidence shows, in my
                                                                     compensatory and punitive damages. According to Mr.
  opinion, a lack of professional care and skill.
                                                                     Welch, “It is well established that ‘an attorney's decision
  There was evidence that the nurses were holding a lottery          to pursue one of several reasonable courses of action does
  of sorts in to guess when Eva would die from the fentanyl.         not constitute malpractice.’ ” In light of his obligations and
  This evidence would go directly to the issue of malice and         representations to the client and the trial court, Mr. Welch
  to the issue of punitive damages. Excluding this evidence          failed to act reasonably. Therefore, it is my opinion, held
  shows a lack of professional care and skill. If this evidence      to a reasonable legal probability, that Mr. Welch committed
  was presented, along with the evidence of the altered              legal malpractice and caused the Estate harm.
  medical records and the evidence from Dr. Totonelly,             (Doc. 74, Ex. 7 at 1–4) (spelling in original).
  Brianne DiMaggio and some of the other nurses, then the
  Estate's claims of negligence and for punitive damages           Attorney O'Toole testified that Plaintiff's counsel provided
  would likely have succeeded.                                     him with a draft of the August 15, 2016 expert witness opinion
                                                                   to which he made certain minor edits. He then converted
   *8 The evidence I've seen suggests that Mr. Welch made          the document into letter format, and Plaintiff served it on
  promises to try the claim against Attorney Dodig a certain       Defendant. Attorney O'Toole acknowledged that he did not
  way and then Mr. Welch reneged on the promises. He               perform the legal research that is reflected in his August
  agreed at one time to call Dr. Totonelly, Brianne DiMaggio       15, 2016 Opinion. A comparison of the opinion drafted by
  and some of the other nurses, but didn't. He agreed at one       Plaintiff's counsel and Attorney O'Toole’s August 15, 2016
  time to use the report from Joan McCann about the altered        Opinion reveals that they are substantially identical with
  medical records and didn't. In my opinion, the refusal to        minor revisions.
  use this and the other evidence shows poor judgment and
  lack of good faith.




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                                                                       his December 9, 2015 deposition, Attorney O'Toole testified:
E. Attorney O'Toole’s Testimony Regarding the Extent                   “Well, I don't know whether I read a transcript, listened to a
of His Reliance on Plaintiff's Audio Recordings and the                tape. I'm not sure.” (Doc. 81–1 at 151:13–14.)
Transcriptions Thereof.
On April 2, 2017, Plaintiff moved in limine to admit                   At the Daubert hearing, Attorney O'Toole testified that he
uncertified transcripts of seven audio recordings she                  read the transcripts of Plaintiff's audio recordings, but had not
surreptitiously made of telephone conversations with                   listened to the recordings themselves:
Defendant in 2008–10 and with certain fact witnesses.
Plaintiff contends that these materials “may have some                   Q. I'm talking about transcriptions of telephone calls.
bearing on the parties’ Daubert hearing to be held on
Tuesday, April 4, 2017[.]” (Doc. 72 at 3, ¶ 14.) Plaintiff also          A. Oh. I read some of the transcriptions, yes....
filed seven supporting affidavits, in which she described the
                                                                         Q. All right. Did you ever listen to the tapes?
circumstances, timing, and manner in which she created the
audio recordings, which include material unrelated to this               A. No, I don't think I listened to those tapes, but I don't
action. See, e.g., Doc. 72–1 at 3, ¶ 8 (Plaintiff's affidavit noting       know.
that “[v]oices unrelated to this litigation, and in the order in
which they occur, are Dr. Bier, Dr. Mamo, Patrick, Marcia,               Q. Did you ever inquire as to whether or not the recordings
and John”). Plaintiff's own affidavit states that she read the             were made legally?
uncertified transcripts of the audio recordings and opines that
                                                                         A. I was told that they were made legally.
they had been accurately transcribed.
                                                                       (Doc. 75 at 187:4–15.)
 *9 At the Daubert hearing, the court denied Plaintiff's
                                                                       At the conclusion of the Daubert hearing, the court expressed
motion to admit the uncertified transcripts of the audio
                                                                       doubt regarding the relevance of the underlying recordings:
recordings without prejudice, and stated as follows:
                                                                          THE COURT: ... I have already said this, but I am not going
  THE COURT: ... What [Plaintiff] has asked me to do is
                                                                          to accept transcripts prepared by a party. And I want the
  to rely on a transcript in lieu of the audiotapes. That's
                                                                          best evidence, the audiotapes. You can renew the request to
  the problem, because I would typically have an unbiased
                                                                          admit them. I am not so sure that they have much to do with
  third party certify that this is a true and accurate copy of
                                                                          the Daubert hearing because the witness was so imprecise
  the audiotape.... I am going to deny the motion without
                                                                          about what he had reviewed and what he hadn't reviewed.
  prejudice. If you give me the audiotapes, that's the best
                                                                          So I have no way of telling whether they are relevant or not.
  evidence. The Court can listen to them ... and determine
                                                                       Id. at 211:4–14.
  whether or not they should be admissible.

  MR. DECATO: We will do that if you give us leave to go               On April 25, 2017, Plaintiff filed the motion to admit audio
  get them and give them to the Court.                                 recordings, contending that “[l]istening to the audiotape
                                                                       evidence has a bearing on the parties’ Daubert hearing held
  THE COURT: Sure. You don't have to do it right now. I am             on Tuesday, April 4, 2017[,] as F.R.E. Rule 703 states that an
  just saying that I can't accept the evidence in the form that        expert may base an opinion on facts or data in the case that
  you proffered[.]                                                     the expert has been made aware of or personally observed.
(Doc. 75 at 7:19–8:7.)                                                 Attorney O'Toole is aware of the audiotape evidence and
                                                                       the evidence that bears on the issue of [Defendant's]
Attorney O'Toole was thereafter examined regarding the facts           deceit.” (Doc. 76 at 2, 3.) Plaintiff did not address Attorney
and data he considered in forming his expert opinions. His             O'Toole’s equivocal testimony regarding whether he actually
August 15, 2016 Opinion is the only opinion that arguably              listened to the audio recordings or reviewed the transcripts of
references the audio recordings, stating only that he “read            them. In a May 23, 2017 filing, Plaintiff represented that “Mr.
the transcript of telephonic conversations pertaining to this          O'Toole has not listened to the recordings since 2012” but that
matter[.]” (Id., Ex. 7 at 1.) In his testimony both at deposition      “[t]he recordings had made a permanent impression on him
and at the court's Daubert hearing, Attorney O'Toole drew no           when he first did his research on this case, and he remembers
connection between the audio recordings and his opinions. At           the intensity of the dialog[ue].” (Doc. 79 at 2–3, ¶ 4.) Plaintiff



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attached an affidavit signed by Attorney O'Toole dated May          Defendant argues that Plaintiff's failure to timely serve
23, 2017, wherein he averred that “[l]istening to the tapes and     the August 15, 2016 Opinion is inexcusable and justifies
reading the trial transcript provided me with the background        dismissal of the action. “If a party ... fails to obey an order to
information and facts I needed to form my opinions regarding        provide or permit discovery,... the court where the action is
legal malpractice.” (Doc. 79–1 at 1, ¶ 3.)                          pending may ... dismiss[ ] the action or proceeding in whole
                                                                    or in part[.]” Fed. R. Civ. P. 37(b)(2)(A)(v). The sanction of
                                                                    dismissal is appropriate only in “extreme situations,” such
II. Conclusions of Law and Analysis.                                as “when a court finds willfulness, bad faith, or any fault
                                                                    on the part of the” non-compliant party. Guggenheim Cap.,
   A. Whether to Grant Plaintiff's Motion to Admit Audio
                                                                    LLC v. Birnbaum, 722 F.3d 444, 451 (2d Cir. 2013) (quoting
   Recordings.
                                                                    Bobal v. Rensselaer Polytechnic Inst., 916 F.2d 759, 764
 *10 The audio recordings Plaintiff seeks to admit are
                                                                    (2d Cir. 1990)) (internal quotation marks omitted). The court
relevant only to the extent that Attorney O'Toole relied upon
                                                                    is guided by the following factors in evaluating whether
them in forming his opinions. See Fed. R. Evid. 702(b). In
                                                                    this sanction is warranted: “(1) the willfulness of the non-
both his December 9, 2015 deposition and at the Daubert
                                                                    compliant party or the reason for noncompliance; (2) the
hearing, Attorney O'Toole testified that he either did not listen
                                                                    efficacy of lesser sanctions; (3) the duration of the period
to the audio recordings or, at best, that he did not know
                                                                    of noncompliance; and (4) whether the non-compliant party
whether he had listened to them. None of his expert opinions
                                                                    had been warned of the consequences of... noncompliance.”
indicate that he relied on the audio recordings, despite his
                                                                    World Wide Polymers, Inc. v. Shinkong Synthetic Fibers
obligation to disclose “the facts or data [he] considered ... in
                                                                    Corp., 694 F.3d 155, 159 (2d Cir. 2012) (internal quotation
forming” his opinions. Fed. R. Civ. P. 26(a)(2)(B)(ii); see also
                                                                    marks omitted).
id., advisory committee's note to 2010 amendment (noting
“the intention is that ‘facts or data’ be interpreted broadly to
                                                                    Here, although Plaintiff's noncompliance was willful and
require disclosure of any material considered by the expert,
                                                                    the period of noncompliance was inexcusable, the extreme
from whatever source, that contains factual ingredients”). The
                                                                    sanction of dismissal of the case is not warranted. “Parties
strongest evidence of his reliance on the recordings is his
                                                                    must be given notice and an opportunity to respond before
August 15, 2016 Opinion which reflects that he reviewed an
                                                                    a cause of action, or potential remedy, is dismissed as a
unspecified “transcript of telephonic conversations pertaining
                                                                    sanction for failure to comply with court orders.” Id. at
to this matter.” (Doc. 74, Ex. 7.)
                                                                    160. No notice was provided in this case. In addition,
                                                                    while the degree of prejudice to Defendant is substantial,
Attorney O'Toole’s post-hearing affidavit seeks to alter the
                                                                    the consequences to Plaintiff are far greater and border on
record by stating that he relied on both the audio recordings
                                                                    draconian. Lesser sanctions will appropriately address the
and the transcripts in forming his opinions. His affidavit
                                                                    untimely disclosure of Attorney O'Toole’s opinions, remedy
does not identity when he undertook those tasks. The court
                                                                    the prejudice to Defendant, and still allow Plaintiff to have
declines to allow him to “correct” his testimony in this post
                                                                    her claims considered on their merits. See Dodson v. Runyon,
hoc manner.3 As Plaintiff has failed to satisfy her obligation      86 F.3d 37, 39 (2d Cir. 1996) (stating that “[t]he remedy
to show that the audio recordings are relevant, Plaintiff's         [of dismissal] is pungent, rarely used, and conclusive. A
motion to admit audio recordings (Doc. 76) is DENIED. See           district judge should employ it only when he is sure of the
Amorgianos v. Nat'l R.R. Passenger Corp., 303 F.3d 256, 265         impotence of lesser sanctions.”) (internal quotation marks
(2d Cir. 2002) (stating that “in analyzing the admissibility        omitted) (alteration in original).
of expert evidence, the district court has broad discretion
in determining what method is appropriate for evaluating             *11 For the foregoing reasons, Defendant's motion to
reliability under the circumstances of each case”).                 dismiss the action as a Rule 37 sanction is DENIED.


  B. Whether Defendant Is Entitled to Rule 37 Sanctions.
                                                                    2. Whether Plaintiff's Untimely Service of the August 15,
                                                                    2016 Opinion Precludes Its Admissibility.
1. Whether Plaintiff's Untimely Service of the August 15,
2016 Opinion Warrants Dismissal of the Action.



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In the alternative, Defendant argues that Attorney O'Toole’s        Attorney O'Toole’s August 15, 2016 Opinion would prejudice
August 15, 2016 Opinion should be precluded as a sanction           Defendant because it would require Defendant to confront
for its untimely disclosure without justification. This would       a new opinion after a summary judgment motion has been
leave the Undated Opinion and the September 10, 2015                filed. A continuance may remedy some of the prejudice to
Opinion as Plaintiff's only expert witness disclosures. In          Defendant, but would not avoid a waste party and judicial
determining an appropriate response, the court is guided by         resources. See Advanced Analytics, Inc. v. Citigroup Glob.
Fed. R. Civ. P. 37, which provides, in pertinent part, that “[i]f   Mkts., Inc., 301 F.R.D. 31, 41 (S.D.N.Y. 2014) (holding that
a party fails to provide information or identify a witness as       “a continuance is not appropriate, given the age of this case
required by Rule 26(a) or (e), the party is not allowed to use      and the fact that discovery has long been closed”); see also
that information or witness to supply evidence on a motion,         Softel, 118 F.3d at 963 (stating that “the enormous length of
at a hearing, or at trial, unless the failure was substantially     every step of the proceedings in this case militate[s] against
justified or is harmless.” Fed. R. Civ. P. 37(c)(1).                any more continuances”). As one court has observed:

In determining whether a party's violation is “substantially           *12 Defendants are entitled to make summary judgment
justified or harmless,” courts in the Second Circuit consider:        motions on the basis of the discovery record compiled in
“(1) the party's explanation for the failure to comply with           accordance with the federal rules and the court's orders.
the discovery order; (2) the importance of the testimony              [A party's] new expert theory cannot be presented without
of the precluded witness; (3) the prejudice suffered by the           giving [the opposing party] an opportunity to depose
opposing party as a result of having to prepare to meet the new       his experts, thus reopening discovery and rendering [that
testimony; and (4) the possibility of a continuance.” Softel,         party's] motion, addressed in good faith to the theories and
Inc. v. Dragon Med. & Sci. Commc'ns, Inc., 118 F.3d 955, 961          evidence that had been disclosed, an expensive waste of
(2d Cir. 1997) (citing Outley v. City of New York, 837 F.2d           effort.
587, 590–91 (2d Cir. 1988)).                                        Every v. Makita U.S.A., Inc., 2005 WL 2757952, at *6
                                                                    (S.D.N.Y. Oct. 24, 2005).
It is undisputed that Plaintiff served Attorney O'Toole’s
August 15, 2016 Opinion over one month after the court-             Viewing the relevant factors collectively, the court concludes
ordered deadline to do so. Plaintiff neither sought leave of        that Plaintiff's untimely service of Attorney O'Toole’s August
court to extend that deadline, nor requested an extension from      15, 2016 Opinion is neither harmless, nor excusable. See
Defendant. See Beyer v. Anchor Insulation Co., 2016 WL              In re Omeprazole Patent Litig., 2002 WL 287785, at *5
3676091, at *4 (D. Conn. July 6, 2016) (finding no adequate         (S.D.N.Y. Feb. 27, 2002) (precluding improperly disclosed
explanation for the party's failure to comply with a discovery      expert testimony where “not one of [the] factors weighs in
order and noting that “plaintiffs continued to conduct expert       favor of permitting the new opinions in this case”). On this
discovery after their deadline without notice to the defendants     basis alone, the opinion is subject to exclusion. The court
or leave from the court”). Plaintiff proffers no explanation for    nonetheless proceeds to evaluate the merits of the August 15,
failing to comply with the court's discovery deadline. Because      2016 Opinion to determine whether it is otherwise admissible.
she has initiated and pursued at least three lawsuits, each         If it is, the sanction of exclusion may be too harsh. If it is
alleging some form of professional malpractice, she is not a        inadmissible, Plaintiff will suffer no prejudice as a result of
neophyte in the requirements of litigation. Throughout this         its exclusion. The court thus DEFERS ruling on Defendant's
proceeding she has been represented by counsel. There is thus       motion to exclude until the admissibility of the August 15,
no reasonable justification for her noncompliance with the          2016 Opinion is determined.
court's discovery deadlines.

Regarding the opinion's importance, prior to the late               3. Whether Defendant Is Entitled to Costs Occasioned by
service of the August 15, 2016 Opinion, Plaintiff had               the Untimely Disclosure of the August 15, 2016 Opinion.
disclosed two opinions by Attorney O'Toole, which were
required to set forth “a complete statement of all” of his          Pursuant to Rule 37, “[i]n addition to or instead of [the
opinions. Fed. R. Civ. P. 26(a)(2)(B)(i). Attorney O'Toole’s        sanction of preclusion], the court, on motion and after giving
August 15, 2016 Opinion purports to materially alter                an opportunity to be heard ... may order payment of the
those opinions. Accordingly, permitting Plaintiff to rely on        reasonable expenses, including attorney's fees, caused by”



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a party's untimely disclosure. Fed. R. Civ. P. 37(c)(1)(A).       remaining amounts to unrelated issues. In the absence of a
This court “has wide discretion to impose sanctions, including    more particularized statement, the court has no other means of
severe sanctions, under Federal Rule of Civil Procedure 37,       segregating the expenses incurred by the untimely disclosure.
and its ruling will be reversed only if it constitutes an abuse   Even without this information, however, the court has little
of discretion.” Design Strategy, Inc. v. Davis, 469 F.3d 284,     difficulty in concluding that at least $500 in attorney's fees
294 (2d Cir. 2006). In exercising its discretion, “the court      are attributable to Defendant's motion to exclude. In the
may draw upon its first hand familiarity with all the pertinent   event Defendant contends that additional fees and expenses
circumstances of the particular case.” Mayo–Coleman v. Am.        were incurred in responding to Plaintiff's untimely disclosure,
Sugar Holding, Inc., 2016 WL 7378767, at *1 (S.D.N.Y. Nov.        he may renew his application supported by a particularized
16, 2016) (internal quotation marks omitted).                     statement as to the tasks involved, the fees and costs incurred,
                                                                  and his counsel's hours expended and hourly rate.
In seeking exclusion of the August 15, 2016 Opinion,
Defendant requests “all costs associated with bringing            For the reasons stated above, the court GRANTS IN
this motion, and the activities leading up to the motion,         PART AND DENIES IN PART Defendant's request for
including all attorneys’ fees[.]” (Doc. 42 at 25.) In his         expenses and ORDERS Plaintiff to pay Defendant the sum of
July 14, 2016 affidavit, Defendant's counsel identifies four      $500.00, together with Defendant's costs, if any, incurred in
categories covered by this request: (1) the expense associated    photocopying his file for production to Plaintiff.
with preparing for and attending Defendant's deposition
($10,019.50); (2) the expense associated with the production
of files in response to Attorney O'Toole’s deposition                C. Whether to Exclude Attorney O'Toole’s Opinions
($1,267.00); (3) unspecified additional costs associated with        Pursuant to Rule 702.
the prior two categories ($1,713.75); and (4) fees and costs      The admissibility of Attorney O'Toole’s opinions is governed
associated with preparing and filing the instant motions          by Fed. R. Evid. 702, which provides that “[a] witness who
($3,872.00).                                                      is qualified as an expert by knowledge, skill, experience,
                                                                  training, or education may testify in the form of an opinion
Because Defendant's motion was precipitated, at least in          or otherwise if:”
part, by the late disclosure of the August 15, 2016 Opinion
                                                                    (a) the expert's scientific, technical, or other specialized
which the court has found both unjustified and prejudicial, an
                                                                    knowledge will help the trier of fact to understand the
award of costs is appropriate. However, because Defendant's
                                                                    evidence or to determine a fact in issue;
motion seeks relief on several other grounds that do not stem
from Plaintiff's late expert witness disclosure, those costs        (b) the testimony is based on sufficient facts or data;
must be excluded. For example, Defendant has not shown
why he should recover costs and fees for preparing for and          (c) the testimony is the product of reliable principles and
attending his own deposition. While he asserts that Plaintiff       methods; and
requested to depose him so that Attorney O'Toole could
                                                                    (d) the expert has reliably applied the principles and
amend his opinions, the parties jointly moved to amend the
                                                                    methods to the facts of the case.
discovery schedule to allow Defendant's deposition without
                                                                  Fed. R. Evid. 702.
any provision that Plaintiff bear the costs thereof.

                                                                  The Federal Rules of Evidence “assign to the trial judge
 *13 In addition to attorney's fees and expenses associated
                                                                  the task of ensuring that an expert's testimony both rests on
with the motion to exclude, Defendant seeks an award of costs
                                                                  a reliable foundation and is relevant to the task at hand.”
in the amount of $1,267.00 for the production of his files
                                                                  Daubert, 509 U.S. at 597. The court therefore assumes a
to Attorney O'Toole after his December 9, 2015 deposition.
                                                                  “gatekeeping” role “to make certain that an expert, whether
Because Plaintiff was entitled to production of Defendant's
                                                                  basing testimony upon professional studies or personal
file, Defendant may recover only photocopying costs.
                                                                  experience, employs in the courtroom the same level of
                                                                  intellectual rigor that characterizes the practice of an expert in
On balance, the court attributes $500 of Defendant's expenses
                                                                  the relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S.
of $3,872.00 incurred in filing the pending motions to
                                                                  137, 152 (1999). This gatekeeping obligation “applies to all
Plaintiff's untimely expert disclosure, and attributes the
                                                                  expert testimony” and not simply to “scientific” testimony.


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Id. at 147. The party proffering expert testimony bears the
burden of establishing its admissibility “by a preponderance
of proof.” Daubert, 509 U.S. at 592 n.10.
                                                                     1. The Undated and September 10, 2015 Opinions.

In Daubert, the Court identified several factors to be               With regard to the Undated and September 10, 2015 Opinions,
considered in determining whether an expert's opinion is             Attorney O'Toole states that he “reviewed certain trial
admissible: whether the expert's theory or technique “can be         transcripts, pleadings, motions, discovery materials, and
(and has been) tested,” whether it has been subjected to peer        medical records” in forming his opinions. (Doc. 74, Ex. 14 at
review or publication, its known or potential rate of error, and     1.) These “cursory reference[s] to the sources of his opinion[s]
its “ ‘general acceptance’ ” within the particular discipline.       do not enable the [c]ourt to determine that” his opinions are
Id. at 593–94. “Vigorous cross-examination, presentation of          “based on sufficient facts or data.” Kellogg v. Wyeth, 2012
contrary evidence, and careful instruction on the burden of          WL 2970621, at *5 (D. Vt. July 20, 2012); see also Fed. R.
proof are the traditional and appropriate means of attacking         Civ. P. 26(a)(2)(B)(ii) (requiring that an expert report disclose
shaky but admissible evidence.” Id. at 596.                          “the facts or data considered by the witness in forming” his
                                                                     or her opinions). From the proceedings in this case, the court
 *14 The trial court's inquiry is “a flexible one” whose             is aware that Attorney O'Toole did not review Defendant's
“overarching subject” is the “evidentiary relevance and              complete file or have the benefit of Defendant's deposition
reliability ... of the principles that underlie a proposed           before he rendered the Undated Opinion and the September
submission.” Id. at 594–95. The court therefore has                  10, 2015 Opinion. Attorney O'Toole could therefore only
“considerable leeway in deciding in a particular case how            speculate regarding the factual and legal underpinning of
to go about determining whether particular expert testimony          Defendant's strategic decisions. See Ryan v. Nat'l Union
is reliable.” Kumho, 526 U.S. at 152; see also Amorgianos,           Fire Ins. Co. of Pittsburgh, 2010 WL 2232670, at *8 (D.
303 F.3d at 266 (observing that “the Daubert inquiry is              Conn. June 2, 2010) (excluding testimony of expert who was
fluid and will necessarily vary from case to case”). “The            unaware of alternative explanations for the outcome of an
flexible Daubert inquiry gives the district court the discretion     arbitration proceeding and holding that the expert's “failure to
needed to ensure that the courtroom door remains closed              consider these other factors renders her opinion unreliable”).
to junk science while admitting reliable expert testimony
that will assist the trier of fact.” Amorgianos, 303 F.3d at         Moreover, both the Undated Opinion and the September 10,
267. The court's “focus ... must be solely on principles and         2015 Opinion consist of a litany of strategic decisions made
methodology, not on the conclusions that they generate.”             by Defendant without tying those decisions to the applicable
Daubert, 509 U.S. at 595.                                            law. The court thus has no means of determining whether
                                                                     Attorney O'Toole applied the correct standard of care under
Defendant contends Attorney O'Toole’s opinions are                   Vermont law in reaching his opinions. Because Attorney
inadmissible because they are unreliable. Expert testimony in        O'Toole has never practiced in Vermont and is not licensed in
a legal malpractice action “does not lend itself to the scientific   this jurisdiction, and because neither the Undated Opinion nor
and technical concerns expressed by Daubert.” Tokio Marine           the September 10, 2015 Opinion disclose any legal research,
& Nichido Fire Ins. Co. v. Calabrese, 2011 WL 5976076,               the court cannot assume he consulted Vermont law prior to
at *12 (E.D.N.Y. Nov. 28, 2011) (quoting LNC Invs. Inc. v.           rendering his opinions. See Gen. Elec. Co. v. Joiner, 522 U.S.
First Fidelity Bank, 2000 WL 1024717, at *4 (S.D.N.Y. July           136, 146 (1997) (observing that “nothing in either Daubert
25, 2000)). Nonetheless, a legal malpractice expert “must do         or the Federal Rules of Evidence requires a district court to
more than aver conclusorily that his experience led to his           admit opinion evidence that is connected to existing data only
opinion[.]” 523 IP LLC v. CureMD.com, 48 F. Supp. 3d 600,            by the ipse dixit of the expert”).
643 (S.D.N.Y. 2014). In addition to Rule 702 and Daubert
and its progeny, the court must consider whether an opinion's         *15 The Supreme Court has “clarified that, whether a
tendency to assist “the trier of fact to understand the evidence     witness's area of expertise was technical, scientific, or more
or to determine a fact in issue[,]” Fed. R. Evid. 702(a), is         generally ‘experience-based,’ Rule 702 requires the district
outweighed by other considerations such as unfair prejudice          court to fulfill the ‘gatekeeping’ function of ‘mak[ing] certain
and the possibility of misleading and confusing the jury. Fed.       that an expert, whether basing testimony upon professional
R. Evid. 403.                                                        studies or personal experience, employs in the courtroom



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the same level of intellectual rigor that characterizes the         the Undated Opinion nor the September 10, 2015 Opinion
practice of an expert in the relevant field.” Nimely v. City of     indicate whether this was the sole evidence on that point or
New York, 414 F.3d 381, 396 (2d Cir. 2005) (citations and           whether it was merely cumulative. Taking into consideration
footnote omitted). In the case of the Undated Opinion and the       the defense verdict in the Dodig malpractice action, evidence
September 10, 2015 Opinion, that intellectual rigor is lacking.     that the Estate's medical malpractice claim lacked merit was
See Sheehan v. Daily Racing Form, Inc., 104 F.3d 940, 942           likely presented to the jury by the defense.
(7th Cir. 1997) (concluding that Daubert “requires the district
judge to satisfy [herself] that the expert is being as careful as    *16 Finally, both the Undated Opinion and the September
he would be in his regular professional work outside his paid       10, 2015 Opinion assert a number of legal conclusions.
litigation consulting”).                                            “Although testimony that embraces an ultimate issue to be
                                                                    decided by the jury is not inadmissible per se, Fed. R. Evid.
The Undated Opinion and the September 10, 2015 Opinion              704, it should not be received if it is based on ‘inadequately
suffer from the additional deficiency that they assert that         explored legal criteria.’ ” Andrews v. Metro N. Commuter
Plaintiff would have prevailed in the Dodig malpractice             R.R. Co., 882 F.2d 705, 709 (2d Cir. 1989) (citation omitted).
action if some or all of Defendant's strategic decisions            Here, both opinions assert opinions regarding causation
had not been made. These statements are conclusory in               without explaining the law and the facts that support those
nature and do not account for countervailing facts. See             conclusions.
Vale v. United States, 673 Fed.Appx. 114, 116 (2d Cir.
2016) (holding that expert testimony is “inadmissible as            In light of the significant analytical gap between Attorney
unreliable where it consists of conclusory and speculative          O'Toole’s opinions and the facts and law upon which they are
opinions” and that the expert's medical malpractice opinions        premised, the failure to sufficiently identify the facts and data
“provided conclusory and speculative statements” regarding          upon which they are based, and the fact that Attorney O'Toole
the defendant's negligence); S.E.C. v. Badian, 822 F. Supp.         rendered his opinions without the benefit of Defendant's
2d 352, 357 (S.D.N.Y. 2011) (excluding expert testimony             complete file or deposition, the Undated Opinion and the
that is “replete with inadmissible generalized statements           September 10, 2015 opinion would not assist the jury in
of law, legal conclusions and conclusory statements”). For          determining whether Defendant committed legal malpractice.
example, neither opinion addresses Dr. Totonelly's provision        See Joiner, 522 U.S. at 146 (“A court may conclude that there
of a prior inconsistent written opinion regarding the cause         is simply too great an analytical gap between the data and the
of Eva Puppolo's death,4 or the fact that Eva Puppolo was           opinion proffered.”); Amorgianos, 303 F.3d at 270 (“In light
elderly and severely underweight at the time of her death.          of the defects in the methodologies employed by plaintiffs’
Choosing an unequivocal cause of death opinion from a               experts and the district court's reasonable determination that
medical examiner such as Dr. Glick over the inconsistent            there was a significant ‘analytical gap’ between the experts’
opinions of Dr. Totonelly, a clinician who presumably neither       opinions and the studies on which they relied in reaching
treated nor examined Eva Puppolo, is not an error so patently       their conclusions, the district court's exclusion of plaintiffs’
obvious that analysis is unnecessary.                               experts’ testimony because it was not grounded in science was
                                                                    well within its discretion.”). When coupled with the Plaintiff's
Similarly, neither opinion addresses the fact that lay witness      noncompliance with Fed. R. Civ. P. 26(a)(2) and Fed. R.
Brianne Dimaggio was investigated by the police for her             Evid. 702(b) in disclosing the opinions despite ample time
alleged role in Eva Puppolo's death. On that basis, the             and opportunity to do so, there are no grounds on which they
credibility of her allegations that the nurses conducted a          should be admitted. For the foregoing reasons, the Undated
lottery regarding the timing of Eva Puppolo's death, that           Opinion and the September 10, 2015 Opinion are hereby
Crescent Manor “killed” her, and that Crescent Manor hired          EXCLUDED.
an outside firm to alter its own medical records are subject
to impeachment. Defendant was entitled to consider those
countervailing facts in deciding whether to call her as a           2. The August 15, 2016 Opinion.
witness.
                                                                    The August 15, 2016 Opinion consists of a narrative
As for Defendant's eliciting Attorney Dodig's opinions              prefaced by a statement that “[h]aving read Mr. Welch's
regarding the merits of the medical malpractice action, neither     deposition transcript and having read the transcript of



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telephonic conversations pertaining to this matter, I provide           overdose-she felt her expert was “more definitive,” “not
the following supplementation of my previous reports on the             wimpy,” and “very staunch in his opinion.” Her attorney
captioned matter.” (Doc. 74, Ex. 7 at 1.) This vague statement          explained that he had made a “plurality of attempts” to
fails to cure the deficits in the Undated Opinion and the               contact plaintiff's preferred expert, but having received
September 10, 2015 Opinion in identifying the facts and data            no response, retained another whom he considered “just
upon which Attorney O'Toole’s opinions are based. See Fed.              as competent” and capable of providing “everything” he
R. Civ. P. 26(a)(2); Fed. R. Evid. 702(b). On that basis alone,         needed for expert testimony.
the August 15, 2016 Opinion is subject to exclusion. See              ...
Amorgianos, 303 F.3d at 267 (“To warrant admissibility ... it
is critical that an expert's analysis be reliable at every step.”).
                                                                        As the trial court correctly stated, “[t]he decision regarding
Although the August 15, 2016 Opinion sets forth substantially           which expert, or how many experts, to retain is a
more facts and legal analysis than the Undated Opinion and              classic strategy decision within the discretion of the
the September 10, 2015 Opinion, it is merely a conduit for              attorney.” ... A disagreement on strategy does not rise to
the opinions of Plaintiff and her counsel. See Gary Price               the level of “good cause” sufficient to support a motion
Studios, Inc. v. Randolph Rose Collection, Inc., 2006 WL                to withdraw. ... The trial court thoroughly examined these
1319543, at *8 (S.D.N.Y. May 11, 2006) (precluding expert               strategy disagreements, and its determination that counsel
testimony that “would in large measure simply parrot the                made reasonable decisions within the purview of his
testimony that [plaintiff] may be expected to give at the trial”);      professional discretion is firmly rooted in the record. The
King–Ind. Forge, Inc. v. Millennium Forge, Inc., 2009 WL                primary conflict was over the way in which the case
3187685, at *2 (S.D. Ind. Sept. 29, 2009) (“When an expert's            would be tried, and plaintiff points to little more than her
proffered opinion merely parrots information provided to him            disagreement with these decisions to support her motion. ...
by a party, that opinion is generally excluded.”). Attorney             The choices at issue were well within the discretion of
O'Toole acknowledged at the court's Daubert hearing that                plaintiff's counsel, and the trial court did not abuse its
he performed none of the legal research presented in the                discretion in denying the motion.
August 15, 2016 Opinion and merely made minor revisions               Puppolo, 2011 VT 119, ¶¶ 9, 17 (internal citations omitted).
to the expert witness opinion prepared for him by Plaintiff's         Rather than squarely address the Vermont Supreme Court's
counsel. Because the August 15, 2016 Opinion is not “the              Puppolo decision, the August 15, 2016 Opinion does not even
product of [Attorney O'Toole’s] independent analysis[,]” it is        mention it.
inadmissible. Arista Records LLC v. Usenet.com, Inc., 608 F.
Supp. 2d 409, 428 (S.D.N.Y. 2009); see also Toole v. Toshin           It is well-established that violations of professional
Co., 2004 WL 2202580, at *3 (W.D.N.Y. Sept. 29, 2004) (“In            responsibility do not per se constitute legal malpractice.
assessing the reliability of an expert's methodology, the court       See, e.g., Davis v. Findley, 422 S.E.2d 859, 860 (Ga. 1992)
should also consider whether the expert's opinion emanates            (collecting cases and holding that an alleged violation of the
from his own independent research[.]”).                               Code of Professional Responsibility, “standing alone, cannot
                                                                      serve as a legal basis” for a legal malpractice action) (internal
 *17 Attorney O'Toole’s August 15, 2016 Opinion is                    quotation marks omitted) (emphasis in original). Moreover,
inadmissible for the further reason that it is based on an            even if Defendant had been truthful with Plaintiff and the
erroneous assumption that dishonesty to a court or to a client,       trial court, the August 15, 2016 Opinion fails to adequately
a lack of good faith, or a breach of promise to call a witness        explain why this would have produced a favorable outcome
or present evidence, are sufficient to sustain a claim of legal       for the Estate. In other words, had Defendant been honest
malpractice under Vermont law. The Vermont Supreme Court              in explaining to both Plaintiff and the trial court why he
has expressly held that the failure to call Dr. Totonelly was         chose not to call certain witnesses, use certain textbooks and
a “strategy disagreement” for which Plaintiff's wishes must           treatises, or ask certain questions, it is not clear how this
give way to her attorney's exercise of professional judgment:         would have produced a different result. The jurors in the
                                                                      Dodig malpractice action were not privy to the reasons for his
  She also complained of her attorney's choice of expert              strategic decisions, nor should they have been.
  witness. While plaintiff conceded that both her preferred
  expert and the expert her attorney eventually hired came to         Finally, the August 15, 2016 Opinion is inadmissible because
  the same conclusion-that her aunt had died of a Fentanyl            it purports to instruct the jury as to the relevant law and


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the conclusions it must reach regarding the credibility of           Because of this risk, the judge in weighing possible prejudice
witnesses and the persuasiveness of their testimony. “ ‘The          against probative force under Rule 403 ... exercises more
problem with testimony containing a legal conclusion is in           control over experts than over lay witnesses.” Daubert, 509
conveying the witness’ unexpressed, and perhaps erroneous,           U.S. at 595 (internal quotation marks omitted).
legal standards to the jury.’ ” Andrews, 882 F.2d at 709
(quoting Torres v. Cty. of Oakland, 758 F.2d 147, 150 (6th Cir.      In this case, when the inadmissible parts of the August
1985)). As the Second Circuit has explained:                         15, 2016 Opinion are excluded, there is little left. In tacit
                                                                     recognition of this fact, Plaintiff's counsel asked Attorney
    *18 Generally, the use of expert testimony is not                O'Toole in an email whether they should “bit[e] the bullet”
   permitted if it will “usurp either the role of the trial judge    because they could not show legal malpractice. (Doc. 74,
   in instructing the jury as to the applicable law or the role of   Ex. L.) When coupled with evidence that Attorney O'Toole
   the jury in applying that law to the facts before it.” When       performed no independent legal research in rendering the
   an expert undertakes to tell the jury what result to reach,       August 15, 2016 Opinion, to nonetheless allow him to testily
   this does not aid the jury in making a decision, but rather       as an expert witness before a jury would be a derogation of
   attempts to substitute the expert's judgment for the jury's.      the court's gatekeeping function.
   When this occurs, the expert acts outside of his limited role
   of providing the groundwork in the form of an opinion to          Because the August 15, 2016 Opinion is untimely and
   enable the jury to make its own informed determination. In        inadmissible under Fed. R. Evid. 702, Daubert and its
   evaluating the admissibility of expert testimony, this Court      progeny, and Fed. R. Evid. 403, Defendant's motion to
   requires the exclusion of testimony which states a legal          exclude Attorney O'Toole opinions is GRANTED.
   conclusion.
United States v. Duncan, 42 F.3d 97, 101 (2d Cir. 1994)
(citations omitted); see also Nimely, 414 F.3d at 398 (“Thus,           D. Whether Defendant Is Entitled to Summary
this court, echoed by our sister circuits, has consistently held        Judgment as to Plaintiff's Legal Malpractice Claim
that expert opinions that constitute evaluations of witness             (Count I).
credibility, even when such evaluations are rooted in scientific     Defendant contends that, in the absence of admissible expert
or technical expertise, are inadmissible under Rule 702.”).          testimony, Plaintiff's legal malpractice claim cannot survive
                                                                     summary judgment. Summary judgment is appropriate “if
While vigorous cross-examination, introduction of opposing           the movant shows that there is no genuine dispute as to any
views, and cautionary instructions from the judge may                material fact and the movant is entitled to judgment as a matter
address some of the risks posed by the August 15, 2016               of law.” Fed. R. Civ. P. 56(a).
Opinion, the Second Circuit has recognized that even if a
court reminds a jury that a lawyer's views of the law are “           *19 In federal court, where jurisdiction is premised upon
‘not binding[,]’ ” “such a charge cannot always cure the trial       diversity of citizenship, the court applies the choice-of-
court's error in allowing inadmissible evidence.” Fiataruolo         law rules of the forum state. See Klaxon Co. v. Stentor
v. United States, 8 F.3d 930, 942 (2d Cir. 1993). In such            Elec. Mfg. Co., 313 U.S. 487, 496 (1941). Vermont applies
circumstances, “allowing attorneys to testify to matters of          “the Restatement (Second) of Conflicts for choice-of-law
law would be harmful to the jury.” Askanase v. Fatjo, 130            questions in both tort and contract cases.” McKinnon v.
F.3d 657, 673 (5th Cir. 1997). “First, the jury would be very        F.H. Morgan & Co., 750 A.2d 1026, 1028 (Vt. 2000).
susceptible to adopting the expert's conclusion rather [than]        This approach chooses the substantive law of the state that
making its own decision. There is a certain mystique about           “has the most significant relationship to the occurrence
the word ‘expert’ and once the jury hears of the attorney's          and the parties.” Amiot v. Ames, 693 A.2d 675, 677 (Vt.
experience and expertise, it might think the witness even more       1997). Because Plaintiff's claims arise out of Defendant's
reliable than the judge.’ ” Id. “Second, if an expert witness        representation of Plaintiff in Vermont, it is the state with the
were allowed to testify to legal questions, each party would         most significant relationship to the occurrence and the parties
find an expert who would state the law in the light most             and thus Vermont law governs Plaintiff's legal malpractice
favorable to its position. Such differing opinions as to what        claim.
the law is would only confuse the jury.” Id. As the Daubert
Court observed: “Expert evidence can be both powerful and            Under Vermont law:
quite misleading because of the difficulty in evaluating it.


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                                                                    that even a lay person could conclude that Attorney Dodig
   [a] lawsuit against an attorney for negligence generally
   requires: (1) the existence of an attorney-client relationship   failed to timely file a meritorious lawsuit. See Corey v.
   which establishes a duty of care; (2) the negligence of          Norman, Hanson & DeTroy, 742 A.2d 933, 940 (Me. 1999)
   the attorney measured by his or her failure to perform in        (stating that in the absence of expert testimony, “the factfinder
   accordance with established standards of skill and care; and     would be compelled to speculate as to proximate causation”).
   (3) that the negligence was the proximate cause of harm to       In turn, “from the perspective of a lay juror, the causal
   plaintiff.                                                       link between the [P]laintiff's allegations of negligence” by
Hedges v. Durrance, 2003 VT 63, ¶ 6, 175 Vt. 588, 589, 834          Defendant and the adverse outcome in the Dodig malpractice
A.2d 1, 3. “If the alleged negligent conduct is a matter of         action “is far from obvious.” Bozelko v. Papastavros, 147
judgment unique to that profession, the above elements must         A.3d 1023, 1030 (Conn. 2016). Expert witness testimony is
be established by expert testimony to assist the trier of fact      thus essential to Plaintiff's legal malpractice claim against
in determining negligence.” Estate of Fleming v. Nicholson,         Defendant. See Estate of Fleming, 724 A.2d at 1025. She has
724 A.2d 1026, 1028 (Vt. 1998). “The only exception to              not, and cannot, establish a breach of the duty of care and
this requirement is where the Tack of care is so apparent           causation without it.
that only common knowledge and experience are needed to
comprehend it.’ ” Clayton v. Unsworth, 2010 VT 84, ¶ 17, 188         *20 Because Plaintiff has failed to establish the essential
                                                                    elements of legal malpractice under Vermont law, Defendant's
Vt. 432, 439, 8 A.3d 1066, 1072 (quoting Estate of Fleming,
                                                                    motion for partial summary judgment as to that claim is
724 A.2d at 1028). An attorney's strategic decisions, including
                                                                    GRANTED and Plaintiff's legal malpractice claim (Count I)
whether to call particular witnesses and introduce certain
documentary evidence, are “matter[s] of judgment unique to”         is hereby DISMISSED. See Celotex Corp. v. Catrett, 477 U.S.
                                                                    317, 322 (1986) (stating that the entry of summary judgment
the legal profession. Estate of Fleming, 724 A.2d at 1028. As
                                                                    is mandated “against a party who fails to make a showing
the Supreme Court of Texas has explained: “[d]ecisions of
                                                                    sufficient to establish the existence of an element essential to
which witnesses to call, what testimony to obtain or when to
                                                                    that party's case, and on which that party will bear the burden
cross-examine almost invariably are matters of judgment. As
                                                                    of proof at trial”).
such, the wisdom and consequences of these kinds of tactical
choices made during litigation are generally matters beyond
the ken of most jurors.” Alexander v. Turtur & Assocs.,
Inc., 146 S.W.3d 113, 119 (Tex. 2004) (citation and internal        CONCLUSION
quotation marks omitted).
                                                                    For the foregoing reasons, Plaintiff's motion to admit audio
In light of the Vermont Supreme Court's conclusion that             recordings is hereby DENIED. (Doc. 76.) Defendant's motion
Defendant's selection of the witnesses and evidence to              to dismiss the action is DENIED. The court EXCLUDES the
present at trial in the Dodig malpractice action constituted        opinions of Attorney O'Toole in their entirety and GRANTS
“reasonable decisions within the purview of his professional        IN PART AND DENIES IN PART Defendant's motion for
discretion[,]” Puppolo, 2011 VT 119, ¶ 17, Plaintiff carries a      expenses. Plaintiff is ORDERED to pay Defendant the sum
heavy burden to establish that they nonetheless constitute a        of $500.00, together with any photocopying costs incurred
deviation from the applicable standard of care which caused         by Defendant in producing his file. The court GRANTS
her damages. It is not enough for Plaintiff to claim that           Defendant's motion for partial summary judgment as to
Defendant promised to pursue certain strategies in the Dodig        Plaintiff's legal malpractice claim (Count I) and that count is
malpractice action and failed to do so because Plaintiff            DISMISSED. (Doc. 42.)
cites no Vermont authority for the proposition that a legal
malpractice claim can be brought on that basis.                     SO ORDERED.


Correspondingly, Plaintiff proffers no facts that Eva
                                                                    All Citations
Puppolo's death was so clearly caused by medical malpractice
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Footnotes



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1     Plaintiff alleges that Eva Puppolo executed a Living Will providing that she not be administered opiate analgesics or
      other “drugs that alter mind.” (Doc. 1 at 3, ¶ 19.) Plaintiff contends that her aunt's medication regimen violated those
      express wishes.

2     The testimony Plaintiff expected Dr. Totonelly to provide at trial is reflected in an August 12, 2005 email in which Dr.
      Totonelly opined that “the actual cause of death at the time of arrest is without question the administration of the lethal
      fentanyl dosage administered by nursing staff of” Crescent Manor. (Doc. 74, Ex. 4 at 5.) Defendant points out that
      Plaintiff has produced another version of this email bearing an identical date and time but which contains typographical
      discrepancies that allegedly call into question the document's authenticity. Plaintiff filed an affidavit signed by Dr. Totonelly
      on January 3, 2017 wherein Dr. Totonelly explains how he sent two different emails seconds apart.

3     See In re Fosamax Prods. Liab. Litig., 707 F.3d 189, 193–94 (2d Cir. 2013) (holding that the district court was “entitled
      to disregard [expert's] new testimony ... where the relevant contradictions between the first and second depositions are
      unequivocal and inescapable, unexplained, arose after the motion for summary judgment was filed, and are central to
      the claim at issue”); Carbotrade, S.p.A. v. Bureau Veritas, 1999 WL 714126, at *15 (S.D.N.Y. Sept. 14, 1999) (concluding
      an expert's “prior inconsistent statements undercut the credibility of his recently formulated opinion at trial”).

4     Contrary to his August 12, 2005 opinion that Eva Puppolo's death was caused by a lethal dose of fentanyl, according to
      a June 1, 2005 disclosure, Dr. Totonelly opined as follows:

         [B]y providing Ms. Puppolo with Glyburide instead of Enalapril Ms. Puppolo was caused to go into a hypoglycemic
         shock. He will testify that attempts to treat this resulted in a fluid overload causing congestive heart failure and
         considerable shock and damage to her kidneys. This precipitated a downward course for Ms. Puppolo and hastened
         the progression of her underlying cardiac conditions.

      (Doc. 74, Ex. G at 1.)



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Gary Price Studios, Inc. v. Randolph Rose Collection, Inc., Not Reported in F.Supp.2d...
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                                                                     Specifically, Plaintiffs allege that Defendants created and
                   2006 WL 1319543                                   marketed four sculptures (one for each claim) that infringe
      Only the Westlaw citation is currently available.              on four copyrighted bronze sculptures depicting children
               United States District Court,                         at play created by Plaintiff Gary Price (“Price”). See
                     S.D. New York.                                  2005 WL 1924733, at *1. Price had granted to Plaintiff
                                                                     Gary Price Studios, Inc. (“GPS”) the exclusive license to
                                                                     sell limited edition reproductions of each of these four
             GARY PRICE STUDIOS,
                                                                     sculptures. Plaintiffs filed their complaint alleging copyright
          INC., and Gary Price, Plaintiffs,                          infringement on February 11, 2003. On or about February
                         v.                                          30, 2003, Defendants consented to a preliminary injunction
       RANDOLPH ROSE COLLECTION,                                     and ceased and desisted their creation and marketing of the
                                                                     four sculptures in question. The trial will determine whether
     INC., Randolph Rose, Ellen Rose, Jordan                         Defendants infringed Plaintiff Price's copyrighted works, and,
      Rose, Far Eastern Antiques & Arts, Inc.,                       if so, the amount of monetary damages to which Plaintiffs are
      Stephen Gano, and John and Jane Does,                          entitled.

       Doe Entities 1 Through 5, Defendants.
                                                                     B. The Proffered Expert Opinion Testimony
                     No. 03 Civ. 969(CSH).                           Plaintiffs' expert witness on damages is Michael Zumwalt.
                               |                                     Currently he owns and operates an entity called “Michael
                         May 11, 2006.                               Zumwalt Econometrics.” Zumwalt calculated the amount of
                                                                     Plaintiffs' damages in a 19-page report with exhibits dated
                                                                     July 29, 2004. Counsel for Defendants deposed him on
MEMORANDUM OPINION AND ORDER                                         October 22, 2004.

HAIGHT, Senior J.                                                    At his deposition Zumwalt defined “econometrics” as “the

 *1 Defendants move in limine to exclude the proffered               use of mathematics to compute an economic result.”1
expert witness opinion testimony of Michael Zumwalt                  Expanding on that concept, Zumwalt testified:
relating to the quantum of Plaintiffs' damages. Plaintiffs
contend that the Court should allow Zumwalt to testify,
                                                                          Q. Could you explain that a little bit further?
leaving Defendants to pursue by cross-examination any
perceived shortcomings in his testimony.                                       A. It's basically applying mathematical principles
                                                                               to economic results. The formulas that are used and
                                                                               applications of mathematical principles to say how
I. BACKGROUND                                                                  did this event affect this business or what are the
                                                                               economic impacts of this event.
A. Procedural History
This is an action for copyright infringement. The background                   Q. How long has the discipline of econometrics
facts are fully set forth in the Court's prior opinion reported at             been around?
2005 WL 1924733 (S.D.N.Y. Aug.9, 2005), familiarity with
                                                                               A. The discipline of econometrics, in essence,
which is assumed. For present purposes, it is sufficient to say
                                                                               has always been around in that it's merely the
that in that opinion, the Court granted Defendants' motion for
                                                                               application of someone trying to compute the
partial summary judgment dismissing Plaintiffs' Fifth Claim
                                                                               economic events of a certain-or economic impacts
under § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), for
                                                                               of certain events. So as far back as there's been
unfair competition. Plaintiffs' first four claims remain for trial
                                                                               commerce there's been someone practicing it.
before a jury, which will begin on May 22, 2006. Those claims
are for copyright infringement under the Copyright Act of                       *2 Q. I'm not talking about the fact when it could
1976, 17 U.S.C. §§ 101 et seq.                                                 be applied, but when has it been in action as an
                                                                               application?


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                                                                   Nor has Zumwalt had any personal experience in business
          A. In the terms of a practice the discipline has         practices or methodology relating to the creation, marketing,
          existed since commerce has existed.                      or licensing of sculptures or any other work of creative art.

          Q. Was there a person who first introduced
                                                                   Zumwalt introduces his written report by saying:
          econometrics as an approach to economics?
                                                                        The purpose of this Report is to provide a computation
          A. Well, in that the primary definition
                                                                        for each category of damages arising from the
          of econometrics is the application of math,
                                                                        infringement of certain sculptures by the Defendants and
          mathematical principles to business results, it
                                                                        to make available the documents or other evidentiary
          would be hard to go back to find that person.
                                                                        material on which such computation is based, including
          Q. So there's no one that the academic communities            materials bearing on the nature and extent of injuries
          attribute econometrics as having been the first               suffered.6
          person who is the forefather or forewoman-
                                                                   As will be developed in greater detail infra, Zumwalt's
          A. No.                                                   principal opinion on damages is that Gary Price's awareness
                                                                   of the Defendants' infringing conduct caused Price to create
          Q. -to use this econometric theory?
                                                                   fewer new sculptures of his own, with consequent lost sales.
          A. Again, I'm not an academician. So, in essence,        Zumwalt offers a partial description of the methodology he
          I have not studied how they would attribute or to        used in providing his damages computations:
        whom they would attribute the discipline.2
                                                                         *3 In preparing this Report, I have used practices and
Zumwalt describes his background and experience as follows:
                                                                        methods that are generally accepted within the business
  During the past 26 years, I have served as a practicing               community for evaluating similar events. Namely and
  Certified Public Accountant, a Chief Financial Officer                principally, I have used past financial performances and
  for business entities, and a Chief Executive Officer or               actual results in key business components as the basis
  Managing Director directly responsible for the operations             for evaluating the financial impact of the infringement.
  and financial matters for business entities or units. In these        The process of evaluating economic events based
  roles, it has been my responsibility to use established               upon past economic reality rests in the very roots
  business practices and methodology in developing,                     of business evaluations whether it relates to simple
  analyzing, and critically evaluating revenue forecasts,               or very sophisticated financial analyses and whether
  related costs, financial projections, budgets, new product            the analyses occur in academia or in actual business
  line development, and the present value of future cash                practice.7
  flows or investments.3
                                                                   I have said that in the language just quoted Zumwalt gives
The “business entities or units” which employed Zumwalt            only a “partial description” of his methodology because the
since he graduated from college in 1978 consisted of an            crucial elements in that methodology are not revealed until
accounting firm, an oil drilling company, two real estate          the next page of the report, under the caption “Assumptions.”
management companies, a company providing services to              Zumwalt there says:
remove contaminants from waste waters, another company
                                                                        In the preparation of this Report, I have relied upon
providing services relating to radioactive contamination at
                                                                        the accuracy of the documents provided and testimony
federal sites, and presently (together with his personal
                                                                        given. Further, I have relied upon the assumption that
consulting firm) a company that developed a software product
                                                                        the decline in Gary Price's creative production of new
whose function is environmental compliance and safety.4                 works resulted from the time and energy that the
Prior to the case at bar, Zumwalt had never authored an                 infringement diverted from the creative focus of the artist
opinion involving an assessment of damages that includes                and his studio and that the infringement diminished the
copyright infringement issues, or testified in a case involving         Plaintiffs' view of the profitability of new works, thereby
copyright issues, or been deposed in a copyright case.5                 reducing the incentive to create new works.8



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Zumwalt's testimony during his deposition indicates that              A. What he is saying in my conversations with Gary
these assumptions of diminished creative production-                  Price, it's not that there is a cohesive separation between
the depressing effect, one might say, that Defendants'                the infringement and it affected the value or the division
infringements had upon Gary Price's artistic Muse-were to             in a divided sense. Indeed it is, gosh, this impacted me
a material degree elicited from Price and Ken Donnelly, his           and in impacting me I thought of all these factors. And so
key employee, by questions put to them by Zumwalt himself.            I was not meaning to isolate it into two separate events,
Thus, during his deposition counsel for Defendants asked              but really the impact that it had on him. I viewed that in
Zumwalt about a written schedule tending to show that Price           terms of how could I see that that impact did occur.
created on average a larger number of sculptures during years
                                                                      Q. And how do you see that that impact occurred; how
before he became aware of Defendants' infringements than he
                                                                      does it manifest itself?
did in subsequent years. This testimony then ensued:
                                                                      A. By the reduction in his creative output.
     Q. On the documents identified as scheduled work
     created and planned by Gary Price, what was the purpose          Q. And how do you know there's been a reduction, in
     of this report or rather what was the purpose of this            fact?
     schedule?
                                                                      A. What I chose to measure was works that he had
     A. The schedule was prepared responding to a question            copyrighted in the ten years prior to the infringement
     that I posed to the plaintiffs based upon the diminished         and after the infringement, after he became aware of the
     creation of works. If you look at the works that you did
                                                                      infringement.9
     create, what seems to be missing or what would you-do
     you now think you would have created if your energy
                                                                 Using this methodology based upon these assumptions,
     and creative abilities had not been disrupted by this
                                                                 Zumwalt's report sets forth two “Approaches” (Zumwalt's
     infringement....
                                                                 term) to a calculation of Plaintiffs' monetary damages caused
     Q. So how do you isolate the infringement in the context    by Defendants' infringement of the four sculptures created
     of all the potential things that could divert somebody's    by Gary Price. “Approach One” is captioned “Damaged
     creative focus; how do you isolate the infringement and     Creative Production.”10 Zumwalt calculates “Total Damages
     then isolate that?                                          Under Approach One” to be $1,565,351.11 Consistent with
                                                                 Zumwalt's deposition testimony quoted supra, the proposition
     A. Because you're talking about one human being. What
                                                                 upon which this entire “approach” depends is stated in the
     I did is I inquired whether, based on his representation
                                                                 report: “This calculation reflects that the Plaintiffs' creative
     that this was what interrupted his creative focus, I
                                                                 production has fallen by an average of 6.2 new works per
     inquired whether there were other things that also
                                                                 year for the three years following the infringement, or by 18.6
     significantly affected his creative focus.
                                                                 works in total. See Exhibit B to this Report for the detailed
      *4 Q. So you relied on his representation? You did         calculations.”12
     no independent investigation to determine whether there
     were other factors that did affect his creative focus?      Exhibit B to Zumwalt's report is worth describing in some
                                                                 detail. Under the title “Before Infringement,” a column
     A. I relied upon his representation which was supported     captioned “Number of Created Works” gives the number of
     by Ken Donnelly.                                            works Gary Price created during each of ten years, as follows:
                                                                 1992, 10; 1993, 23; 1994, 24; 1995, 21; 1996, 40; 1997, 9;
     Q. And Ken Donnelly is an employee of Gary Price?
                                                                 1998, 12; 1999, 8; 2000, 4; and 2001, 21. The “Average Works
     A. He is an employee of Gary Price....                      Created” during this ten-year period is computed to be “17.2
                                                                 per year.” Exhibit B then lists the “Number of Created Works”
     Q. When you're talking about the diminished value from      during each of three years “After Infringement,” as follows:
     the plaintiff's perspective of his works, how can that be   2002, 16; 2003, 9; and 2004, 8. The “Average Works Created”
     attributed to some act that the defendant has done?         during this three-year period is computed to be “11.00 per
                                                                 year.” Comparing the two averages, in Exhibit B Zumwalt


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arrives at a computation of “Average Works Lost” of 6.20 per      four infringed sculptures in suit, they yield a total “Value of
year for three years, resulting in a computation of “Works Lost   Unpaid License Fee” of $490,00. To that figure Zumwalt adds
2002-2004” of “18.6 for 3 years.”13                               the same “Infringers' Disgorged Profit” amount of $151,600
                                                                  that he calculated in Approach One, so that the damages
 *5 Zumwalt's calculation of $1,565,351 in damages                calculated under Approach Two total $641,500.19
for Approach One-Damaged Creative Production has two
components: $1,288,143 as “Damages Caused to Creative             In Zumwalt's view, Approach One, based upon the
Production” and $277,208 as “Damages from Lost Sales              “Damaged Creative Production” concept, “is a more complete
from Infringement.” As an “Alternative to Approach One            assessment of the true impact actually caused by the
Damages,” Zumwalt then arrives at a two-component total of        infringement ...”20 Defendants' in limine motion poses the
            14
$1,439,743. The first component is the same. The second           question of whether any of Zumwalt's opinions are admissible
component is reduced to $151,600. Zumwalt describes that          in evidence.
component as “Infringers' Disgorged Profit,” an alternative
“whereby the Infringers are required to merely disgorge
themselves of profits realized from their sale of the infringed
                                                                  II. DISCUSSION
works,” which Zumwalt calculated “by multiplying the works
that the Infringers sold by their catalog prices.”15              A. Applicable Law
                                                                   *6 The trial court has wide discretion in evidentiary rulings
The particular dollar figures that appear in Zumwalt's            on expert testimony. Raskin v. Wyatt Co., 125 F.3d 55, 66
“Damaged Creative Production” approach to Plaintiffs'             (2d Cir.1997). The standard for reversing a decision to admit
infringement-caused losses are all based upon the asserted        or exclude expert testimony is abuse of discretion. Fashion
loss of 18.6 works which Gary Price did not create during         Boutique of Short Hills, Inc. v. Fendi USA, Inc., 314 F.3d 48,
the post-infringement three years, as previously discussed.       59-60 (2d Cir.2002).
Zumwalt turned these lost works into lost dollars by
examining income statements and cost figures, derived             A trial judge's discretion in admitting or excluding proffered
principally from the 2003 financial statements of Plaintiff       expert testimony is informed by the Federal Rules of
Gary Price Studios, Inc. and that company's corporate income      Evidence and appellate case law. The Second Circuit
tax returns for the preceding three years.                        emphasizes the importance of the first of these two sources.
                                                                  “The admissibility of expert testimony in the federal courts
While the calculations appearing in Zumwalt's “Damaged            is governed principally by Rule 702 of the Federal Rules of
Creative Production” approach to the damages suffered by          Evidence.” Nimely v. City of New York, 414 F.3d 81, 395 (2d
Plaintiffs as the result of Defendants' infringements give rise   Cir.2005). Rule 702 provides:
to a number of questions, in the view I take of the case I need
not consider them all.                                                 If scientific, technical, or other specialized knowledge
                                                                       will assist the trier of fact to understand the evidence
Zumwalt's “Approach Two” to Plaintiffs' damages is                     or to determine a fact in issue, a witness qualified as
                                                                       an expert by knowledge, skill, experience, training, or
characterized as “Lost Licensing Fee.”16 In this approach,
                                                                       education, may testify thereto in the form of an opinion
Zumwalt undertakes to calculate “the license fee that the
                                                                       or otherwise, if (1) the evidence is based upon sufficient
Infringer did not pay for the use of the infringed works
                                                                       facts or data, (2) the testimony is the product of reliable
as well as the disgorgement of the Infringers' profits from
                                                                       principles and methods, and (3) the witness has applied
the infringement.”17 As noted supra, Zumwalt's business                the principles and methods reliably to the facts of the
experience did not include any familiarity with the creation,          case.
marketing or licensing of sculptures such as those created by     The leading Supreme Court decisions on the question are
Gary Price. Not surprisingly, therefore, in order to prepare      Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S.
his report Zumwalt asked Price “to provide an estimate for        579, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993) and Kumho
license fees that he believes to be reasonable based upon his     Tire Co. v. Carmichael, 526 U.S. 137, 119 S.Ct. 1167, 143
experience in marketing his own works and his review of their     L.Ed.2d 238 (1999). The progeny of Daubert and Kumho
licensing values.”18 Zumwalt accepted Price's figures. For the    in the lower federal courts are legion. The two most recent


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reported Second Circuit cases are Nimely and Ruggiero v.         art (pace Wordsworth), it is immediately apparent that the
Warner-Lambert Company, 424 F.3d 249 (2d Cir.2005).              methodology employed by Zumwalt in this case is unreliable.

In Nimely the Second Circuit acknowledged the “well-             Of course, Price can testify at trial that he was distressed
accepted principle that Rule 702 embodies a liberal standard     and distracted by Defendants' conduct and that this mental
of admissibility,” noting Daubert' s holding that the more       anguish caused a decrease in his creative production of
restrictive commercial business-factor analysis, of the sort     sculptures. The jury will make of that testimony what it
falling within Zumwalt's experience, is problematic. While       will. But Price's availability to testify in aid of his damages
the transcript of Price's deposition is not a part of the        claim is not determinative of the admissibility of Zumwalt's
record on this motion, I gather from Zumwalt's report and        opinions to support the claim. We have seen that Zumwalt's
deposition that Price claims his awareness of Defendants'        methodology purports to calculate the number of Price's post-
alleged infringements so distracted and diverted him that        infringement “lost works” and the consequent lost income
Price's creative focus and energies were diminished and the      by comparing the average number of Price's artistic creations
number of his created sculptures were consequently reduced.      during the ten pre-infringement years with the lower average
                                                                 production rate during the three post-infringement years,
Such a damages theory leads inevitably to the highly             which yields total “lost works” of 18.6 during those later three
subjective and personal subtleties and mysteries of artistic     years, a figure upon which Zumwalt bases his calculation of
creation. In Nimely the Second Circuit, paraphrasing Daubert,    Plaintiffs' economic loss. I cannot accept this yearly averaging
said that a trial judge evaluating the admissibility of expert   method of calculating the number of “lost works” ascribable
opinions should consider whether the proffered “theory or        to Defendants' conduct (i.e., works that Price would have
technique had been and could be tested.” 414 F.3d at 396.        created but for that conduct). One need go no further than to
In the case at bar, there is no indication that the theory       observe that during the first five years of the ten-year pre-
that a creative artist's angst over perceived infringement of    infringement period, Gary Price created 118 sculptures or an
his works may lead to a reliably measurable suppression          average of 23.6 works per year, while during the last five
of his Muse has ever been tested; and there is ample             years of those pre-infringement years Price created 54 works
reason to believe that such a test could ever be made.           for an annual average of 10.8 works. Comparing these two
William Wordsworth, the 19th-century English Romantic            averages leads to a computation of “Average Fewer Works”
poet, described the creative process (appropriately enough in    of 12.8 per year during the last five years of the ten-year pre-
a sonnet):                                                       infringement: a differential percentage twice the 6.2 average
                                                                 of “Works Lost” Zumwalt calculated when he compared
      *7 High is our calling, friend! Creative Art (Whether      Price's ten-year pre-infringement creation average with the
     the instrument of words she use, Or pencil pregnant with    three-year post infringement period, and upon which he bases
     ethereal hues,) Demands the service of a mind and heart,    all his damages calculations. The difficulty on admissibility,
     Though sensitive, yet, in their weakest part, Heroically    of course, is that Defendants had not infringed anything
     fashioned.21                                                during those first ten years and Zumwalt's methodology does
                                                                 not account for the greater number of fewer works (stay with
The services of the sensitive mind and heart demanded            me, reader) during those pre-infringement years. The record
by Creative Art are subject to inexplicable obstacles.           on this motion does not reveal the cause for this dramatic
For example, why the American novelist J.D. Salinger's           falling off of Price's average annual creation rate before any
“instrument of words” has been silent for decades following      infringement occurred.22 Nothing in Zumwalt's methodology
his publication of Catcher in the Rye and several shorter        or report explains it. Therefore I conclude that “there is
works is one of the literary mysteries of the age. In my view,   simply too great an analytical gap between the data and the
the average-per-year productivity loss theory advanced by        opinion proffered,” which is to say, Zumwalt's methodology
Zumwalt cannot be tested within the context of the mysterious    is “simply inadequate to support the conclusions reached.”
ebb and flow of an artist's creative powers.                     Nimely, 414 F.3d at 396. In that circumstance, “Daubert and
                                                                 Rule 702 mandate the exclusion of the unreliable testimony.”
But even if I accept that a commercial business loss             Id. at 396-97.
analysis has some sort of utility in the world of creative




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                                                                  no more than impale Plaintiffs upon the remaining prong
 *8 I reject Plaintiffs' argument, frequently made by
                                                                  of expert testimony inadmissibility: the requirement that the
proponents of expert testimony, that any imperfections
                                                                  expert's testimony would “assist the trier of the fact,” that is,
go to weight, not admissibility, and are for the jury to
                                                                  the jury. Zumwalt's report and deposition make it plain that he
evaluate following cross-examination. If I were to accept
                                                                  assumed the correctness of Plaintiffs' statements on these core
that argument in this case, I would be required to beat my
                                                                  questions of fact uncritically and without subjecting them
gatekeeper's sword into a ploughshare. See Ruggiero, 424
                                                                  to any inquiry or corroboration, from other sources or his
F.3d at 255 (in a case where trial judge properly rules that an
                                                                  own experience (he has none). In consequence, Zumwalt's
expert's opinion is admissible, “any remaining objection to the
                                                                  proffered opinions would in large measure simply parrot
expert's credentials or methodology was for the consideration
                                                                  the testimony that Gary Price may be expected to give at
of the jury,” but Daubert and Rule 702 mandate exclusion
                                                                  the trial. That would be an unacceptable usurpation by an
if expert's methodology or studies are inadequate to support
                                                                  expert witness of the role of the jury in finding the facts
the conclusions reached, which the Second Circuit held in
                                                                  based upon the testimony of a party. Zumwalt's damages
Ruggiero ).
                                                                  calculations also usurp the role of the trial court in instructing
                                                                  the jury on the measures of damages recoverable for copyright
Other problems abound with respect to Zumwalt's
                                                                  infringement. In short, the jury is capable without assistance
qualifications to express these opinions and the opinions'
                                                                  from Zumwalt to determine Defendants' conduct served to
reliability. Zumwalt is qualified to express an opinion on
                                                                  diminish Price's creative output, and, if it finds such effect
commercial business loss calculations and accounting, but
                                                                  occurred, to determine Plaintiffs' resulting economic loss on
not upon the economic consequences of a disturbing external
                                                                  the basis of the fact witnesses available to Plaintiffs and
force upon an artist's creative powers. His opinions have
                                                                  the Court's instructions on the law of damages in copyright
not been submitted to peer review; there appears to be
                                                                  infringement cases.
no prior application of his theories or methodology to
artistic creation (a circumstance that would not surprise
                                                                   *9 The two most recent cases in the Second Circuit, Nimely
William Wordsworth or J.D. Salinger). A psychiatrist or
                                                                  and Ruggiero, applied these gatekeeping criteria and held that
clinical psychologist might be in a position to opine on the
                                                                  the opinions of the experts in question were inadmissible.
effect of Defendants' conduct upon Price creative powers,
                                                                  These cases are fact-intensive and I need not discuss Nimely
but Zumwalt does not have those qualifications. Plaintiffs
are unable to point to any scientific standards governing         and Ruggiero in further detail. It is sufficient to say in this
Zumwalt's application of business-oriented loss calculations      case that, for the foregoing reasons, I conclude that Zumwalt's
to the different world of artistic creation. These are the        proffered expert testimony is inadmissible, and I preclude it
                                                                  in its entirety.
Daubert criteria for admissibility. Zumwalt's opinions do not
satisfy them.
                                                                  It is SO ORDERED.
But plaintiffs may argue that Zumwalt properly accepted as
correct the statements to him by Price and a GPS employee         All Citations
that Price did in fact suffer a creative decline because of
Defendants' infringements and that $60,000 is a reasonable        Not Reported in F.Supp.2d, 2006 WL 1319543
licensing fee for the four sculptures in question. This does


Footnotes
1      Zumwalt Deposition (“Zumwalt Dep.”) Tr. 31-32.

2      Zumwalt Dep. Tr. 32-33. Zumwalt received an undergraduate degree (B.S.) in business administration from Oklahoma
       State University in 1978. He has no other academic degrees. He has qualified as a certified public accountant. Id. Tr.
       17-18.

3      Zumwalt Report (“Zumwalt Rep.”) at 3.

4      Zumwalt Dep. Tr. 21-29.




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5      Id. Tr. 6.

6      Zumwalt Rep. at 3.

7      Zumwalt Rep. at 4.

8      Zumwalt Rep. at 5-6 (emphases added).

9      Zumwalt Dep. Tr. 60-61, 66-69 (emphases added).

10     Zumwalt Rep. at 8.

11     Id. at 14.

12     Id. at 10.

13     During Zumwalt's deposition, reference was made from time to time to “a schedule which reflects 15 works not created.”
       See Zumwalt Dep. Tr. 94. That 15 “lost works” schedule does not appear to be included in the record on this in limine
       motion, and the seeming discrepancy between 15 “lost works” and the 18.6 “lost works” computed in Exhibit B to
       Zumwalt's report, discussed in text, is not explained with any clarity. However, given the view I take of the case this
       discrepancy, if such it be, need not be further pursued.

14     Zumwalt Rep. at 15.

15     Id. at 14.

16     Id. at 16.

17     Id.

18     Id. at 17.

19     Id. at 19.

20     Id. at 16.

21     Wordsworth, Miscellaneous Sonnets, pt. ii, iii

22     A particularly striking comparison may be made between Price's number of created works in 1996(40) and the following
       year, 1997(9). These were both pre-infringement years.



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                                                                 federal court, On-Site filed a cross-claim with its answer. Id.;
                    2021 WL 4487965                              ECF No. 12-2 at PageID.88–90.
      Only the Westlaw citation is currently available.
             United States District Court, E.D.                  Hillman sought summary judgment on Counts I, II and V on
               Michigan, Northern Division.                      December 23, 2020. ECF No. 55 at PageID.1117. On-Site, in
                                                                 turn, filed a cross-motion for summary judgment for its breach
    HILLMAN POWER COMPANY, LLC, Plaintiff,                       of contract counterclaim (due to Hillman's alleged failure
                     v.                                          to pay the entire balance owed and breaching contractual
  ON-SITE EQUIPMENT MAINTENANCE, Defendant.                      warranty terms) and sought a denial of all five counts of
                                                                 Hillman's Complaint. Id. at PageID.1122. On-Site's Motion
                   Case No. 1:19-cv-11009                        to Dismiss Counts II, III, IV and V of Hillman's Complaint
                              |                                  was granted. Id. at PageID.1132. Hillman and On-Site's cross-
                     Signed 10/01/2021                           claims for breach of contract remain because there is a
                                                                 genuine dispute of material fact regarding the inoperability of
Attorneys and Law Firms                                          the valve and uncertainty as to whom breached the contract
                                                                 first. Id. at PageID.1122–23.
Richard T. Hewlett, Salvatore J. Vitale, Jr., Varnum LP, Novi,
MI, for Plaintiff.
                                                                 On June 10, 2020, On-Site moved to exclude one of Hillman's
Kevin J. Kelly, Kevin L. Kula, Victor J. Mastromarco, Jr., The   witnesses from testifying as an opinion witness at trial, Mr.
Mastromarco Firm, Saginaw, MI, for Defendant.                    Talmage, an employee of engineer company MD&A. ECF
                                                                 No. 32 at PageID.284. On-Site contends that Mr. Talmage's
                                                                 testimony should be struck because Hillman violated expert
                                                                 disclosure provisions of Federal Rule of Civil Procedure
       OPINION AND ORDER GRANTING
                                                                 26(a). Id. at PageID.275; Fed. R. Civ. P. 37(c)(1). Second, On-
      DEFENDANT'S MOTION TO STRIKE
                                                                 Site asserts that the witness should be struck from testifying
    PLAINTIFF'S EXPERT TESTIMONY AND
                                                                 as an opinion witness because his testimony does not satisfy
  DENYING PLAINTIFF'S MOTION TO QUASH
                                                                 Federal Rule of Evidence 702. ECF No. 32 at PageID.279–80.
 DEFENDANT'S SUBPOENAS AND DEFENDANT'S
      MOTION FOR PROTECTIVE ORDER
                                                                 As alternate relief, on September 9, 2020, On-Site filed a
THOMAS L. LUDINGTON, United States District Judge                motion for a protective order, seeking to depose Mr. Talmage
                                                                 and Mr. Early (another MD&A employee). ECF No. 46. On-
 *1 Plaintiff, Hillman Power Company, LLC (“Hillman”)            Site noticed their depositions in August 2020 and it seeks to
is a biomass electrical power generating plant located           enforce the depositions. Id. Although requested after the close
in Hillman, Michigan. Hillman's facility utilizes a stoker       of discovery, On-Site claims it could not have deposed the
boiler primarily burning wood products. Defendant, On-Site       witnesses during the discovery period because the witnesses’
Equipment Maintenance LLC, (“On-Site”) is an industrial          identities and the required expert reports were not previously
equipment repair company with its principal place of business    released. Id.
located in Edison, New Jersey. The dispute leading to
this case arises out of On-Site's effort to repair a steam       In response, Hillman filed a motion to quash On-Site's
stop valve for Hillman. Plaintiff, Hillman Power Company,        subpoenas. ECF No. 45. Hillman insists that On-Site had
LCC, (“Hillman”), filed a five count Complaint, including:       proper notice of the witnesses and adequate time to depose
breach of contract (Count I); negligence (Count II); unjust      them during discovery. Id. at PageID.958-59; ECF No. 45-2
enrichment (Count III); fraudulent misrepresentation (Count      at PageID.973. Since the beginning of discovery, Hillman
IV); and negligent misrepresentation (Count V) against           explains MD&A (Mr. Talmage and Mr. Early's employer)
Defendant, On-Site Equipment Maintenance, LCC (“On-              “has been explicitly referenced throughout written responses
Site”). ECF No. 1 at PageID.2. After the case was removed to     to discovery, correspondence, and documents produced in
                                                                 this matter, and Mr. Talmage and Mr. Early specifically


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Hillman Power Company, LLC v. On-Site Equipment Maintenance, Slip Copy (2021)
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were identified in documents produced in November of                            she was from MD&A Turbines. Even
2019.” ECF No. 45 at PageID.958–59. Hillman also points                         when pressed by Defense counsel,
out accurately that the F.R.C.P. 26(a) expert reporting                         Plaintiff's counsel did not reveal the
requirements “only appl[y] to witnesses ‘retained or specially                  name. Plaintiff never produced the
employed to provide expert testimony in the case.’ ” Id.                        expert's qualification or explained
at PageID.960 (citing Liberty Mutual Ins. Co. v. City of                        what his methodology would be at the
Dearborn, 2012 WL 13009107 (E.D. Mich. Apr. 25, 2012)).                         inspection or even his purpose. Finally,
Therefore, Hillman contends that, because its witnesses are                     Plaintiff has never produced an expert
not testifying strictly as experts, F.R.C.P. 26(a)’s requirement                report to date.
to report is inapplicable. Id.

 *2 On-Site's Motion to Strike Plaintiff's Expert Witness will     ECF No. 32 at PageID.280–81 (citation omitted). Because
be granted. Hillman's Motion to Quash On-Site's Subpoena           Hillman did not comply with discovery rules without just
of Hillman's Expert Witnesses and On-Site's Motion for             cause, On-Site contends that Mr. Talmage's expert testimony
Protective Order will be denied.                                   should not be permitted, explaining that “if a party fails to ...
                                                                   identify a witness ..., the party is not allowed to use that ...
                                                                   witness to supply evidence on a motion, at a hearing, or at
                               I.                                  trial.” Fed. R. Civ. P. 37(c)(1); ECF No. 32 at PageID.281.

                                                                   In response, Hillman explains that expert reports only need
                              A.                                   to be filed if the expert was retained for the litigation. ECF
                                                                   No. 35 at PageID.349–50. If the expert “formed their opinions
On-Site asserts that Mr. Talmage should not be permitted
                                                                   at the time of their involvement and not at the request of
to offer opinion testimony at trial because Hillman did not
                                                                   counsel” “[a]n expert will not be considered to have been
abide by the F.R.C.P. 26(a) rules of disclosures. ECF No. 32
                                                                   retained for the purposes of providing expert testimony.”
at PageID.282. Under F.R.C.P. 26(a), a party must provide
                                                                   Id. (citing Fielden v. CSX Transp., Inc., 482 F.3d 866 (6th
witnesses’ names as well as their contact information to all
                                                                   Cir. 2007)); Webastro Thermo & Comfort N. Am., Inc. v.
other parties to a litigation without awaiting a discovery
                                                                   Bestop Inc., 2019 WL 2417070 (E.D. Mich. June 10, 2019).
request. See Fed. R. Civ. P. 26(a)(1)(A)(i)-(iv). In the initial
                                                                   However, Hillman does not address the fact that MD&A
April 30, 2019 Scheduling Order, Plaintiff Hillman was
                                                                   is a company and not an individual expert, nor the fact
required to disclose its expert witnesses to Defendant within
                                                                   that Hillman did not update its expert disclosures to include
three business days of their retention or no later than
                                                                   Mr. Talmage once it identified him as the individual expert.
September 27, 2019. ECF No. 3. The scheduling order was
                                                                   Further, Hillman does not provide any legal authority to
later extended, but the expert disclosure deadline did not
                                                                   support its suggestion that identifying an expert's employer
change. ECF Nos. 13, 22, 29, 38. Discovery ultimately closed
                                                                   but not the individual expert is sufficient to meet the
on May 18, 2020. ECF No. 29.
                                                                   requirements of FRCP 26.

On-Site argues that
                                                                   Under FRCP 26(a), a party is required to “disclose to the other
                                                                   parties the identity of any witness it may use at trial to present
                                                                   evidence.” See Fed. R. Civ. P. 26(a)(2)(A). It also requires a
             Plaintiff was required to disclose the                party to “make its initial disclosures based on the information
             identify of any experts it anticipated                then reasonably available to them” and to confer as soon as
             calling at trial [and while it] supplied              possible so parties can consider the basis of their claims and
             expert disclosures on March 6, 2020,                  defenses. See Fed. R. Civ. P. 26(a)(1)(E), (f)(1)-(2). If a party
             [it] did not, at any point, disclose                  does not follow FRCP 26, then “the party is not allowed to
             the actual name of its expert to the                  use that information or witness ... at a hearing, or at a trial,
             Defendant beyond stating that he or


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unless the failure was substantially justified or is harmless,”   in question is critical to the disposition of the case” and “On-
regardless if the person is a fact witness, expert or both. See   Site's repeated cancellation of the [valve] inspection has been
Fed. R. Civ. P. 37(c)(1).                                         the cause of this delay.” Id.

 *3 Hillman disclosed MD&A as an expert witness in its            To determine if such a failure was justified or is harmless, the
expert disclosures in early March 2020, but not the individual    Sixth Circuit has adopted the five factor Howe v. City of Akron
experts themselves. ECF No. 32 at PageID.274. It also did         test, which evaluates: (1) surprise to the other part(ies); (2)
not identify any legal authority providing that identifying       that party's ability to cure the surprise; (3) the disruption the
an expert's employer, rather than the expert themselves, is       evidence would cause if allowed at trial; (4) the evidence's
sufficient to meet the FRCP 26 disclosure rules. Further, to      importance; and (5) the nondisclosing party's explanation for
the extent that Hillman argues it could not have identified the   failing to disclose the evidence. Howe v. City of Akron, 801
specific individual experts until the June 9, 2020 inspection,    F.3d 718, 748 (6th Cir. 2015). When applying the Howe test, a
Hillman did not update its expert disclosures to list Mr.         court should evaluate the factors individually. See Howe, 801
Talmage's name. Listing the expert's employer, MD&A, as           F.3d at 748–49. Afterwards, the factfinder should balance he
the expert witness was not sufficient to disclose the expert      factors against each other. Id. at 749.
to Defendant. Rule 26 requires an individual's name, address
and telephone number, not just a company name. Fed. R. Civ.       Although On-Site claims surprise, there is evidence that On-
P. 26(a)(1)(A)(i).                                                Site previously learned of Mr. Talmage's identity, despite
                                                                  Hillman's improper and insufficient disclosure. A purchase
                                                                  order from October 2018 lists both Mr. Talmage and Mr.
                                                                  Early as the MD&A professionals who helped repair and
                              B.
                                                                  install the shop valve. ECF No. 45-2 at PageID.973. 1 On-
Since Mr. Talmage's identity should have been disclosed,          Site's counsel was also present during Mr. Talmage's June 9,
Hillman may only qualify him as an expert during trial if         2020 valve inspection and they saw his name on the plant
the failure was “substantially justified or harmless.” Fed. R.    sign-in log. ECF No. 32 at PageID.274. This factor favors
Civ. P. 37(c)(1). On-Site argues that “Defendant does not         Hillman because even though Hillman did not follow protocol
know what Mr. Talmage's conclusions are or even what his          for expert disclosures, On-Site's counsel could have learned
qualifications were to do the inspection [of the valve] in the    the identity of the experts during discovery and in June 2020,
first place. The Defendant is prejudiced by this because it       counsel met Mr. Talmage in person.
will, presumedly, only get these materials on the eve of the
dispositive motion deadline with no time in which to conduct       *4 Second, On-Site may cure the surprise by deposing
expert discovery.” ECF No. 32 at PageID.282. Defendant also       Mr. Talmage, but not without delaying trial. This Court
argues Mr. Talmage's testimony is not reliable and would          determined there is a question of fact about who first breached
disrupt trial because his “expected testimony is based on         the contract. Trial is currently scheduled for October 26,
incorrect facts.” Id. at PageID.282–83.                           2021. Any additional depositions and responsive documents
                                                                  would likely result in a further delay. Third, the evidence
Hillman responds that MD&A's involvement with the valve           itself would not cause a disruption at trial, but as mentioned,
was disclosed in November of 2018 and “On-Site is in              it would likely result in a delay of trial to ensure sufficient
possession of MD&A's daily reports, email correspondence,         time for depositions. Factors two and three favor excluding
purchase orders, and photographs from the time of its work        the expert's testimony.
at the Plaint. On-Site never attempted to depose MD&A
or sought discovery regarding its qualifications.” ECF No.        Fourth, the only issue at trial is the cross-claims for breach
35 at PageID.352–53. Further, it contends “On-Site will           of contract, which focus on the warranty terms and the
have the opportunity to inspect and respond to any report         order of Hillman and On-Site's actions regarding the valve.
both in dispositive motions and cross-examination.” Id. at        The details of how the valve functioned (or did not) is less
PageID.354. The “evidence regarding the state of the Valve        relevant and may indeed be addressed without qualifying the



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                                                                        Defendant's Motion to Quash Subpoenas also seeks to quash
gentlemen under FRE 702. Mr. Talmage's expert testimony is
not essential to the breach of contract inquiry. Fifth, Hillman's       Mr. Early's subpoena. ECF No. 45. As explained, supra, On-
argument that it did not update the expert witness disclosures          Site was aware of Mr. Early's involvement with the valve
once it became aware of Mr. Talmage's involvement in the                earlier in the case. On-Site cannot now, after the close of
inspection because it already listed their employer as the              discovery and dispositive motions were filed depose Mr.
expert does not justify the non-disclosure. If Mr. Talmage is           Early. Plaintiff's motion for protective order will be denied
a percipient witness who is not required to write a report (as          and Defendant's motion to quash subpoena will be denied as
Hillman argues), then Hillman would have been aware of the              moot.
expert's involvement earlier in the case. Thus, it should have
been able to identify any MD&A employees at the time of
its expert disclosures. If Hillman was waiting to see who was                                         II.
involved with the inspection, then Mr. Talmage's participation
would more closely resemble that of retained experts and an             Accordingly, it is ORDERED that the Defendant's Motion
expert report would have likely been required.                          to Strike Plaintiff's Experts, ECF No. 32, is GRANTED. Mr.
                                                                        Talmage may not testify as a retained or percipient expert
On the whole, Hillman has not provided good cause for its               witness at trial.
failure to identify Mr. Talmage as an expert witness. Plaintiff's
Motion to Srike Defendant's expert will be granted. Mr.                 It is further ORDERED that the Plaintiff's Motion to Quash
Talmage will not be allowed to testify at trial in any expert           On-Site's Subpoenas, ECF No. 45, is DENIED AS MOOT.
capacity, as a retained or percipient expert witness.
                                                                        It is further ORDERED that the Defendant's Motion for
Because Mr. Talmage will not be allowed to testify as experts           Protective Order Pertaining to Expert Depositions, ECF No.
at trial, Plaintiff's Motion for Protective Order for Depositions       46, is DENIED.
and Defendant's Motion to Quash Subpoenas will be denied
as moot as to Mr. Talmage.
                                                                        All Citations

In Plaintiff's Motion for Protective Order, it also seeks to            Slip Copy, 2021 WL 4487965
depose Mr. Early, another employee of MD&A. ECF No. 46.




                                                            Footnotes


1       The purchase order itself was included in Plaintiff's motion to quash subpoenas. However, the document is
        part of the discovery referenced by Plaintiff in their response to Defendant's motion to strike, ECF No. 35 at
        PageID.349 (“Perhaps most tellingly, On-Site itself served a subpoena for documents on On-Site, which On-
        Site responded to in March with over 100 documents relating to the work it performed in October of 2018
        at Hillman.”).



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In re Jackson Nat. Life Ins. Co. Premium Litigation, Not Reported in F.Supp.2d (2000)
2000 WL 33654070, 46 Fed.R.Serv.3d 201




     KeyCite Yellow Flag - Negative Treatment
                                                                              MEMORANDUM OPINION AND ORDER AFFIRMING
Declined to Follow by Johnson v. City of Rockford, N.D.Ill., March 27, 2018
                                                                              MAGISTRATE JUDGE'S ORDER PRECLUDING
                     2000 WL 33654070
                                                                              EXPERT WITNESS TESTIMONY
         United States District Court, W.D. Michigan.
                                                                              MCKEAGUE, District J.
             In re JACKSON NATIONAL
            LIFE INSURANCE COMPANY                                             *1 On September 29, 1999, Magistrate Judge Joseph G.
                                                                              Scoville issued an order precluding testimony by plaintiffs'
               PREMIUM LITIGATION                                             expert Philip J. Bieluch. Plaintiffs have appealed the ruling.

                           No. 96–MD–1122.
                                                                              Magistrate Judge Scoville's ruling is premised upon three
                                   |
                                                                              findings. First, he found that plaintiffs violated Fed.R.Civ.P.
                             Feb. 8, 2000.
                                                                              26(a)(2)(B) by providing defendant with an expert witness
Attorneys and Law Firms                                                       report that had not actually been “prepared” by the witness,
                                                                              Philip Bieluch. Second, he found that Mr. Bieluch testified
Feldman, Joel, Sachnoff & Weaver, Ltd., Chicago, IL.                          untruthfully in his deposition concerning the authorship of the
                                                                              language of the report and that plaintiffs' counsel unjustifiably
Hubbard, Stephen L., Hubbard & Biederman, LLP, Dallas,                        impeded defendant's counsel's search for the truth of the
TX.                                                                           matter. Third, he concluded plaintiffs had failed to show their
                                                                              violation of Rule 26(a)(2) was harmless.
Susman, Arthur T., Susman, Buehler & Watkins, Chicago, IL.

Weiss, Melvyn I., Milberg Weiss Bershad Hynes & Lerach,                       The magistrate judge's ruling on a nondispositive matter will
LLP, New York, NY.                                                            be affirmed unless it is shown to be “clearly erroneous or
                                                                              contrary to law.” 28 U.S.C. § 636(b)(1)(A); Fed.R.Civ.P.
Edelman, Daniel A., Edelman & Combs, Chicago, IL.                             72(a). Factual findings are reviewed for clear error, while
                                                                              conclusions of law are reviewed de novo. United States
Trizna, Robert J., Trizna & Lepri, Chicago, IL.                               v. Navarro–Camacho, 186 F.3d 701, 705 (6th Cir.1999).
                                                                              In reviewing the factual findings, the evidence must be
Bockelman, Jr., C. William, O'Neill & Bockelman, P.C., Lake
                                                                              considered in the light most likely to support the magistrate
Forest, IL.
                                                                              judge's decision. Id. “A factual finding will only be clearly
Misko, Fred Jr., Law Office of Fred Misko, Jr., Dallas, TX.                   erroneous when, although there may be evidence to support
                                                                              it, the reviewing court on the entire evidence is left with
Caldwell, G. Wade, Martin, Drought & Torres, San Antonio,                     the definite and firm conviction that a mistake has been
TX.                                                                           committed.” Id.

Phillips, Richard, Smith, Phillips, Mitchell, Scott &
                                                                              Applying this standard of review after duly considering the
Rutherford, Batesville, MS.
                                                                              parties' briefs and exhibits, oral arguments of counsel, and
DeYoung, Edwin, Liddell, Sapp, Zivley, Hill & LaBoon, LLP,                    the record of proceedings before Magistrate Judge Scoville,
Dallas, TX.                                                                   including the transcript of his thorough bench ruling, the
                                                                              Court finds no error in his factual findings. The record clearly
Miller, Marvin Alan, Miller, Faucher, Cafferty & Wexler,                      supports the finding that the language of Mr. Bieluch's report,
Chicago, IL.                                                                  including the formulation of his opinions, was not prepared
                                                                              by him, but was provided to him by plaintiffs' counsel.
Friedman, Andrew S., Bonnett, Faibourn, Friedman & Balint,                    Granted, Rule 26(a)(2) contemplates some assistance of
Phoenix, AZ.                                                                  counsel in the preparation of an expert's report. See Marek v.
                                                                              Moore, 171 F.R.D. 298 (D.Kan.1997). However, undeniable
Finkelstein, Howard D., Finkelstein & Krinsk, San Diego,
                                                                              substantial similarities between Mr. Bieluch's report and
CA.
                                                                              the report of another expert prepared with assistance from


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In re Jackson Nat. Life Ins. Co. Premium Litigation, Not Reported in F.Supp.2d (2000)
2000 WL 33654070, 46 Fed.R.Serv.3d 201

the same counsel in an unrelated case, demonstrate that            harmless. In Indiana Ins. Co., Rule 26(a)(2) was found to
counsel's participation so exceeded the bounds of legitimate       have been “technically” violated in that the expert's report
“assistance” as to negate the possibility that Mr. Bieluch         had not been signed by the expert and included, in addition
actually prepared his own report within the meaning of Rule        to the expert's own opinions, portions that were prepared
26(a)(2). Plaintiffs' failure to furnish defendant with a report   by counsel. The violation was deemed harmless, however,
prepared by Mr. Bieluch constitutes a violation of Rule 26(a)      because the report did contain portions actually prepared
                                                                   by the expert and because the expert, in deposition, frankly
(2). See Indiana Ins. Co. v. Hussey Seating Co., 176 F.R.D.
                                                                   explained what portions of the report were his.
291, 293–94 (S.D.Ind.1997) (Rule 26 held violated where
portions of report were drafted by counsel and expert's report
                                                                   Here, in contrast, the Court is presented with something more
was not “written in a manner that reflected the testimony
                                                                   than a mere “technical violation.” First, it has been established
specifically to be given by him and embraced by him.”)
                                                                   that the language of Mr. Bieluch's report was originally
                                                                   prepared by plaintiffs' counsel. The report does not contain
The Court also concurs with the magistrate judge's finding
                                                                   a statement of Mr. Bieluch's opinions in his own words.
that Mr. Bieluch testified untruthfully in his deposition.
                                                                   Moreover, Mr. Bieluch's deposition, rather than affording
Plaintiff's counsel's attempts to assign arguably truthful
                                                                   opportunity to remedy any prejudice, actually compounded
meaning to Mr. Bieluch's testimony are not persuasive. Mr.
                                                                   the violation. When confronted with questions about the
Bieluch, with advice of counsel, clearly gave incomplete and
                                                                   report's authorship, Mr. Bieluch gave misleading and evasive
misleading answers to legitimate questions concerning the
                                                                   answers. It is this conduct by Mr. Bieluch, and plaintiffs'
authorship of his report.
                                                                   counsel, in the deposition, reflecting a cavalier or stubborn
                                                                   disregard for the Rules of Civil Procedure and the integrity
 *2 Magistrate Judge Scoville further concluded that
                                                                   of the judicial process which, in the Court's opinion, justifies
plaintiffs' violation of Rule 26(a)(2) warranted exclusion
                                                                   the sanction imposed. The magistrate judge did not abuse his
of Mr. Bieluch's testimony pursuant to Fed.R.Civ.P. 37(c)
                                                                   discretion in ordering Mr. Bieluch's testimony excluded.
(1) unless plaintiffs were able to show their violation was
harmless. Finding that plaintiffs had not carried this burden,
                                                                   Accordingly, plaintiffs' appeal is DENIED and the order
he imposed the exclusionary sanction. Plaintiffs object,
                                                                   precluding expert witness testimony is AFFIRMED.
contending defendant suffered no prejudice as a result of
counsel's participation in the preparation of Mr. Bieluch's
                                                                   IT IS SO ORDERED.
report. Since Mr. Bieluch was made available for deposition,
plaintiffs contend, defendant was able to avoid any harm that
might flow from the supposed Rule 26(a)(2) violation.              All Citations

Again, the Court cannot find the magistrate judge clearly          Not Reported in F.Supp.2d, 2000 WL 33654070, 46
erred in finding the violation had not been shown to be            Fed.R.Serv.3d 201

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James T. Scatuorchio Racing Stable, LLC v. Walmac Stud..., Not Reported in...
2014 WL 1744848

                                                                        The plaintiffs retained Stephen Johnson and James LaMonica
                                                                        as experts to render opinions on the standard industry
      KeyCite Yellow Flag - Negative Treatment                          practices for advertising and managing stallions. [See Record
Distinguished by Mullen v. South Denver Rehabilitation, LLC, D.Colo.,
                                                                        Nos. 191–6, 191–7.] These experts opined that the defendants'
November 12, 2020
                                                                        management and billing practices did not conform to industry
                     2014 WL 1744848
                                                                        standards and practice. [Id.] The defendants hired Michael
       Only the Westlaw citation is currently available.
                                                                        Hernon to counter the testimony of Johnson and LaMonica.
        United States District Court, E.D. Kentucky,
                                                                        [Record No. 196–8] For example, on the topic of Walmac
               Central Division, at Lexington.
                                                                        Stud assigning stallion manager duties to Walmac Farm,
                                                                        Hernon states “The Co–Owners Agreement allows for the
        James T. SCATUORCHIO RACING
                                                                        assignment of the duties of Walmac Stud [ ] as stallion
          STABLE, LLC, et al., Plaintiffs,                              manager to an affiliate. It is not uncommon for farms to
                         v.                                             have a separate entity which acts as the syndicate or stallion
                                                                        manager.” [Id., p. 5]
        WALMAC STUD MANAGEMENT,
              LLC, et al., Defendants.                                  The plaintiffs deposed Hernon on January 16, 2014. During
                                                                        his deposition, Hernon testified that he met with Robert Beck,
                Civil Action No. 5:11–374–DCR.                          Frank Becker, and Defendant Jones to review a draft of the
                                |
                                                                        report before it was submitted.1 [Record No. 196–9, p. 172]
                      Signed April 30, 2014.
                                                                        Hernon stated that he brought his company letterhead to this
Attorneys and Law Firms                                                 meeting and Jones brought a first draft of the report that he
                                                                        had prepared for Hernon containing opinions responding to
Stephen C. Matthews, Porzio, Bromberg & Newman, P.C.,                   Johnson and LaMonica's reports. [Id., pp. 171, 174] Hernon
Morristown, NJ, David Thomas Faughn, Michael D. Meuser,                 stated that, while edits were made to Jones' draft, the final
Miller, Griffin & Marks, P.S.C., David James Treacy, Barbara            report was 90% unchanged. [Id., pp. 179–80] Hernon could
B. Edelman, Patrick Drake Schach, Dinsmore & Shohl LLP,                 not identify any portion of his opinion, analysis, or subject
Lexington, KY, Richard David Schibell, Schibell Mennie &                matter that had been removed or changed from Jones' draft.
Kentos, LLC, Ocean, NJ, for Plaintiffs.                                 [Id., pp. 180–81, 184] Hernon went on to state that after
                                                                        review of the draft, it was printed it on his company letterhead
James M. Kelly, Michael Alan Galasso, Ricky L. Johnson,                 and he signed it. [Id., p. 177] Hernon testified that this entire
Jr., Robbins, Kelly, Patterson & Tucker, Cincinnati, OH, for            process took sixty to ninety minutes. [Id., pp. 177–78]
Defendants.
                                                                        Hernon also disclosed that while his report contained opinions
                                                                        based on the COA and the Dean Dorton Ford Report, an
MEMORANDUM OPINION AND ORDER                                            equine industry accounting survey, he had not seen those
                                                                        documents until after his report was submitted. [Id., pp.
DANNY C. REEVES, District Judge.
                                                                        187–89, 305] During questioning by the defendants' counsel,
 *1 Plaintiffs James T. Scatuorcho, LLC (“Scatuorchio,                  Hernon testified that he had other meetings with Jones and
LLC”), James T. Scatuorchio, Kevin Scatuorchio, Courtney                Robert Beck during which they discussed his expert report
Sullivan, and Bryan Sullivan have moved to exclude the                  and that Jones had informed him of the Dean Dorton Ford
opinion testimony of Michael E. Hernon and strike his                   Report before his report was signed. [Id., p. 355–56] Hernon
affidavit and errata sheet. [Record Nos. 196, 263] For the              also stated that he had spent approximately 15 to 20 hours
reasons discussed below, the plaintiffs' motions will be                on the matter, including attending meetings and review of
granted.                                                                materials. [Id., p. 171]

                                                                        The plaintiffs have moved to exclude Hernon as an expert,
                                                                        arguing that his report is deficient under Rule 26(a)(2)(B)
I.                                                                      because: (i) the opinions in the report are not Hernon's; (ii)
                                                                        Hernon's testimony is unreliable under the Federal Rules of



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Evidence; and (iii) Hernon is not qualified to offer testimony
concerning certain subject areas. [Record No. 196–1, p. 1]           (e) Review by the Witness; Changes.
In response, the defendants filed an affidavit of Hernon and
                                                                     (1) Review, Statement of Changes. On request by the
an errata sheet. These materials contend that, due to his
                                                                     deponent or a party before the deposition is completed,
inexperience with depositions, Hernon was confused and
                                                                     the deponent must be allowed 30 days after being notified
gave incorrect answers. [Record Nos. 241, 262–1] Those
                                                                     by the officer that the transcript or recording is available
documents state that the actual amount of material changed
                                                                     which:
from the first draft and the final report was closer to 50%
and that there were actually five meetings involving Hernon             (A) to review the transcript or recording; and
and his counsel during which they reviewed and revised his
opinion letter. [Id.] Thus, they argue that Hernon should not           (B) if there are changes in form or substance, to sign a
be excluded because his report was substantially his own. The           statement listing the changes and the reasons for making
defendants also contend that Hernon is qualified to testify on          them
matters concerning stallion management. [Record No. 240, p.
5]                                                                   (2) Changes Indicated in the Office's Certificate. The
                                                                     officer must note in the certificate prescribed by Rule 30(f)
 *2 The plaintiffs have also moved to strike the affidavit           (1) whether a review was requested and, if so, must attach
and errata sheet. [Record No. 263] They argue that the errata        any changes the deponent makes during the 30–day period.
sheet does not comply with Rule 30(e) of the Federal Rules         Fed.R.Civ.P. 30(e).
of Civil Procedure because it makes significant alterations to
what Hernon said under oath and does not comply with the           The rule has a number of procedural requirements that must
procedural requirements of the rule. [Record No. 263–1, pp.        be satisfied before changes to deposition testimony will be
6–8] The plaintiffs seek to strike Hernon's affidavit, claiming    permitted. Once these rules are met, changes to deposition
that it contradicts his deposition testimony and, alternatively,   testimony may be allowed. While courts are split regarding
                                                                   whether to allow substantive changes to depositions, there
should be considered an inappropriate “sham affidavit.” [Id.,
                                                                   is no disagreement that the procedural requirements must
pp. 8–17] In response, the defendants argue that the Sixth
                                                                   be satisfied. Compliance with these procedural rules is
Circuit allows substantive changes through errata sheets to
                                                                   mandatory. And if they are not satisfied a Court may strike
deposition testimony and that rules regarding contradictory
and sham affidavits do not apply. [Record No. 269, pp. 2–8]        the proposed changes. Agrizap, Inc. v. Woodstream Corp., 232
                                                                   F.R.D. 491, 493–94 (E.D.Pa.2006) (failure to request review
                                                                   is grounds for barring an errata sheet); see also EBC, Inc. v.
                                                                   Clark Bldg. Sys., Inc., 618 F.3d 253, 265 (3d Cir.2010); Kull
II.                                                                v. Vill. of Yorkville, Ohio, 2:07–CV–686, 2008 WL 5188167,
                                                                   at *4 (S.D.Ohio Dec.10, 2008) (an untimely and uncertified
   A. Motion to Strike Affidavit and Errata Sheet
                                                                   errata sheet is subject to exclusion).
The plaintiffs assert that the errata sheet is impermissible
under Rule 30(e) of the Federal Rules of Civil Procedure.
                                                                    *3 The plaintiffs assert that neither Hernon nor any party
They claim that the defendants did not comply with the
                                                                   asked to review the transcript for errors. Thus, the procedural
procedural requirements of the rule which mandates that a
                                                                   requirements of Rule 30(e) have not been satisfied. [Record
deponent or party request a review of the deposition transcript
                                                                   No. 263–1, pp. 6–7] The defendants apparently concede
or recording before the deposition is completed. [Record No.
                                                                   this point. [See Record No. 269.] Therefore, a failure to
263–1, pp. 6–7] Additionally, they argue that the errata sheet
                                                                   comply with the procedural requirements of Rule 30(e)
impermissibly seeks to substantially alter what was said under
                                                                   justifies the errata sheet's exclusion. Agrizap, 232 F.R.D. at
oath. The plaintiffs contend that this is prohibited in this
                                                                   493–94. However, the errata sheet is also impermissible for
circuit. [Id., pp. 7–9] However, the defendants assert that
                                                                   other reasons. The plaintiffs argue that errata sheets cannot
Sixth Circuit allows parties to make substantive changes to
                                                                   substantively change what was said under oath at a deposition
depositions through the use of errata sheets. [Record No. 269,
                                                                   and are only limited to correcting typographical errors or
pp. 2–5]
                                                                   transcription mistakes. [Record No. 263–1, pp. 7–8] The
                                                                   defendants claim that, although there is a split in the Sixth
Rule 30(e) provides as follows:
                                                                   Circuit on this point, the rules clearly allow an errata sheet


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to correct substantive deposition testimony. [Record No. 269,       to correct only typographic and transcription errors.” Devon
pp. 2–5]                                                            Energy Corp. v. Westacott, 09–1689, 2011 WL 1157334
                                                                    (S.D.Tex. Mar.24, 2011).
Courts are split in their interpretation of how broadly changes
may be made through an errata sheet under Rule 30(e).                *4 The defendants cite a recent district court case in this
See 8A Charles Alan Wright, Arthur R. Miller & Richard              circuit that reached a contrary result by allowing substantive
L. Marcus, Federal Practice and Procedure § 2118 (2010).            changes to prior testimony. [Record No. 269, p. 4 (citing
The traditional view is that Rule 30(e) allows a deponent           Buchanan v. City of Mt. Juliet, 2012 U.S. Dist. LEXIS
to change deposition testimony with procedurally correct            137999, at *3 (M.D.Tenn. Sept. 26, 2012) ] However, thise
changes, even if they substantively change or contradict the        Court follows the Sixth Circuit's most recent pronouncement
original answers. Podell v. Citicorp Diners Club, Inc., 112         regarding the issue in concluding that Rule 30(e) does not
F.3d 98, 103 (2d Cir.1997); Titanium Metals, Corp. v. Elkem         permit changes to what was said under oath, aside from
Mgmt., Inc., 191 F.R.D. 468, 472 (W.D.Pa.1998); Foutz v.            typographical and transcription errors. Hernon's errata sheet
Town of Vinton, 211 F.R.D. 293, 295 (W.D.Va.2002); Reilly           does much more than attempt to correct typographical errors.
v. TXU Corp., 230 F.R.D. 486, 490 (N.D.Tex.2005). Under             It substantively changes answers that were provided at his
this approach, the change may be subject to impeachment             deposition. Thus, the errata sheet will be stricken.
that may affect credibility. Further, the revision does not
replace the testimony; rather, the original testimony remains       The plaintiffs also argue that the affidavit must be stricken
and may be used on cross-examination. Podell, 112 F.3d at           as it provides contradictory testimony without providing a
103. However, other courts have taken a more restrictive            persuasive reason for the contradiction. [Record No. 263–1,
approach, preventing parties from changing what was said            p. 8] They also assert that if the affidavit is not stricken as
under oath through an errata sheet. Burns v. Bd. of Cnty.           contradictory, it should be stricken as a sham affidavit. [Id.,
Comm'rs of Jackson Cnty., 330 F.3d 1275, 1282 (10th                 p. 15] In response, the defendants assert that they have given
Cir.2003); Greenway v. Int'l Paper Co., 144 F.R.D. 322, 325         sufficient justification for any contradiction and that Hernon's
(W.D.La.1992); Wyeth v. Lupin Ltd., 252 F.R.D. 295, 296             affidavit is not an attempt to create a sham factual issue.
(D.Md.2008).                                                        [Record No. 269, p. 5] They also argue that the sham affidavit
                                                                    rule does not apply because the alleged inconsistency was
In a recent unpublished opinion, the Sixth Circuit indicated        actually in Hernon's deposition itself. [Id., p. 6] The affidavit
that Rule 30(e) does not allow a deponent to alter what             states that the actual amount of material changed from the first
was said under oath. Trout v. FirstEnergy Generation Corp.,         draft and the final report was somewhere closer to 50% and
339 F. App'x 560, 565 (6th Cir.2009) (citing Tuttle v. Tyco         that there were actually five meetings where Hernon and his
Electronics Installation Servs., Inc., 2:06–CV–581, 2008 WL         counsel reviewed and revised his opinion letter. [Record No.
343178 (S.D.Ohio Feb.7, 2008)). The court went on to state          241]
that, if Rule 30(e) allowed for substantive changes, “ ‘one
could merely answer the questions with no thought at all[ ],        In determining whether to strike a post-deposition affidavit,
then return home and plan artful responses. Depositions differ      a district court “must first determine whether the affidavit
from interrogatories in that regard. A deposition is not a take     directly contradicts the nonmoving party's prior sworn
home examination.’ “ Id. Courts applying the holding in Trout       testimony.” Aerel, S.R.L., v. PCC Airfoils, L.L.C., 448 F.3d
have stricken errata sheets that attempt to alter substantive       899, 908 (6th Cir.2006). If the affidavit does directly
testimony rather than correct typographic or transcription          contradict prior testimony, then the court must strike
errors. See CNB Bancshares, Inc. v. StoneCastle Secs. LLC,          the affidavit “unless the party ... provides a persuasive
No. 3:09–CV–33, 2012 WL 2887256, at *3 (E.D.Tenn. July              justification for the contradiction.” Id. If the affidavit is
13, 2012); EEOC v. Skanska USA Building, Inc., 278 F.R.D.           not excluded as contradictory, it should not be stricken
407, 412 (W.D.Tenn.2012); Walker v. 9912 East Grand River           unless it creates a sham issue. Id. (citation omitted). Factors
Assocs., LP, No. 11–12085, 2012 WL 1110005, at *3–4                 used to determine whether an affidavit attempts to create a
(E.D.Mich. Apr.3, 2012); Giebel v. Lavalley, 5:12–CV–750,           sham issue include “whether the affiant was cross-examined
2013 WL 6903784 (N.D.Ohio Dec.31, 2013). And other                  during his earlier testimony, whether the affiant had access
courts outside the circuit have recognized that the Sixth           to the pertinent evidence at the time of his earlier testimony
Circuit is the “[o]ne court of appeals [that] permits a defendant   or whether the affidavit was based on newly discovered



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evidence, and whether the earlier testimony reflects confusion       contradictions between the deposition testimony and the
which the affidavit attempts to explain.” Id. at 909 (citing         affidavit.
Franks v. Nimmo, 796 F.2d 1230, 1237 (10th Cir.1986)).
However, if the claimed inconsistency that is created by the         The defendants argue that Hernon's general inexperience with
affidavit is actually in the deposition, then the affidavit cannot   the deposition process and confusion provides the persuasive
be considered a sham. O'Brien v. Ed Donnelly Enterprises,            justification for the inconsistency between the deposition
Inc., 575 F.3d 567, 593 (6th Cir.2009) (citing Kennett–Murray        testimony and the affidavit. [Record No. 269, p. 7] But the
Corp. v. Bone, 622 F.2d 887, 894 (5th Cir.1980)).                    plaintiffs claim that Hernon's justifications are not persuasive
                                                                     as this was not his first time acting as an expert or giving
 *5 The defendants argue the alleged inconsistency between           sworn deposition testimony. [Record No. 263–1, pp. 14–15]
the affidavit and the report existed in the deposition itself        The Court is not convinced by the defendants assertion that
and, therefore, there is no direct contradiction. [Record No.        Hernon had a general confusion with the deposition process
269, p. 7 (citing O'Brien, 575 F.3d at 593) ] In support,            and the questions the affidavit seeks to answer.
they cite Hernon's deposition in which he testified that he
had several meetings with Jones and counsel, discussing the          The transcript does not support Hernon's claims that he was
report, and that he spent a lot of time “contemplating” the          confused during the deposition regarding questions relating
matters surrounding his report. [Record No. 240–1, pp. 355–          to the time spent drafting the report due to his lack of
56] Hernon stated that, given these meetings and the time            experience with the deposition process. Hernon's answers
spent contemplating the matter, he spent a lot of time working       were direct and did not reflect any inconsistency. Apart from
on the letter. [Id.] However, this testimony does not create the     Hernon's later claim of confusion, there is no evidence of any
same alleged inconsistency between the deposition testimony          confusion from the record. Hernon explained that he had other
in question and the affidavit.                                       meetings with his counsel and spent more time on the entire
                                                                     matter than he initially disclosed. The source of Hernon's
The affidavit states that Hernon had several meetings with his       confusion was explained thoroughly later in the deposition,
attorney where he “revised” his letter and that he “drafted”         clarifying any confusion he may have had, but it did not rebut
it over several meetings. [Record No. 241, pp. 1–2] The              earlier statements regarding the report. Further, Hernon's
deposition testimony cited by the defendants is not so clear         claim that he was confused by the deposition process as whole
that the time spent in these meetings was explicitly devoted         is undermined by the fact that he has previous deposition
to revising and drafting of the report. Rather, it concerns          experience. [Record No. 263–6, pp. 9–10] A general claim of
the time spent “contemplating” the matter. Hernon does say           confusion will not justify the introduction of a contradictory
they spent “quite a bit of time” “working” on the letter, but        affidavit to rebut prior sworn testimony. Burns v. Bd. of
this could mean time spent discussing the issues the report          Cnty. Comm'rs of Jackson Cnty., 330 F.3d 1275, 1282 (10th
would address or just generally thinking about its contents,         Cir.2003).
not necessarily the actual creation of the report.
                                                                      *6 The affidavit is directly contradictory to the testimony
Hernon's testimony during his deposition clearly                     provided at Hernon's deposition and the reason provided for
demonstrates that the process of creating his report consisted       this contradiction is not sufficiently persuasive. Therefore, the
of Jones bringing his draft to a meeting, reviewing it for           affidavit will be stricken. Because the Court concludes that
sixty to ninety minutes, printing it on Hernon's letterhead,         the affidavit is contradictory and that a persuasive justification
and signing it. [Record No. 196–9, pp. 171–74] This is               for its contradictions have not been demonstrated, it is
not the case where the deposition “did not speak with one            unnecessary to determine whether the affidavit is a sham.
voice.” O'Brien, 575 F.3d at 593. The deposition transcript          Aerel, 448 F.3d at 908.
cited by the defendants in their argument does not state
with clear language that Hernon spent the time during his
prior meetings actually drafting or revising his report, but           B. Motion to Exclude Hernon
only “contemplating” and generally “working” on the matter.          The plaintiffs have also moved to exclude Hernon's testimony
Therefore, the contradiction created by the affidavit did            on several grounds. They assert that, because Hernon's report
not exist in the deposition itself. Thus, there are direct           was not actually written by him and contains the opinions of
                                                                     Defendant Jones, it is deficient under Rule 26 of the Federal
                                                                     Rules of Civil Procedure. They also argue that, because


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Hernon did not prepare his report, his testimony which is          practice has been rejected as contravening the requirements
based on the report is not reliable. They further contend that     of Rule 26. Bekaert Corp. v. City of Dyersburg, 256 F.R.D.
Hernon is not qualified to offer testimony regarding several       573, 579 (W.D.Tenn.2009); Trigon Ins. Co. v. United States,
subjects.                                                          204 F.R.D. 277, 296–69 (E.D.Va.2001); O'Hara v. Travelers,
                                                                   2:11–CV–208–KS–MTP, 2012 WL 3062300 (S.D.Miss. July
                                                                   26, 2012) (“An attorney—or, in this case, a party—is
   i. Rule 26 Deficiency                                           not permitted to ‘ghost-write’ an expert's report.”). Thus,
As discussed above, Hernon's errata sheet and affidavit            Hernon's report does not satisfy Rule 26.
(stating that he had several meetings where he created
the report and that 50% of the final product was based              *7 When a party does not comply with Rule 26(a) he or she
on Jones' draft) will be stricken. This leaves deposition          is “not allowed to use that information ... to supply evidence
testimony in which Hernon states that Jones provided the           on a motion, at a hearing, or at a trial, unless the failure
draft report which he adopted 90% after a sixty to ninety          was substantially justified or is harmless.” Fed.R.Civ.P. 37(c)
minute meeting. Rule 26(a)(2)(B) of the Federal Rules of           (1). The test for exclusion under 37(c) is “very simple:
Civil Procedure requires that reports accompanying an expert       the sanction is mandatory unless there is a reasonable
witness disclosure be prepared by the witness himself or           explanation of why Rule 26 was not complied with or
herself. Fed.R.Civ.P. 26(a)(2)(B). As referenced in Rule 26,       the mistake was harmless.” Bessemer & Lake Erie R.R.
“preparation” means involvement in the creation rather than        Co. v. Seaway Marine Transp., 596 F.3d 357, 370 (6th
“perusing a report drafted by someone else and signing             Cir.2010). Courts have found exclusion of an expert under
one's name at the bottom to signify agreement.” Manning v.         Rule 37 appropriate when a report is improperly adopting
Crockett, 95 C 3117, 1999 WL 342715, at *3 (N.D.Ill. May           the opinion of another. Bekaert, 256 F.R.D. at 579; see
18, 1999). Creating an expert's opinion and then asking the        also In re Jackson Nat. Life Ins. Co. Premium Litig., 46
purported expert to sign it does not comply with the rule's        Fed. R. Serv.3d 201 (W.D.Mich.2000). Indeed, “exclusion is
requirement. Id. The advisory committee's notes indicate           automatic without a showing of substantial justification or
that an attorney may help draft the report, but they do not        harmlessness.” Bekaert, 256 F.R.D. at 578.
mention that a party may prepare the report for the witness.
Fed.R.Civ.P. 26 advisory committee's note. Additionally,           The defendants behavior is neither substantially justified nor
counsel's assistance is generally limited to helping the expert    harmless. If allowed to testify, Hernon would be offering the
draft a report in a way that satisfies the requirements of Rule    opinions of Defendant Jones under the guise of an expert
26. Id.                                                            while simultaneously preventing Jones from being cross-
                                                                   examined on those opinions. The harm of allowing such
Hernon testified that approximately 90% of his draft was           testimony is self-evident. While a deposition was taken, it did
prepared by Jones after a sixty to ninety minute meeting.          not cure the deficiency of the report, as Hernon could not even
Compounding the problem, Hernon could not identify the             identify the part of the report actually containing his original
portion of the report that was changed. [Record No. 196–9,         opinions. Therefore, Hernon will be excluded under Rule 37.
pp. 180–81, 184] Further, Hernon's report heavily relies on the
COA and the Dean Dorton Ford Report. And Hernon admitted
that he had not reviewed these documents before the report            ii. Federal Rule of Evidence 702
was submitted. The defendants' claim that Hernon testified         If the opinions in an expert report are not his own, the expert
at his deposition that he had actually spent more time on his      will not satisfy the requirements of Rule 702 of the Federal
report than he initially stated is not convincing.                 Rules of Evidence and Daubert v. Merrell Dow Pharm., Inc.,
                                                                   509 U.S. 579, 587, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993),
As discussed above, the statements Hernon made at his              because the report is not based on the expert's own reasoning
deposition involve meetings he had with his counsel and            and methodology. See Fed.R.Evid. 702 (“a witness qualified
the time he spent on the entire matter itself, not the actual      as an expert by knowledge, skill, experience, training, or
drafting of his report. [Id., pp. 171, 355–56] In short, based     education, may testify thereto in the form of an opinion or
on Hernon's on sworn testimony, the Court concludes that he        otherwise, in (1) the testimony is based upon sufficient facts
did not substantially participate in the creation of his report.   or data, (2) the testimony is the product of reliable principles
Instead, he adopted the opinions of Defendant Jones and            and methods, and (3) the witness has applied the principles
signed a copy of the report printed on his letterhead. This        and methods reliably to the facts of the case.”); Daubert, 509


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                                                                     Hernon's errata sheet may not be used to make substantive
U.S. at 592–93 (“Faced with a proffer of expert scientific
                                                                     changes to sworn testimony. Additionally, his affidavit is
testimony, then, the trial judge must determine at the outset,
                                                                     improper because it contradicts prior deposition testimony.
pursuant to Rule 104(a), whether the expert is proposing to
                                                                     And a persuasive justification for the contradiction has not
testify to (1) scientific knowledge that (2) will assist the trier
                                                                     been provided. Further, because Hernon simply adopted
of fact to understand or determine a fact in issue.”). And if
                                                                     Jones' opinions in his report, the report does not satisfy the
an expert is not independent to form his or her own opinions,
                                                                     requirements of Rule 26. Accordingly, it is hereby
he or she lacks the required credibility to be of any assistance
to the trier of fact. Fed.R.Evid. 702 (Expert testimony is
                                                                     ORDERED as follows:
admissible first if “scientific, technical, or other specialized
knowledge will assist the trier of fact to understand the
evidence or determine a fact in issue, ....”); see also Polsby         1. Plaintiffs James T. Scatuorcho, LLC; James T.
v. Shalala, 925 F.Supp. 379, 392 (D.Md.1996) (“[A] lack of             Scatuorchio; Kevin Scatuorchio; Courtney Sullivan; and
independence as an expert destroys his credibility.”); Trigon          Bryan Sullivan's motion to strike the affidavit and errata
Ins. Co. v. United States, 204 F.R.D. 277, 295 (E.D.Va.2001)           sheet of Hernon [Record No. 263] is GRANTED. The
(finding that when an expert did not draft his report his              affidavit and errata sheet of Hernon will be stricken from
testimony is inadmissible under Rule 702).                             the record.

 *8 Hernon admitted that his proffered opinion is                      2. Plaintiffs James T. Scatuorcho, LLC; James T.
approximately 90% of the opinion Jones supplied. Thus, his             Scatuorchio; Kevin Scatuorchio; Courtney Sullivan; and
proposed testimony lacks independence. Because Hernon's                Bryan Sullivan's motion to exclude Michael E. Hernon as
opinions are not truly independent, his testimony will not             an expert [Record No. 196] is GRANTED . Hernon will
assist the trier of fact and will be excluded under Rule 702.2         be EXCLUDED from testifying as an expert at trial.

                                                                     All Citations

III.                                                                 Not Reported in F.Supp.3d, 2014 WL 1744848



Footnotes
1       Robert Beck is counsel for Gainesway Farm, Hernon's employer. Frank Becker represented the defendants.

2       The plaintiffs also argue that Hernon is not qualified to express opinions on several subjects. [Record No. 196–1, pp. 20–
        24] However, the Court need not address those arguments.



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King-Indiana Forge, Inc. v. Millennium Forge, Inc., Not Reported in F.Supp.2d (2009)
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                                                                         The admissibility of expert testimony is governed by the
                                                                         framework set out in Federal Rule of Evidence 702 and
      KeyCite Yellow Flag - Negative Treatment                           Daubert v. Merrell Dow Pharms. Inc. 509 U.S. 579, 113 S.Ct.
Distinguished by CDW LLC v. NETech Corp., S.D.Ind., September 28, 2012
                                                                         2786, 125 L.Ed.2d 469 (1993). Applying this framework,
                    2009 WL 3187685
                                                                         courts must undertake:
       Only the Westlaw citation is currently available.
                United States District Court,                               a three-step analysis: the witness must be qualified
                       S.D. Indiana,                                        “as an expert by knowledge, skill, experience, training,
                  Indianapolis Division.                                    or education”; the expert's reasoning or methodology
                                                                            underlying the testimony must be scientifically reliable;
    KING–INDIANA FORGE, INC., Plaintiff,                                    and the testimony must assist the trier of fact to understand
                  v.                                                        the evidence or determine a fact in issue.
                                                                         Ervin v. Johnson & Johnson, Inc., 492 F.3d 901, 904 (7th
    MILLENNIUM FORGE, INC., Defendant.
                                                                         Cir.2007) (quoting Fed.R.Evid. 702); see also Kumhoe Tire
                                                                         Co., Ltd. v. Carmichael, 526 U.S. 137, 141, 119 S.Ct. 1167,
                 No. 1:07–cv–00341–SEB–DML.
                                                                         143 L.Ed.2d 238 (1999) (extending the Daubert admissibility
                                |
                                                                         framework to expert testimony in the social sciences). “The
                         Sept. 29, 2009.
                                                                         Daubert standard applies to all expert testimony, whether
Attorneys and Law Firms                                                  it relates to an area of traditional scientific competence or
                                                                         whether it is founded on engineering principles or other
Jennifer Smith Roach, Thomas J. Collin, Thompson Hine                    technical or specialized expertise.” Smith v. Ford Motor Co.,
LLP, Cleveland, OH, Joel E. Tragesser, Frost Brown Todd                  215 F.3d 713, 719 (7th Cir.2000) (citing Kumho, 536 U.S. at
LLC, Indianapolis, IN, for Plaintiff.                                    141).

James L. Petersen, Julianna Marie Plawecki, Ice Miller                   Millenium does not oppose Thomas J. Sponsel's proffered
LLP, Indianapolis, IN, John Lentz Kirtley, Karen A. Waple,               opinions on the basis that he is not qualified as an expert in the
Michael D. Huitink, Godfrey & Kahn, Milwaukee, WI, for
                                                                         subject matter.1 Therefore, the issues before the Court regard
Defendant.
                                                                         only the other prongs of Daubert, and the Court, “in its role
                                                                         as a gate-keeper,” must determine if Sponsel's opinions are
                                                                         based on reliable methodology, and whether they would be
ORDER GRANTING MOTION IN LIMINE                                          helpful to a jury. Winters v. Fru–Con, Inc., 498 F.3d 734, 743
                                                                         (7th Cir.2007).
SARAH EVANS BARKER, District Judge.

 *1 This cause is before the Court on Defendant Millennium
                                                                         II. Thomas J. Sponsel's Opinion on Damages Amount
Forge, Inc.'s Motion In Limine Regarding Portions of the
                                                                         In his expert report, Thomas J. Sponsel (“Sponsel”) opines
Expert Testimony of Thomas J. Sponsel [Docket No. 106],
                                                                         that Plaintiff King–Indiana Forge, Inc's (“King”) damages
filed on September 4, 2008. Defendant moves the Court
                                                                         should include $295,000, which he contends is a reasonable
to exclude the following two opinions in the proposed
                                                                         estimate of the cost savings that Millennium enjoyed as a
expert testimony of Plaintiff's damages expert: (1) that the
                                                                         result of its alleged misappropriation. Report of Sponsel at
alleged misappropriation of Plaintiff's axle spindle process by
                                                                         1, 8–9. Defendant Millennium Forge, Inc. (“Millennium”)
Millennium netted a cost savings of $295,000 to Millennium;
                                                                         contends that this opinion is not reliable expert testimony
and (2) that the proper damage period for measuring King's
                                                                         because it is wholly based on the cost recited to Sponsel
damages is two years. For the reasons detailed below,
                                                                         by King employee Greg Ankney (“Ankney”). Millennium
Defendant's Motion is GRANTED.
                                                                         further contends that Sponsel's opinion should be excluded
                                                                         because Sponsel admitted that he did not independently verify
                                                                         the figures supplied to him by Ankney.
Discussion
                                                                          *2 King rejoins that Sponsel relied upon factual information
I. Standard of Review
                                                                         provided by Ankney because that was the “best information


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available to him at the time.” Because Generally Accepted             Sponsel's opinion specifically stating that King's damages
Accounting principles did not require King to accumulate              should include this amount of $295,000 must and shall be
and include the development cost for King's proprietary               excluded.
process as an asset on its balance sheet, the “best” accounting
information available came from Ankney, a manager at King
who was responsible for observing costs incurred. King                III. Sponsel's Opinion Regarding Two–Year Damage Period
further rejoins that this is not a case in which “Sponsel relied      Sponsel further opines that the appropriate damage period
on information or summaries prepared by counsel without               for the calculation of King's damages is two years. He bases
knowledge of the underlying facts-Sponsel conducted his               this opinion on an assumption that Millennium would have
own independent examination of Ankney.” Pl.'s Response at             taken two years to develop the allegedly misappropriated
6.                                                                    information, which assumption is derived from the fact that
                                                                      it took King two years to develop that information. Rep. of
When an expert's proffered opinion merely parrots                     Sponsel at 9 (“I anticipate that Millennium would have to
information provided to him by a party, that opinion is               go through the same process in development of spindles,
generally excluded. See Black & Decker v. Bosch Tools, 2006           and that by using the confidential information allegedly
WL 5156873, at *1 (N.D.Ill.2006). Furthermore, when an                obtained in June 2006, it avoided the majority of these
expert relies upon information given to him by a party or             costs.”). According to Millennium, because Sponsel does not
counsel, he must independently verify that information before         explain how the amount of time it took King to develop its
utilizing it in his calculations. MDG International, Inc. v.          process relates to how long it would have taken Millennium to
Australian Gold, Inc., 2009 WL 1916728, at *5 (S.D.Ind. June          develop a similar process, the opinion should be excluded as
29, 2009) (Barker, J.).                                               unreliable. Millennium further attacks Sponsel's opinion by
                                                                      noting that Sponsel conceded that he did not take into account
Sponsel testified in his deposition as follows:                       numerous variables that were relevant to the “damages
                                                                      period” calculation. See Dep. of Sponsel at 22–25.
  Q: Is it fair to say, then, the items listed ... are Mr. Ankney's
  calculations, not yours?                                             *3 King does not substantially defend Sponsel's opinion in
                                                                      this regard but rather contends that any weaknesses alleged
   A: That's correct.                                                 by Millennium should be explored by Millennium on cross-
Dep. of Sponsel at 78–80. “An expert is of course permitted to        examination. See Daubert, 508 U.S. at 595. Although this is
testify to an opinion formed on the basis of information that is      ordinarily the case under Daubert, in assessing an expert's
handed to rather than developed by him.” In re James Wilson           methodology, the Court “must rule out subjective belief or
Associates, 965 F.2d 160, 172 (7th Cir.1992). However, in             unsupported speculation.” Deimer v. Cincinnati Sub–Zero
doing so, the expert must incorporate the information supplied        Prods., Inc., 58 F.3d 341, 344 (7th Cir.1995) (internal citations
to him into his underlying facts, independently review the            omitted). It is clear from Sponsel's testimony and expert report
information, and then formulate, with calculations consistent         that his conclusion regarding the damages period is nothing
with his expertise, an opinion that relies upon that any other        more than an equation of King's development process time to
relevant information.                                                 what may have been Millennium's development process time.

It is clear from his report and testimony that Sponsel did            An expert report purporting to calculate damages, which
not use the information provided by Ankney as the basis               “fails to correct for salient explanatory variables, or even
for his proffered opinion. Although Sponsel conducted the             to make the most elementary comparisons, has not value as
interview of Ankney, he never independently verified the              causal explanation and is therefore inadmissible in a federal
facts Ankney provided to him. Instead, he simply offered              court.” People Who Care v. Rockford Board of Educ., 111
Ankney's conclusions as his own. “Federal Rule of Evidence            F.3d 528, 537–38 (7th Cir.1997); Fogle v. William Chevrolet/
703 does not ‘allow a witness, under the guise of giving              GEO, Inc., 275 F.3d 613, 616 (7th Cir.2001). Sponsel offers
expert testimony, to in effect become the mouthpiece fo the           no explanation, scientific or otherwise, for why these two
witnesses on whose statements or opinions the expert purports         periods, one real and one speculative, should be equated,
to base his opinion.’ ” Black and Decker, 2006 WL 5156873,            nor does he say precisely why this should be considered
at *1 (quoting Loeffel Steel Prods., Inc. v. Delta Brands, Inc.,
                                                                      the damages period in this case.2 Because of the inherent
387 F.Supp.2d 794 (N.D.Ill.2005). We therefore conclude that


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unreliability of Sponsel's opinion related to the damages           prongs of Daubert. Accordingly, Defendant's Motion In
period, we hold that this opinion, too, must be excluded.           Limine to exclude those opinions is GRANTED.



IV. Conclusion                                                      IT IS SO ORDERED.
Having considered the parties' arguments regarding the              All Citations
admissibility of Thomas J. Sponsel's opinions relating to the
amount of damages and damages period in this case, we               Not Reported in F.Supp.2d, 2009 WL 3187685
conclude that those opinions do not satisfy the reliability


Footnotes
1      Sponsel has worked as a Certified Public Accountant since 1979 and has audit, accounting, and tax consulting experience
       in a wide variety of industries. He has received various awards from the Indiana CPA Society.

2      Sponsel does cite one accepted methodology in his report, the definition of a damages period provided by the American
       Institute of Certified Public Accountants. However, he admits to rejecting this method and replacing it with the “alternative”
       approach of equating the damage period to King's two-year development process. This is insufficiently reliable under
       Daubert.



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                                                                           previously granted summary judgment to Ruth and found
                                                                           that material issues of disputed fact precluded the entry of
     KeyCite Yellow Flag - Negative Treatment                              summary judgment as to David.
Declined to Follow by Bertin Steel Processing, Inc. v. U.S. Steel Corp.,
N.D.Ohio, September 6, 2005
                                                                           The Mannings have provided three reports signed by Dr.
                      1999 WL 342715
                                                                           Ostrov. The first report, prepared pursuant to 735 ILCS 5/2–
     Only the Westlaw citation is currently available.
                                                                           622, briefly states that Margaret has a meritorious cause of
United States District Court, N.D. Illinois, Eastern Division.
                                                                           action against David. The second report, purportedly prepared
                                                                           by Dr. Ostrov pursuant to Rule 26, failed to include all of
                Margaret MANNING and
                                                                           the information required by paragraph (a)(2). Notably, this
                Martin Manning, Plaintiffs,                                report also virtually mirrors the allegations in the Mannings'
                           v.                                              complaint, right down to the repetition of a typographical
                                                                           error from the complaint.
                J. David CROCKETT and
                Ruth Crockett, Defendants.                                 In its January 26, 1999 memorandum and order, the court
                                                                           denied the Crocketts' first motion to bar Dr. Ostrov based
                            No. 95 C 3117.                                 on the Mannings' first two expert disclosures, explaining that
                                   |                                       “the plaintiffs' failure to comply with Rule 26 stemmed from
                            May 18, 1999.                                  ignorance, not a desire to sand-bag David and Ruth” and
                                                                           “neither David nor Ruth has established that the plaintiffs'
                                                                           myriad problems with Rule 26 prejudiced them.” The court
MEMORANDUM AND ORDER                                                       also gave the Mannings one final chance to disclose their
                                                                           expert, and warned them that it would bar Dr. Ostrov if the
MANNING, District Court J.                                                 Mannings' disclosure did not comply with Rule 26 for any
                                                                           reason.
 *1 This order is yet another chapter in the continuing
saga of plaintiffs Margaret and Martin Manning's efforts to
                                                                           In response, the Mannings filed a third report from Dr.
adequately disclose their expert, psychologist Eric Ostrov. On
                                                                           Ostrov. This report, which is signed by him as well as the
January 26, 1999, the court gave the Mannings leave to file an
                                                                           Manning's attorney, is remarkably similar to the Manning's
amended expert disclosure by February 1, 1999 and warned
                                                                           third amended complaint, although it is in the form of a
them that if their disclosure did not comply with Rule 26 for
                                                                           narrative, rather than a paragraph by paragraph elucidation of
any reason, it would bar Dr. Ostrov. Dr. Ostrov's new expert
                                                                           his opinion. It is not, however, a verbatim repetition of the
report repeats much of the language in the complaint. The
                                                                           allegations in the complaint.
question before the court is whether this means that he did
not prepare the report as required by Fed.R.Civ.P. 26(a)(2)
(B). For the following reasons, the court finds that, at this
stage in the proceedings, the motion to bar Dr. Ostrov must                Motion to Bar
be denied. The court also denies the Mannings' motion for
sanctions based on the filing of the motion to bar.                        David Crockett seeks to bar Dr. Ostrov, contending that,
                                                                           because he did not prepare the majority of his report himself,
                                                                           his report fails to comply with Rule 26(a)(2)(B). That rule
                                                                           provides that:
Background
                                                                              *2 Except as otherwise stipulated or directed by the court,
In this diversity case, the Mannings seek damages for                        this disclosure shall, with respect to a witness who is
injuries resulting from allegedly negligent psychotherapeutic                retained or specially employed to provide expert testimony
treatment of Ruth by defendant J. David Crockett and his                     in the case or whose duties as an employee of the party
wife, defendant Ruth Crockett. Margaret claims that David,                   regularly involve giving expert testimony, be accompanied
among other things, wrongfully convinced her that satanic                    by a written report prepared and signed by the witness. The
ritualists brain-washed, abused, raped and impregnated her,                  report shall contain a complete statement of all opinions to
and that Ruth participated in this treatment. The court


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  be expressed and the basis and reasons therefor; the data         report that complies with the rules, as they may have “little
  or other information considered by the witness in forming         appreciation or none whatsoever for Rule 26 and its exacting
  the opinions; any exhibits to be used as a summary of or          requirements.” Id. at 301.
  support for the opinions; the qualifications of the witness,
  including a list of all publications authored by the witness       *3 In Hussey, the expert testified at his deposition that
  within the preceding ten years; the compensation to be paid       the plaintiff's attorneys prepared his Rule 26 disclosure. 176
  for the study and testimony; and a listing of any other cases     F.R.D. at 292. The court observed that, “[f]ortunately for
  in which the witness has testified as an expert at trial or by    Plaintiff, the [expert's] deposition did not conclude on the
  deposition within the preceding four years.                       spot,” as the expert went on to testify that, among other things,
Fed.R.Civ.P. 26(a)(2)(B) (emphasis added).                          he had personally prepared the nine opinion reports and the
                                                                    work papers attached to the Rule 26 disclosure. Id. The expert
The 1993 amendments to Rule 26 added paragraph (a)(2)               also testified that the opinions in the disclosure were his. Id.
(B). The advisory committee notes accompanying this section         The court found that, while “Rule 26 unquestionably requires
amplify the intended meaning of the phrase “prepared and            an expert witness to prepare his own Rule 26 Report,” the
signed by the witness,” explaining that a report can be             rules also contemplate that counsel may assist the expert in
“prepared” by an expert witness even if counsel has aided the       doing so. Id. at 293.
witness. Specifically, the advisory committee notes provide
that:                                                               The Hussey court then found that report satisfied Rule 26
                                                                    because the expert had personally prepared the heart of the
   Rule 26(a)(2)(B) does not preclude counsel from providing        disclosure: the attachments consisting of his opinions and
   assistance to experts in preparing the reports, and indeed,      work papers. Id. It also noted that the materials prepared by
   with experts such as automobile mechanics, this assistance       counsel, such as the summary of the expert's qualifications,
   may be needed. Nevertheless, the report, which is intended       did not directly relate to the expert's opinion and were
   to set forth the substance of the direct examination, should     “paraphrased” by counsel from conversations with the expert.
   be written in a manner that reflects the testimony to be         Id. Explaining that Rule 26(a)(2)(B) contemplated this type
   given by the witness and it must be signed by the witness.       of assistance and that the expert had specifically embraced the
Fed.R.Civ.P. 26(a)(2)(B) (1993 advisory committee notes);           entire disclosure, the court found that the expert's involvement
8 Charles A. Wright & Richard L. Miller, Federal Practice           in the preparation of his report satisfied the rules.
and Procedure Civ.2d § 2031.1 (2d ed. 1994 & Supp.1999)
(the advisory committee notes to Rule 26 indicate that “it          Both sides claim that Marek and Hussey support their
is expected that counsel may assist some witnesses” in              positions. In contrast, the court finds that they are helpful but
preparing their reports).                                           not dispositive. Marek and Hussey, as well as the advisory
                                                                    committee notes to Rule 26(a)(2), stand for the proposition
Only two reported decisions address Rule 26(a)(2)(B)'s use          that some attorney involvement in the preparation of an
of the phrase “prepared and signed by the witness”—Marek            expert report is permissible, but that the expert must also
v. Moore, 171 F.R.D. 298 (D.Kan.1997), and Indiana                  substantially participate in the preparation of his report.
Insurance Co. v. Hussey Seating Company, 176 F.R.D. 291             Thus, certain kinds of help are clearly in tune with the
(S.D.Ind.1997). In Marek, two reports were at issue. The            concept of assisting the expert discussed in Marek, Hussey,
expert personally prepared the first report and the plaintiff's     and the advisory committee notes. Specifically, an attorney's
attorney prepared a second report which was substantively           assistance with the preparation of documents required by Rule
similar to the first report but more detailed. 171 F.R.D. at 300.   26, such as a list of cases in which the expert has testified, or
The Marek court found that, because “the substance of the           fine-tuning a disclosure with the expert's input to ensure that
expert opinions and conclusions, as well as their underlying        it complies with the rules is permissible.
bases and reasons, remain in the second version of the report[,
it was] essentially the same as the first. The court finds no       In contrast, preparing the expert's opinion from whole cloth
difference of such consequence as to nullify the character of       and then asking the expert to sign it if he or she wishes to adopt
the report as one prepared in substance by the expert witness.”     it conflicts with Rule 26(a)(2)(B)'s requirement that the expert
Id. The Marek court also noted that expert witnesses are            “prepare” the report. Preparation implies involvement other
likely to preoccupy themselves with their field of expertise,       than perusing a report drafted by someone else and signing
and that counsel may need to assist them in preparing a


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                                                                    While this does not necessarily mean that Dr. Ostrov was
one's name at the bottom to signify agreement. In other
                                                                    responsible for the similar but non-identical sections of
words, the assistance of counsel contemplated by Rule 26(a)
                                                                    the report, he could easily have prepared or directed the
(2)(B) is not synonymous with ghost-writing. The court thus
                                                                    preparation of these additional portions.
disagrees with the Manning's belief that “no rule ... prohibits
an expert from adopting the precise language alleged in a
                                                                    Accordingly, the motion to bar is denied without prejudice.
complaint” in his report. Rule 26(a)(2)(B)'s inclusion of the
                                                                    Any renewed motion must, consistent with this order, be
phrase “prepared and signed by the witness” does just this.
                                                                    accompanied by evidence supporting the conclusion that
Allowing an expert to sign a report drafted entirely by counsel
                                                                    Dr. Ostrov lacked significant personal involvement in the
without prior substantive input from an expert would read
                                                                    preparation of his report.
the word “prepared” completely out of the rule. With these
principles in mind, the court turns to Dr. Ostrov's reports.

 *4 Dr. Ostrov's first report is essentially a nullity as it does   Motion for Sanctions
not provide any detail as to the substance of his testimony.
The court finds that the second report is virtually identical to    In the Mannings' response to the motion to bar, they seek
the Mannings' complaint and that the third report is largely        Rule 11 sanctions for David's allegedly frivolous motion to
similar to the complaint. The court will focus on the third         bar. This motion is denied because the Mannings failed to
report because it has previously found that the first two reports   request sanctions in a separate motion and failed to follow
were inadequate.                                                    Rule 11's safe harbor provisions. Fed.R.Civ.P. 11; Corley
                                                                    v. Rosewood Care Center, Inc. of Peoria, 142 F.2d 1041,
The problem with David's motion to bar is that the                  1057–59 (7th Cir.1998). Moreover, even if the motion was
commonalities between the third report and the complaint are        properly before the court, it would be denied. David's motion
not enough, by themselves, to establish that Dr. Ostrov lacked      to bar was an eminently reasonable response, at this stage of
the requisite involvement with the report that he signed. First,    the proceedings, to the filing of the third expert disclosure,
while the Mannings appear to be contending that a report            which is unquestionably quite similar to the Mannings'
complies with Rule 26 merely if the expert signs it, it is          complaint. The court also advises the Mannings' counsel to
unclear whether they are conceding that this is all Dr. Ostrov      more carefully research the basis for any further filings, as
did. It is true that Dr. Ostrov's opinion is signed by counsel      resolution of this 1995 case has been unnecessarily delayed by
as well as Dr. Ostrov, but this fact does not compel the            counsel's repeated problems with the federal and local rules.
conclusion that counsel drafted the opinion by herself.

Second, the court cannot ascertain the level of Dr. Ostrov's        Conclusion
involvement in the preparation of this report based solely on
a comparison between the report and the complaint because            *5 David Crockett's motion to bar Dr. Ostrov [121–1]
it cannot determine who was responsible for each portion            is denied without prejudice, and the Manning's motion for
of the report. In other words, the court cannot exclude the         sanctions is denied.
possibility that the complaint was drawn from Dr. Ostrov's
opinions rather than the other way around. Third, the report
—especially the portions expressing Dr. Ostrov's opinion,           All Citations
as opposed to the details regarding Margaret's alleged
                                                                    Not Reported in F.Supp.2d, 1999 WL 342715
interactions with David—is not exactly like the complaint.

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Ulbrick v. UPR Products, Inc., Not Reported in F.Supp.2d (2011)
2011 WL 500034




      KeyCite Yellow Flag - Negative Treatment
                                                                        I.
Distinguished by Won v. General Motors, LLC, E.D.Mich., July 28, 2022
                                                                        Subsequent to the fatal accident in 2006, the decedents' father
                     2011 WL 500034
                                                                        asked Bob McSwain, a friend of the family and a “racing
       Only the Westlaw citation is currently available.
                                                                        buddy,” to dispose of the vehicle. Acting in response to this
                United States District Court,
                                                                        request, McSwain—a racing mechanic—took possession of
                      E.D. Michigan,
                                                                        the vehicle and brought it to his garage where extensive
                    Southern Division.
                                                                        photographs of the damaged vehicle were taken. Thereafter,
                                                                        he—after personally examining the Mustang in an attempt
           Frank ULBRICK, Jr., Plaintiff,
                                                                        to determine the cause of the accident—concluded that
                      v.                                                (1) the lower left control arm had been improperly and/or
         UPR PRODUCTS, INC., Defendant.                                 incompletely welded, (2) this arm had broken immediately
                                                                        prior to the accident, and (3) the breakage caused Michael—as
                            No. 08–13764.                               the driver—to lose control of his vehicle. McSwain thereupon
                                   |                                    disassembled the vehicle, disposed most of it, and retained
                             Feb. 8, 2011.                              only portions of the lower control arms as well as a few other
                                                                        parts for sentimental or monetary value.
Attorneys and Law Firms
                                                                        On June 28, 2008, this lawsuit was filed in the Macomb
David B. Timmis, Timothy J. Connaughton, Vandeveer
                                                                        County Circuit Court of Michigan, and was subsequently
Garzia, Troy, MI, for Plaintiff.
                                                                        removed by UPR to this Court on the basis of its diversity
Patrick F. Mulcahy, Mulcahy and Mulcahy, Northville, MI,                jurisdiction.1 The Plaintiff alleges that the lower control arms
for Defendant.                                                          were manufactured by UPR—an allegation that has been
                                                                        denied. In June 2009, the Court entered a scheduling order
                                                                        which required, inter alia, a party “who proffer[ed] a witness
ORDER                                                                   as an expert, [to] provide the opponent and the Court with
                                                                        a written report and all other pertinent forms of disclosures
JULIAN ABELE COOK, JR., District Judge.                                 (e.g., compensation and testimony in other cases) that are
                                                                        required under Fed.R.Civ.P. 26(a)(2) not later than ninety (90)
 *1 In this case, the Plaintiff, Frank Ulbrick, Jr., acting in his      days prior to the date of trial.”
capacity as the personal representative of the decedent estates
of his brothers, Michael Anthony Ulbrick and Christopher                As the docket for this case reflects, discovery has not
Ryan Ulbrick, filed a complaint in which he charged                     proceeded smoothly, with the parties having brought multiple
the Defendant, UPR Products, Inc. (referred hereinafter as              discovery-related motions and freely hurling accusations in
“UPR”), with being directly responsible for the untimely                which one party contends that the adversary had not fulfilled
demise of these two men, both of whom were fatally injured              the requisite discovery obligations, as authorized by the
on October 12, 2006, while they were the driver and occupant            Federal Rules of Civil Procedure. The balance of this order
of a 1988 Mustang motor vehicle. In his complaint, the                  will be confined to a discussion of only those issues which
Plaintiff attributed their deaths directly, among other things,         specifically relate to the pending appeal.
to the negligence of UPR in the manufacture of an integral
part of the decedents' automobile. This accusation has been              *2 On October 7, 2008, UPR forwarded a set of
denied by UPR.                                                          interrogatories to the Plaintiff, who filed his response
                                                                        on January 15, 2009. However, UPR concluded that his
Currently before the Court is the Plaintiff's appeal of a               responses to its set of interrogatories which had sought
decision by Magistrate Judge Mona K. Mazjoub who, inter                 specific information (including fourteen sub-parts) about his
alia, granted UPR's motion to exclude the Plaintiff's proposed          proposed expert witnesses and their opinions (“Interrogatory
expert witness from providing testimony during a trial.                 51”) were insufficient. Although McSwain was deposed on
                                                                        September 1, 2009, UPR contends that his deposition was


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insufficient because he had not been definitively identified         satisfy the obligatory disclosure and expert report standards
as an expert in this action. Rather, UPR opined that Mc              under the Federal Rules of Civil Procedure.
Swain was deposed as a friend of the family who had prior
knowledge of, and was responsible for the dismantling and             *3 On March 31st, the Plaintiff served another supplemental
the ultimate disposition of, the Mustang.  2                         answer to Interrogatory 51, in which he listed only McSwain
                                                                     and Sprague as his prospective expert witnesses. UPR
During the month of November 2009, UPR filed a motion                described these answers as being incomplete. On April 2nd,
in which it petitioned Magistrate Judge Majzoub to, inter            the Plaintiff submitted Sprague's expert report to UPR. UPR
alia, (1) compel the Plaintiff to provide specific answers           rejected this proffer, maintaining that the Sprague report was
to Interrogatory 51; and (2) require him to produce his              not only “very limited and provide[d] no specific detail,”
expert witnesses for depositions. The Plaintiff responded            but also failed to comply with the basic requirements of
with a supplemental answer to Interrogatory 51, in which             Federal Rule of Civil Procedure 26. Even though several dates
he itemized the names of several persons who would be                were scheduled for Sprague's deposition, all of them were
called by him during the trial as expert witnesses. But UPR          canceled by the Plaintiff, who asserted that the cancellations
insisted that the Plaintiff's latest response was still incomplete   were due to the failure by UPR to provide him with
in light of the detailed information that it had sought from         the requisite discovery upon which the expert opinions
him. On February 26, 2010, the Plaintiff provided UPR with           depended. Significantly, the April 30th deadline that had been
a second supplemental answer to Interrogatory 51, which              established by Magistrate Judge Majzoub passed without any
included the name of another proposed expert witness without         of the depositions being conducted.
adding any more information about the other persons who had
been previously identified by him as his prospective expert          On May 27th, UPR filed a motion in which it asked Magistrate
witnesses.                                                           Judge Majzoub to (1) prevent the Plaintiff from presenting
                                                                     any expert witnesses at trial; and (2) dismiss the action with
During a hearing on UPR's motion on March 10th, the                  prejudice because of his failure to comply with multiple court
Plaintiff advised Magistrate Judge Majzoub that McSwain,             orders. The Plaintiff, in response, agreed to the exclusion
as well as James Sprague, Nitan Paranjpe, and David                  of all expert witnesses except McSwain, who would be his
Moore, would be the only individuals who would be                    only expert witness. Furthermore, the Plaintiff contended
called by him to testify as expert witnesses. However, he            that he had provided UPR with full answers to all of
asserted that these expert-nominees were not ready to be             its interrogatories, including Interrogatory 51. Although he
deposed because UPR had failed to provide him with an                acknowledged that no expert report had been prepared by
adequate quantity of discovery information upon which their          McSwain, the Plaintiff argued that the information that would
professional evaluations and conclusions could be based.             have been included in an expert report had already been
Notwithstanding, Magistrate Judge Majzoub issued an order            provided to UPR through his disclosures and McSwain's
two days later (March 12th) in which she, inter alia, directed       earlier deposition.
the Plaintiff to (1) provide UPR with thorough answers
to Interrogatory 51 within a period of twenty-one days               On December 9, 2010, Magistrate Judge Majzoub issued an
thereafter, (2) transmit the reports of all expert witnesses to      order in which she denied UPR's request for a dismissal of this
UPR within the same time frame, and (3) arrange to have all          action but granted its request that the Plaintiff be precluded
of his proposed experts available for deposition on or before        from presenting McSwain as an expert witness at trial.
April 30, 2010.
                                                                     The Plaintiff timely appealed this ruling, again contending
In his supplemental answers to Interrogatory 51, the Plaintiff       that all of the information required in an expert report had
acknowledged that McSwain had not prepared a formal                  already been provided to UPR through the September 2009
report, and the majority of these answers simply made                deposition of McSwain. The Plaintiff argues that he has
global reference to his prior deposition testimony. In               satisfied and/or substantially complied with the requirements
directing the Plaintiff to supplement this response, Magistrate      of Rule 26(a)(2)(B); and, furthermore, any failure to strictly
Judge Majzoub rejected his contention that the content of            comply with this Rule was harmless. He also points out that
McSwain's deposition was a sufficient basis upon which to            the exclusion of this proposed expert witness is not mandated
                                                                     by Rule 37(c)(1).



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                                                                    witness is being compensated. See Fielden v. CSX Transp.,
                                                                    Inc., 482 F.3d 866, 871 (6th Cir.2007). Treating physicians,
                                                                    for example, may not be required to submit a written report
II.
                                                                    as long as their testimony relates only to their treatment
If a litigant makes a timely objection to a magistrate judge's      of the individual and opinions formed by them at the time
ruling on a nondispositive pretrial matter, the district court      of treatment. E.g., id.; see also Gorajczyk v. City of St.
may “modify or set aside any part of the order that is clearly      Clair Shores, No. 08–14764, 2010 WL 3245432, at *4–5
erroneous or is contrary to law.” Fed.R.Civ.P. 72(a); see           (E.D.Mich. Aug.17, 2010) (listing factors for determining
also 28 U.S.C. § 636(b)(1). The “clearly erroneous” standard        whether treating physician's proposed testimony requires
does not permit a district court to reverse the magistrate          filing of expert report); Bekaert Corp. v. City of Dyersburg,
judge's finding simply because it would have decided the            256 F.R.D. 573 (W.D.Tenn.2009) (extending this analysis
matter differently. Anderson v. City of Bessemer, N.C., 470         to non-physician expert witnesses). By analogy, McSwain
U.S. 564, 573, 105 S.Ct. 1504, 84 L.Ed.2d 518 (1985).               would seemingly be required to file an expert report,
Rather, a “finding is ‘clearly erroneous' when although there       inasmuch as his opinions were formed not, for example, in
is evidence to support it, the reviewing court on the entire        an attempt to repair the vehicle, but rather in an effort to
evidence is left with the definite and firm conviction that a       determine the cause of the accident. Thus, he was functioning
mistake has been committed.” United States v. U.S. Gypsum           analogously to a physician performing an “after-the-fact”
Co., 333 U.S. 364, 395, 68 S.Ct. 525, 92 L.Ed. 746 (1948).          diagnosis rather than providing “in-the-moment” or “on-
                                                                    the-scene” treatment. Compare Fielden, 482 F.3d at 869
                                                                    (physician who forms opinion as to causation in course of
                                                                    treating patient is not required to submit report of expert),
III.
                                                                    with Meyers v. Nat'l R.R. Passenger Corp., 619 F.3d 728,
 *4 The Federal Rules of Civil Procedure require that the           734–35 (7th Cir.2010) (“[A] treating physician who is offered
disclosure of proposed expert testimony “be accompanied             to provide expert testimony as to the cause of the plaintiff's
by a written report—prepared and signed by the witness—if           injury, but who did not make that determination in the course
the witness is one retained or specially employed to provide        of providing treatment, should be deemed to be one ‘retained
expert testimony in the case.” Fed.R.Civ.P. 26(a)(2)(B). “If        or specially employed to provide expert testimony in the
a party fails to provide information or identify a witness as       case,’ and thus is required to submit an expert report in
required by Rule 26(a) or 26(e), the party is not allowed to use    accordance with Rule 26(a)(2).”). Moreover, his opinions
that information or witness to supply evidence on a motion,         were not formed as a result of witnessing or experiencing the
at a hearing, or at a trial, unless the failure was substantially   accident which is the subject matter of this lawsuit. Rather,
justified or is harmless.” Fed.R.Civ.P. 37(c)(1). Under these       they were presumably formed as a result of a process that any
circumstances, the court is also permitted to enter—as              expert witness would undertake; namely, an “after-the-fact”
an additional or substitute sanction—any of the sanctions           examination of the vehicle in question. See Fed.R.Civ.P. 26
listed in Rule 37(b)(2)(A)(I)-(vi). Finally, if a party fails to    advisory committee's notes to 1970 amendments (“It should
obey a discovery order, the court “may issue further just           be noted that the subdivision does not address itself to the
orders ... [including] prohibiting the disobedient party from       expert whose information was not acquired in preparation
supporting or opposing designated claims or defenses, or from       for trial but rather because he was an actor or viewer with
introducing designated matters in evidence.” Fed.R.Civ.P.           respect to transactions or occurrences that are part of the
37(b) (2)(A).                                                       subject matter of the lawsuit. Such an expert should be treated
                                                                    as an ordinary witness.”). Finally, it is worth noting that, by
Although the Plaintiff has not disputed that McSwain was            virtue of the disassembling and subsequent disposal of most
subject to the expert report requirement, the Court will            of the vehicle by Mc Swain, he is the only person who had the
first evaluate whether McSwain was “retained or specially           opportunity to undertake an examination of the entire vehicle.
employed to provide expert testimony in the case,” and              While the exact parameters of the report requirement in Rule
thus was obliged by the terms of Fed.R.Civ.P. 26(a)(2)(B)           26 are not well-defined, the foregoing analysis demonstrates
to provide a written report. If a witness falls within this         that the judicial directive which required the production of
requirement is determined primarily by the scope, substance,        McSwain's written expert report is not “clearly erroneous.”
and source of the intended testimony—not on whether the



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                                                                   harmless. The Sixth Circuit has construed “harmless” as
                                                                   involving “an honest mistake on the part of a party coupled
IV.
                                                                   with sufficient knowledge on the part of the other party.”
 *5 The Court notes that the Plaintiff has never contended         Sommer v. Davis, 317 F.3d 686, 692 (6th Cir.2003) (citation
that McSwain was not subject to the expert report                  and internal quotation marks omitted). Neither aspect appears
requirement. In fact, the sole ground for this appeal is his       to have been satisfied here.
contention that he complied or substantially complied with
the expert report requirement, as defined by the Federal Rules     There can be no claim that the Plaintiff's failure to submit
of Civil Procedure. Furthermore, it is the Plaintiff's belief      the report was an honest mistake. He, despite having been
that McSwain's deposition—standing alone—satisfied all of          explicitly directed to convey McSwain's expert report to UPR,
the requirements for the production of an expert report under      simply chose not to do so. Moreover, the argument that has
Rule 26(a)(2)(B). However, the record clearly indicates that       been raised by him on this appeal—that the report was not
the Plaintiff was specifically ordered by Magistrate Judge         needed because all of the relevant information had already
Majzoub to provide UPR with a copy of McSwain's expert             been provided to UPR—is not a good and sufficient ground
report. Furthermore, there is evidence that the Plaintiff was      for an honest mistake where this precise argument was raised
warned that his failure to comply with her directive could         to, and rejected by, the presiding Magistrate Judge.
result in the preclusion of McSwain as an expert witness.
Significantly, this order was entered long after the deposition     *6 As Magistrate Judge Majzoub found, the Plaintiff's
of McSwain that, in the opinion of the Plaintiff, is sufficient    noncompliance does harm UPR “where [UPR] has been left
to satisfy the report requirements. In her March 2010 order,       without the expert's report and this expert is allegedly the only
Magistrate Judge Majzoub rejected the Plaintiff's assertion        one to have dismantled the vehicle in question prior to its
that he could discharge his disclosure obligations simply by       destruction and the filing of this action.” Moreover, an expert
referring to the McSwain deposition. Rather, she ordered           deposition is not a replacement for an expert report. On the
him to (1) amend his responses to Interrogatory 51 so as to        contrary, the Federal Rules of Civil Procedure specifically
“answer in full and by sub-part for each of the four named         mandate that an expert deposition may only occur after the
experts,” and (2) submit to UPR reports for each of his            expert report has been provided. Fed.R.Civ.P. 26(b)(4)(A)
proposed expert witnesses, including McSwain.                      ( “A party may depose any person who has been identified as
                                                                   an expert whose opinions may be presented at trial. If Rule
The Plaintiff has provided this Court no explanation               26(a)(2)(B) requires a report from the expert, the deposition
whatsoever for his failure to submit McSwain's expert report       may be conducted only after the report is provided.”). The
to UPR. A litigant cannot blithely ignore court orders and then    expert report allows the opposing party to properly prepare
object to the consequent sanctions on the ground that he did       for the deposition and narrows the terrain that must be
not believe that the directives were necessary. In his appeal of   covered therein. These functions cannot be served if the
Magistrate Judge Majzoub's order, the Plaintiff—for the first      report does not precede the deposition. Cf. Ciomber v.
time—specifically lists those parts of McSwain's deposition        Cooperative Plus, Inc., 527 F.3d 635, 642 (7th Cir.2008)
testimony that purportedly satisfy each requirement of Rule        (citations omitted) (“The purpose of Rule 26(a)(2) is to
26(a)(2)(B). The Court does not understand the inexplicable        provide notice to opposing counsel—before the deposition—
failure by the Plaintiff to direct McSwain to prepare a full       as to what the expert witness will testify, and this purpose
report if all of the required information was purportedly          would be completely undermined if parties were allowed to
readily available and already on the record. Moreover, the         cure deficient reports with later deposition testimony.”). This
Plaintiff not even attempted to provide the Court with an          Rule clearly contemplates that the expert report and the expert
explanation. In light of the foregoing, the Court fully agrees     deposition may serve different and complementary purposes.
with Magistrate Judge Majzoub's determination that the             Here, UPR was forced to depose McSwain without the benefit
Plaintiff has neither satisfied nor substantially complied with    of his report. This is not a case of a deficient expert report, but
his obligation to provide Mc Swain's expert report.                rather an entirely missing expert report. For these reasons, the
                                                                   Plaintiff's noncompliance with the court orders here at issue
Furthermore, the Court finds no error—much less a clear            cannot be deemed harmless. Therefore, the Court concludes
error—in Magistrate Judge Majzoub's determination that             that Magistrate Judge Majzoub's order contained no error,
the Plaintiff's failure to provide McSwain's report was not



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                                                                  Majzoub's directive which precluded him from presenting
much less the “clear error” that would be required to set aside
                                                                  McSwain as an expert witness during a trial in this action.
that order.

                                                                  IT IS SO ORDERED.

V.
                                                                  All Citations
Following its examination of the record in this cause, the
Court denies the Plaintiff's appeal of Magistrate Judge           Not Reported in F.Supp.2d, 2011 WL 500034


Footnotes
1      An amended complaint was filed on November 24, 2008.

2      The Court notes, however, that UPR referred to McSwain as “Plaintiff's expert witness[ ]” in the deposition notice.



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                                                                 to Fed. R. Civ. P. 26(a)(2),” identifying two proposed “lay
                    2019 WL 2417070                              experts,” William H. Haberkamp and Eric D. Getzschman.
      Only the Westlaw citation is currently available.          Bestop indicated in its disclosure that “no written expert
             United States District Court, E.D.                  report is required.”
               Michigan, Southern Division.

         WEBASTRO THERMO & COMFORT                                                    II. DISCUSSION
        NORTH AMERICA, INC., et al., Plaintiffs,
                      v.                                         Fed. R. Civ. P. 26(a)(2) governs discovery practice related
                BESTOP, INC., Defendant.                         to expert witnesses. Rule 26(a)(2)(A) provides that “[i]n
                                                                 addition to the disclosures required by Rule 26(a)(1), a party
                         No.16-13456                             must disclose to the other parties the identity of any witness
                              |                                  it may use at trial to present evidence under Federal Rule of
                      Signed 06/10/2019                          Evidence 702, 703, or 705.” Rule 26(a)(2)(B), which would
                                                                 apply to retained experts, provides:
Attorneys and Law Firms
                                                                   “(B) Witnesses Who Must Provide a Written Report.
Eric P. Carnevale, Craig R. Smith, Peter Jason Evangelatos,        Unless otherwise stipulated or ordered by the court, this
Lando & Anastasi, LLP, Cambridge, MA, Steven C. Susser,            disclosure must be accompanied by a written report--
Brian B. Brown, Carlson, Gaskey & Olds, P.C., Birmingham,          prepared and signed by the witness--if the witness is one
MI, for Plaintiffs.                                                retained or specially employed to provide expert testimony
                                                                   in the case or one whose duties as the party's employee
Andrew M. Grove, Jeffrey A. Sadowski, Jonathan F. Karmo,
                                                                   regularly involve giving expert testimony.”
Howard and Howard Attorneys PLLC, Royal Oak, MI, E.
Powell Miller, Marc L. Newman, The Miller Law Firm,
Rochester, MI, for Defendant.                                    Rule 26(a)(2)(C) 1 governs witnesses who are not required to
                                                                 produce a report, and reads as follows:

                                                                   (C) Witnesses Who Do Not Provide a Written Report.
                 OPINION AND ORDER                                 Unless otherwise stipulated or ordered by the court, if the
                                                                   witness is not required to provide a written report, this
R. STEVEN WHALEN, UNITED STATES MAGISTRATE
                                                                   disclosure must state:
JUDGE
                                                                   (i) the subject matter on which the witness is expected to
 *1 This is a patent case. Before the Court is Plaintiff's
                                                                   present evidence under Federal Rule of Evidence 702, 703,
Motion to Strike Defendant's Non-Report Expert Disclosure
                                                                   or 705; and
and Exclude Testimony of its Putative Experts [Doc. #126].
For the reasons and under the terms discussed below, the           (ii) a summary of the facts and opinions to which the
motion is GRANTED.                                                 witness is expected to testify.

                                                                 Defendant Bestop contends that Messrs. Haberkamp and
                    I. BACKGROUND                                Getzschman fall within Rule 26(a)(2)(C), and are therefore
                                                                 not required to produce written reports, because they are
Under the Court's amended scheduling order [Doc. #99],           “lay” or “percipient” experts. Defendant bears the burden
expert disclosures were due on October 2, 2018. Plaintiff        of establishing that these two witnesses are not required to
served two expert reports on that date. Defendant Bestop, Inc.   produce a report. EEOC v. Kaplan Higher Ed. Corp., 748 F.3d
(“Bestop”) served no expert reports, but on October 3, 2018      749, 752 (6thCir. 2014); Advent v. Covidien, Inc., 114 F.R.D.
served a “Non-Report Witness Expert Disclosures Pursuant         547, 559 (E.D. Mich. 2016).



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                                                                    734–35 (7th Cir. 2010) (affirming grant of summary judgment
In Fielden v. CSX Transportation, Inc., 482 F.3d 866 (6th Cir.      where no evidence in the record suggested that plaintiff's
2007), the Sixth Circuit held that a treating physician could       doctors considered or determined the cause of his injuries
offer expert testimony without providing a written report, so       during the course of treatment). In Gaspar v. Dicks, 2011
long as the testimony related to his opinions as to causation       WL 5975061, at *4 (E.D. Mich. Nov. 29, 2011), the Court,
that were formed at the time of treatment, not at the request       addressing the question of whether a written expert report is
of counsel:                                                         required in the context of a treating physician's testimony,
                                                                    referred to five factors that might be considered:
   *2 “Rule 26(a) (2)(B) by its terms provides that a party
  needs to file an expert report from a treating physician            “Courts attempting to determine whether a physician's
  only if that physician was ‘retained or specially employed          testimony regarding causation falls into this “core” have
  to provide expert testimony.’ In this case, Fielden did not         considered factors such as: (1) whether the physician
  retain Dr. Fischer for the purposes of providing expert             reached his conclusion at the time of treatment; (2) whether
  testimony because there is evidence that Dr. Fischer formed         the opposing party would be surprised by the testimony;
  his opinions as to causation at the time that he treated            (3) whether the condition at issue leaves room for debate
  Fielden and there is no evidence that Dr. Fischer formed            as to the specific ailment and its sources; (4) whether the
  his opinion at the request of Fielden's counsel.” Id. at 869        physician relied upon ordinary medical training in drawing
  (emphasis added).                                                   his conclusion; and (5) whether the physician will rely on
                                                                      tests, documents, books, videos, or other sources not relied
In Downey v. Bob's Discount Furniture Holdings, Inc., 633             upon during treatment.” (Citing Fielden at 871-72).
F.3d 1 (1st Cir. 2011), the First Circuit found that an
exterminator was not an expert retained to give an opinion,         In this case, a number of factors stand clearly at odds
and thus was not required to produce a written report, where        with Bestop's argument that Haberkamp and Getzschman are
his opinion testimony arose “not from his enlistment as an          percipient witnesses who are not required to produce written
expert but, rather, from his ground-level involvement in the        expert reports.
events giving rise to the litigation.” Id. at 6. The Court
explained:                                                          In terms of their identical disclosures under Rule 26(a)(2)(C),
                                                                    both witnesses describe the subject matter of their testimony
  “In order to give the phrase “retained or specially               as Bestop's invalidity contentions “that anticipate asserted
  employed” any real meaning, a court must acknowledge              claims or render obvious asserted claims” of the '342 patent
  the difference between a percipient witness who happens           (the patent in suit); responding to claims of non-obviousness
  to be an expert and an expert who without prior knowledge         by Plaintiff; and “questions relating to interpretation of the
  of the facts giving rise to litigation is recruited to provide    prior art.” See Doc. #126, Exhibit A. The witnesses also
  expert opinion testimony. It is this difference, we think, that   disclose an intent to testify about additional engineering
  best informs the language of the rule.” Id.                       issues. Mr. Haberkamp testified at his deposition that part of
                                                                    his job at Bestop was assisting in the creation of new products.
The defining characteristic of a percipient witness is that         Haberkamp Dep. [Doc. 27], at 13. He first saw the Plaintiff's
he or she forms the opinion at the time of and during the           complaint for patent infringement about a week or two before
course of working on the subject matter of the lawsuit, be          his deposition. Id. at 86-87. He did not know what an
it a treating physician testifying as to causation or a project     affirmative defense was, and when showed a list of Bestop's
engineer testifying as to patent invalidity. In Fielden, the        affirmative defenses, he denied personal knowledge of any
Sixth Circuit did not hold that such witnesses never have to        of them. Id. at 88, 90. This would include the affirmative
disclose an expert report. Fielden, 482 F.3d at 870(noting          defenses relating to invalidity, non-infringement, prior art,
the concern that permitting treating physicians to testify in       and obviousness. Of course, Plaintiff's invalidity contentions
all circumstances without providing expert reports would            were prepared specifically for litigation, not in the ordinary
circumvent the policies underlying Rule 26(a)(2)(B)). See           course of Haberkamp's employment with Bestop. In addition,
also Meyers v. Nat'l R.R. Passenger Corp., 619 F.3d 729,            in its supplemental answers to interrogatories, Bestop stated



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that it did not have knowledge of the '342 patent “until the
lawsuit was filed and served.” Asked to state the basis for           A: Just my opinion.
any invalidity defense, including “prior art references that
                                                                      Q: So you would have an opinion, but its not backed up by
anticipate or render obvious any claim,” Defendant responded
                                                                      any analysis?
that the “entirety of Bestop's defense is embodied in the
pleadings.”                                                           A: I rely on the attorneys for my analysis.

 *3 Thus, Haberkamp had no knowledge of defenses relating                                         ***
to prior art and obviousness, and was not aware of either those
                                                                      Q: So your expert opinion is ‘Ask my attorney’?
defenses or even the existence of the '342 patent until after the
lawsuit was filed. He therefore did not reach any conclusion
                                                                      A: That is correct. Id. at 159-60.
about those matters at the time he was working on the alleged
infringing product, and his testimony would necessarily be
                                                                    With respect to whether anything in the claim chart would be
based on material not relied upon at that time. His opinion
                                                                    sufficient to invalidate the '342 patent, Getzschman testified
was formed during litigation, at the request of counsel, not
                                                                    that he “cannot provide an opinion” and would rely on the
pre-litigation during the course of his work. At the same time,
                                                                    attorneys. Id. at 170. He reiterated that any opinion that the
without the production of a written report Plaintiff would be
                                                                    other Webasto patent would invalidate the '342 patent would
unfairly surprised by his opinion testimony.
                                                                    be based on what Webasto's attorney said.

Mr. Haberkamp does not, therefore, qualify as a percipient
                                                                    In sum, Mr. Getzschman's bailiwick is marketing, not
witness who can testify as to Bestop's invalidity contentions,
                                                                    infringement or invalidity analysis, and any opinions he might
including prior art and obviousness. As an engineer who
                                                                    offer on any issue properly in this case would be based on
participated in production, however, he may testify as to
                                                                    information from Bestop's attorneys, not on his on-the-job
engineering issues he dealt with during the production
                                                                    conclusions. For the same reasons discussed above, he does
process.
                                                                    not qualify as a percipient witness who can testify without
                                                                    providing a written report.
Unlike Haberkamp, Mr. Getzschman is not an engineer, but
rather has a degree in business administration. He was not
                                                                    On another note, Plaintiff argues that the proposed testimony
involved in product design; instead, his focus was on the
                                                                    of these two witnesses is irrelevant insofar as it relates to
marketability of Bestop's product. Getzschman Dep. [Doc.
                                                                    when Bestop conceived of or invented the alleged infringing
#136], 10, 127-28. He was shown a variety of patent material,
                                                                    product. Plaintiff is correct. In 2011, Congress amended
including the '342 patent, and testified that he never examined
                                                                    35 U.S.C. § 103 when it passed the Leahy-Smith America
or analyzed the patents in any detail. Rather, he testified
                                                                    Invents Act (“AIA”). The AIA “abolished the first-to-invent
repeatedly that he “rel[ies] on my patent attorney to provide
                                                                    interference rule in favor of a first-to-file rule.” Storer v.
me guidance.” Id. at 122-25. He said that any analysis of the
                                                                    Clark, 860 F.3d 1340, 1342 (Fed. Cir. 2017). “Among other
patent would have been very general in nature. By that he
                                                                    things, the AIA revised § 103 to provide that obviousness
meant that he was looking at the marketability of the product.
                                                                    be determined as of ‘the effective filing date of the claimed
Regarding infringement analysis, he again testified that he
                                                                    invention’ rather than ‘at the time the invention was made.’
relies on his patent attorney and litigation attorney; that he
                                                                    Compare § 103 (post-AIA) with § 103(a) (pre-AIA).”
would not personally perform an analysis of patents; that he
                                                                    Hospira, Inc. v. Fresenius Kabi USA, LLC, 343 F. Supp. 3d
performed no in-depth analysis of the '342 patent; and had not
                                                                    823, 840 (N.D. Ill. 2018).
considered that patent for any purpose regarding this lawsuit
Id. at 125, 127-128, 131, 142. He said that “[a]ny analysis ...
                                                                     *4 The effective date of the AIA is March 16, 2013. The '342
for this lawsuit would have been done by our patent attorney.”
                                                                    patent was filed on March 10, 2015, and involves no claims
Id. at 145-46. When asked how he would know, for example,
                                                                    that predate March 16, 2013. The AIA therefore controls this
that another Bestop patent would invalidate the '342 patent,
                                                                    case, making conception and reduction to practice irrelevant.
Mr. Getzschman testified as follows:


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Yet that is exactly what underlies the proposed testimony of
these witnesses on the issue of obviousness. Bestop's Non-
Report Expert Disclosures state:                                                           III. CONCLUSION

    “That [Getzschman and Haberkamp], as an employee of                Plaintiff's Motion to Strike Defendant's Non-Report Expert
    Bestop with an appropriate background to be a person               Disclosure and Exclude Testimony of its Putative Experts
    of ordinary skill in the art prior to the date of the filing       [Doc. #126] is GRANTED, with the proviso that Mr.
    of the '342 Patent and capable of rendering an opinion             Haberkamp will be permitted to testify as to engineering
    that the '342 patent was obvious at the time of filing the         matters. 2
    patent application because Bestop created and conceived
    the Sunrider for Hardtop before Webasto filed any patent           IT IS SO ORDERED.
    application on the patent in suit.” (Emphasis added).

Apart from the fact that Getzschman and Haberkamp do not               All Citations
qualify as percipient witnesses, their proposed testimony is
irrelevant.                                                            Not Reported in Fed. Supp., 2019 WL 2417070




                                                           Footnotes


1        Rule 26(a)(2)(C) was added in 2010 to “resolve[ ] a tension that has sometimes prompted courts to require
         reports under Rule 26(a)(2)(B) even from witnesses exempted from the report requirement.” Fed. R. Civ. P.
         26, Advisory Committee's Note.

2        Subject, of course, to any objection based on relevance or other evidentiary matters.



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